       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 1 of 314



             UNITED STATES DISTRICT COURT OF MARYLAND
1

                        SOUTHERN DIVISION
2




     ---------------------------x
3
     UNITED STATES OF AMERICA   :
                 Plaintiff      :
4
                                :
                                :
5
     vs                         :Criminal Action:RWT-04-0235
                                :
6
                                :
     PAULETTE MARTIN, et al     :
7
                  Defendants.   :
     ---------------------------x
8




9
                                   Tuesday, August 8, 2006
                                   Greenbelt, Maryland
10




            The above-entitled action came on for a Jury
1
     Trial Proceeding before the HONORABLE ROGER W. TITUS,
     United States District Judge, in courtroom 4C,
12
     commencing at 9:28 a.m.

13
             THIS TRANSCRIPT REPRESENTS THE PRODUCT
             OF AN OFFICIAL REPORTER, ENGAGED BY
14
             THE COURT, WHO HAS PERSONALLY CERTIFIED
             THAT IT REPRESENTS THE PROCEEDINGS , AS RECORDED
15
             AND REQUESTED.

16
             APPEARANCES:

17
             On behalf of the Plaintiff:

18
             DEBORAH JOHNSTON, Esquire
             BONNIE GREENBERG, Esquire
19




             On behalf of the Defendants:
20




             MICHAEL MONTEMARANO, Esquire
21
             ANTHONY MARTIN, Esquire
             MARC HALL, Esquire
2
             TIMOTHY MITCHELL, Esquire
             PETER WARD, Esquire
23
             EDWARD SUSSMAN, Esquire
             HARRY MCKNETT, Esquire
24




     Tracy Rae Dunlap, RPR, CRR                         (301) 344-3912
25
     Official Court Reporter




                                                                   Page    1
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 2 of 314



                                  I N D E X
1




2
                                 DIR   CROSS      REDIR       RECROSS
     LaNora Ali                  28    49         211         228
3




     Harvey Washington           240   246        255
4




     Det. Thomas Eveler          256   264        291
5




6




7




8




9




10




1




12




13




14




15




16




17




18




19




20




21




2




23
                                                              Page

24
     Reporter's Certificate                                   314

25
     Concordance                                              315




                                                                     Page   2
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 3 of 314



               THE COURT:    Counsel, before we bring in the
1




2
     jury, I had a couple of issues I wanted to discuss with

3
     you.   We're getting near the point where we're going to

4
     have to select our final jurors and decide who stays on

5
     and who doesn't.       We have been advised by juror Number

6
     six that his mother-in-law is about to die of breast

7
     cancer and that his wife is going to some out-of-state

8
     location where the mother-in-law lives and he wants to

9
     go with her, and that trip is Thursday.

10
               The other matter you've already been told about

1
     which was the younger student in the back who has a

12
     trip to Spain     and he's leaving on a Friday and has to

13
     be out of here by two to go to the airport and in

14
     addition he can't be here the next two weeks.               I'm

15
     inclined to do the following, which is to not excuse

16
     them and keep them as alternates who are subject to

17
     recall.    In other words, have them here all the way to

18
     the end of the closing argument, but at the end of that

19
     process tell these two that they are discharged as

20
     alternates and that they will be subject to recall in

21
     the highly unlikely event that one of the deliberating

2
     jurors for some reason of health or otherwise has to be

23
     replaced, in which case this person could be recalled.

24
     We wouldn't waste a juror and the jury would be

25
     instructed, as would be the case if that were to happen




                                                                   Page    3
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 4 of 314



     that they would begin the         deliberations in the case
1




2
     anew.   That's my inclination on that.           You don't have

3
     to voice your opinions on that, but think about that.

4
             There has also been various concerns expressed

5
     about the juror in the back row who had been in the

6
     wrong place at the wrong time in the lawyers' lounge

7
     and then had heard a conversation about people arriving

8
     late.   I haven't heard any motions on her, but if we

9
     have one more alternate to go -- if we let her go or at

10
     least re-designate her as an alternate, so think about

1
     that and we can talk about that on a break.

12
             Now, if I understand correctly we're about to

13
     wrap up the direct of Ms. Ali this morning.

14
             MR. MCKNETT:      That's correct, Your Honor.

15
             THE COURT:     We will have cross-examination by

16
     other counsel and government with any redirect, and my

17
     understanding at that point is that's the last defense

18
     witness.   Is that right?

19
             MR. MCKNETT:      Your Honor, there is one

20
     administrative issue we need to address.             I believe

21
     it's the court's -- at one point it was the court's

2
     understanding that we were going to bring in the people

23
     who prepared our transcripts.

24
             THE COURT:     Right.

25
             MR. MCKNETT:      If the court still wants to do




                                                                   Page    4
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 5 of 314



     that, they will be here about 10:30 this morning.
1




2
             THE COURT:     You know, I think those transcripts

3
     are going to be viewed the same way the government's

4
     transcripts are, and Ms. Johnston just waved her head

5
     "no", so I'm not going to require that.

6
             MR. MCKNETT:      Can I have just a short break to

7
     call them and tell them they don't have to come down,

8
     Your Honor?

9
             THE COURT:     Yeah, you can do that.

10
             Now what I did want to find out -- my

1
     understanding, Ms. Johnston, is there may be some

12
     rebuttal witnesses.

13
             MS. JOHNSTON:      Yes, Your Honor.        Yes, sir.

14
             THE COURT:     Short rebuttal witnesses?

15
             MS. JOHNSTON:      I would like to think they're

16
     short, but I can't vouch for cross-examination.

17
             THE COURT:     I have reviewed over the break some

18
     requests for additional or modifications to

19
     instructions, and I wanted to tell you where I am on

20
     that and also where I am on the verdict form.               I have

21
     considered the request I instruct the way the original

2
     Sand & Siffert instruction is on the original

23
     instruction -- what is it?         843, I think it is.        I'm

24
     not as well organized with one arm as I usually am.

25
     Yes, the 843 instruction.         I have reviewed the




                                                                   Page    5
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 6 of 314



     authorities on that, and at least as of the moment --
1




2
     I'm not going to debate about this now, but I'm

3
     inclined to stay with it the way it is and not change

4
     it.

5
             I have also considered the instruction request

6
     made by counsel for LaVon Dobie that I give a lesser

7
     included offense instruction.          I have considered that

8
     and I've considered the cases cited that have been

9
     brought to my attention on that which include an

10
     unpublished decision of the Fourth Circuit that applies

1
     to some of these cases in the specific context of a

12
     conspiracy, and I'm inclined to believe that she is

13
     entitled to a lesser included offense instruction.                If

14
     the government has other authority it would like to

15
     designate, I will listen to it, but my concern is if

16
     Ms. Dobie is entitled to a lesser included offense

17
     instruction on conspiracy, which is the only thing

18
     she's asked for, why would not a lesser included

19
     instruction be appropriate on the possess with intent

20
     to distribute count, and why would it also not be

21
     appropriate as to the defendants Ali and Harden?               So,

2
     those are my questions for you.

23
             MR. MCKNETT:      Your Honor, if I may very briefly

24
     respond first on behalf of Ms. Ali.            Ms. Ali and I will

25
     discuss -- we have discussed that issue and we have not




                                                                   Page     6
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 7 of 314



     come to a firm decision yet; but we will do so before
1




2
     the end of business today.

3
             THE COURT:     All right.      Let me just tell you

4
     what my quandary is.       I don't want to be looking

5
     hopelessly inconsistent in giving a lesser included

6
     instruction as to some but not all to whom it might be

7
     entitled.    If my understanding on the law on the lesser

8
     included offense instruction is correct, it is if there

9
     is evidence before the court that would permit that

10
     verdict that it may be appropriate to give that

1
     instruction, not otherwise.         Based upon my view of the

12
     so far, incomplete record, but I'm not sure this is

13
     going to change, it would appear that if a lesser

14
     included offense instruction is appropriate, it would

15
     be appropriate at least insofar as what's been placed

16
     before me now is concerned, certainly as to Ali, who is

17
     alleging that her possession was solely for possession

18
     purposes and put on forceful testimony to that extent.

19
             The same effect with Ms. Dobie, who said the

20
     same thing, and at least inferentially by Ms. Harden.

21
     I don't see evidence that would support a lesser

2
     included offense instruction as to any other defendant.

23
     My concern is if I give it as to one on the possession

24
     with intent to distribute count or the conspiracy count

25
     and not as to others, that is going to be very




                                                                   Page    7
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 8 of 314



     confusing to the jury.        Those are my thoughts on those
1




2
     issues.

3
               The next thing I wanted to tell you about is I

4
     have a lot of concerns about the verdict form.               The

5
     first concern I have about the verdict form is that the

6
     charge in this case in the indictment that we're

7
     operating under is -- for example, jury verdict

8
     question number 36 asks, how do you find the defendant,

9
     Learley Goodwin, as to Count Two, distribution of

10
     cocaine base?     The actual charge is possession with

1
     intent to distribute.       So, for openers, the whole

12
     verdict form has to be reviewed to change all of these

13
     descriptions of the counts as being distribution, to

14
     change them to possession with intent to distribute.

15
               MS. GREENBERG:     We can do that, Your Honor.

16
               THE COURT:   The second thing is, I really think

17
     that for ease of reference by the jury that the verdict

18
     form, especially with so many defendants, should be

19
     arranged by defendant so that they first go through a

20
     series of questions as to defendant one, then defendant

21
     two, and defendant three.         I know this has been put in

2
     the order in which they appear in the indictment, but

23
     it goes all over the place hopscotching back and forth

24
     between defendants, and I think it's just a word

25
     processing question to switch it around so we go by




                                                                   Page    8
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 9 of 314



     defendant.
1




2
             I mean, they're going to be listening to

3
     defenses that have been put on by defendants

4
     individually; they're going to be listening to argument

5
     by defendants, and then to have a verdict form that

6
     does it in counts of an indictment that they're not

7
     going to get a copy of makes it confusing.

8
             MS. GREENBERG:       Your Honor, I think the other

9
     way would be more confusing, because some of the

10
     defendants are charged with being in a phone

1
     conversation.     For example, a telephone count.            If we

12
     have, you know, Paulette Martin in the beginning of the

13
     indictment and we're talking about that telephone

14
     count, and then three pages later where she has Ruby

15
     Harden on that same telephone count, it's going to be

16
     even more confusing.       My summary is by count because

17
     that's -- goes first of all by date.            It's the earliest

18
     to the end of the conspiracy.          It follows the book.

19
             THE COURT:     Let me hear what the other side

20
     says.   Also, if I resolve this so that a lesser

21
     included offense instruction is appropriate, it will

2
     magnify this verdict form even more.

23
             Mr. Montemarano.

24
             MR. MONTEMARANO:       Your Honor, I think in terms

25
     of the actual return of the verdict, what's handed in




                                                                   Page    9
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 10 of 314



     and goes in the court file, probably the one in the
1




2
     current format makes sense for the sake of them

3
     understanding it and working on it, it seems that                   Your

4
     Honor's idea makes sense.         In other words, they should

5
     have the other verdict to work through and then fill in

6
     the actual verdict form and then turn in the one that's

7
     in the current form.        I almost think they need be both,

8
     because -- I mean, with all due respect, Your Honor,

9
     there's 62 counts.       If you conceivably count

10
     defendants, we're up to 100, because many of the

1
     defendant counts have multiple persons, and it's 100

12
     separate decisions they have to make, and anything that

13
     makes it easier.      Otherwise, we will spend several days

14
     while they do --

15
             THE COURT:      I'm not sure how I can give them a

16
     real verdict form and hypothetical verdict form.                I

17
     have to give it to them one way or the other.

18
             MR. MONTEMARANO:        A worksheet.      That is what I'm

19
     suggesting is they need a worksheet, as Your Honor as

20
     noted, because they will spend hours.             By delivering

21
     the verdict, they will be delivering it Count One, each

2
     defendant, "yes" or "no"; Count Two, the named

23
     defendant; Count Three...

24
             THE COURT:      Your view is leave it the way it is,

25
     the way the government suggests, but also prepare a




                                                                   Page 10
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 11 of 314



     cheat sheet as it were?
1




2
               MR. MONTEMARANO:      Otherwise, with all due

3
     respect, the government gets to go back to their

4
     office.    They can do a lot offer things while they're

5
     waiting for the verdict.

6
               THE COURT:     Why don't my law clerk and I put

7
     together a chart, as it were, that goes by defendant,

8
     by charge, and then as to those charges reference it to

9
     the verdict form number -- the question number on the

10
     verdict form?

1
               MR. MONTEMARANO:      That would be fine.        I think

12
     something like that would be of assistance, and it

13
     didn't even occur to me until Your Honor brought up the

14
     verdict form.     We're so used to it because we're so

15
     used to looking at the indictment --

16
               THE COURT:     When they look at it as they go

17
     through their deliberations, they can then transfer it

18
     on to the verdict form in the right place.              That's the

19
     way they're going to hear the arguments.

20
               Yes, Mr. McKnett.

21
               MR. MCKNETT:     Your Honor, on behalf of Ms. Ali,

2
     I think Ms. Greenberg is correct that there is the

23
     possibility of confusion with regard to the telephone

24
     counts, but I think Mr. Montemarano's suggestion of a

25
     "cheat sheet", for lack of a better term, is an




                                                                   Page 11
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 12 of 314



     appropriate --
1




2
             THE COURT:      What I want to do is this.          I want

3
     to get Ms. Ali on the stand and get her off the stand

4
     and do that promptly.        I just wanted to highlight the

5
     issues for you.      We will need to talk about them as

6
     soon as possible.

7
             What I'm hopeful is that I can instruct today.

8
     But in order to instruct today, I've got to get final

9
     resolution of a the lesser included offense issue.                 I'm

10
     prepared to rule that I'm not going to give the

1
     instruction requested on Section 843, but I'd like to

12
     know what the position of the parties are on the lesser

13
     included offense so I can start acting on it.

14
             MR. MCKNETT:      Your Honor, just for the sake of

15
     completeness on the lesser included, I'm not suggesting

16
     that the court should, but there is ample authority

17
     that the court can on its own motion give that

18
     instruction if the court thinks it's appropriate.

19
             THE COURT:      I'd like to hear what everybody

20
     thinks before I make my own mind up about it.

21
             MR. MONTEMARANO:        Your Honor?

2
             THE COURT:      Yes, sir.

23
             MR. MONTEMARANO:        I would like to be heard

24
     briefly.    I understand you want to get the jury in

25
     here, but with regard to 2843 and rebuttal evidence --




                                                                   Page 12
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 13 of 314



              THE COURT:     Very briefly.
1




2
              MR. MONTEMARANO:       With regard to 2843.        I was

3
     kicking around this topic in my office yesterday with

4
     Mr. Ticknor, my office mate, and he, because he is not

5
     as close to the case as many of us, has put it in what

6
     I think is an easy to understand nutshell that I think

7
     the court's instruction is likely to create a problem

8
     about.

9
              Let us assume a defendant in this case, "Fred",

10
     who is a cab driver and who is called by one of the

1
     defendants here at trial for the purpose of going to

12
     the airport or the train station to pick up drugs.

13
     Fred's not a member of the conspiracy and he has no

14
     knowledge of it, but under the construction as

15
     currently constituted regarding 843, Fred could be

16
     convicted of using a telephone to further the intent of

17
     the conspiracy without having any knowledge of it or

18
     anything else.      Clearly, his conduct is not an illegal

19
     wire offense, whereas the conduct charging the

20
     defendant is illegal, but the instruction as you will

21
     give, if you give it in the current form, would permit

2
     a person -- in the current form would permit a person

23
     who is entirely innocent of the conspiracy and of 2843

24
     to be convicted, because I don't think 843 should apply

25
     to Fred, and I think that's what the appellate courts




                                                                   Page 13
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 14 of 314



     have said, although the Fourth Circuit has not spoken
1




2
     to it directly, and I think that's a problem.

3
             THE COURT:      I thought the opinion of District

4
     Judge Freedman was pretty compelling on where the

5
     Fourth Circuit is likely to come out on that subject,

6
     but I recognize they haven't squarely addressed the

7
     issue

8
             MR. MONTEMARANO:        With regard to the question of

9
     rebuttal.    Ms. Johnston provided me, at my request on

10
     Friday afternoon, a list of the bank accounts that

1
     they're -- one of their rebuttal witnesses, an IRS

12
     witness, would testify concerning.            I questioned her as

13
     to what his testimony would constitute.             He has not

14
     been announced to the defense as an expert and we have

15
     not received any Rule 16 concerning any expertise.                 She

16
     said he has prepared summary charts and will be

17
     testifying about them, so it is my understanding he

18
     will not be testifying as an expert, that's number one.

19
             In light of the fact these are summary charts, I

20
     think the defense needs to be provided them as soon as

21
     possible so that we can review them, because if he is

2
     going to testify about charts, we are able to object to

23
     them regarding their contents, which I cannot in good

24
     faith do until I review them; and I would therefore

25
     request any and all information regarding that as soon




                                                                   Page 14
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 15 of 314



     as possible.
1




2
                THE COURT:      What's the status of that, Ms.

3
     Johnston?

4
                MS. JOHNSTON:       Your Honor, I gave Mr.

5
     Montemarano the exhibit numbers for the records, and I

6
     also told him if he had difficulty going through them

7
     we had the two boxes of the records the agent has

8
     summarized available in our office for review.

9
                THE COURT:      Is there a summary chart?

10
                MS. JOHNSTON:       Is there a summary chart?          I do

1
     not want to disclose it at this time.                There is a

12
     defendant who is testifying, and it's rebuttal

13
     evidence.       There is no notice required that they be

14
     given rebuttal evidence, and it is extremely critical

15
     that one of the defendants is on the direct examination

16
     --

17
                THE COURT:      I'm not suggesting that.

18
                MS. JOHNSTON:       -- and maybe have an opportunity

19
     to discuss some of the issues that are contained in

20
     that.      I will make them available once the defense

21
     rests.

2
                MR. MONTEMARANO:        I wanted the record to be

23
     clear that I wanted to review them carefully.                  I have

24
     the bank records with me courtesy of the identification

25
     of the records by Ms. Johnston.              I spent much of Sunday




                                                                      Page 15
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 16 of 314



     afternoon in the office going through the 24 boxes of
1




2
     discovery in this matter to make sure I had all those

3
     bank records, and it will         take some time to vet the

4
     bank records against the summary charts.              I simply want

5
     the court to be aware of that.

6
             THE COURT:      What do you want to say about lesser

7
     included offense?

8
             MR. MONTEMARANO:        No, sir.

9
             MS. JOHNSTON:       I want the record to be clear

10
     that the records we're using have been pulled and they

1
     have been available, and I told Mr. Montemarano what

12
     they were.

13
             MR. MONTEMARANO:        What does that have to do with

14
     anything, Your Honor?        I've had them since 2005.

15
             THE COURT:      Mr. Sussman.

16
             MR. SUSSMAN:      After the defense rests, I think

17
     the government should be asked for some brief proffer

18
     about what the rebuttal is.          I'm always concerned when

19
     I don't put on anything that I may be placed in the

20
     rebuttal.    I'm kidding.      As I said, just trust and

21
     verify --

2
             THE COURT:      They've told you who the witnesses

23
     are.

24
             MR. SUSSMAN:      I don't know who these witnesses

25
     are.




                                                                   Page 16
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 17 of 314



             THE COURT:      Mr. McKnett.
1




2
             MR. MCKNETT:      Can I go out and call the two

3
     transcribers?

4
             THE COURT:      Call them up.

5
             Mr. Ward, did you have an issue?

6
             MR. WARD:      I'm sorry, I missed something.           The

7
     summary charts that the government proposes to use in

8
     rebuttal is bank records?

9
             THE COURT:      Of bank records.

10
             MR. WARD:      So I don't have to worry about that.

1
             MS. JOHNSTON:       The portions that have been

12
     pulled have been sitting in my office, as I told Mr.

13
     Montemarano on Friday.

14
             MR. MONTEMARANO:        With all due respect, Your

15
     Honor, it's not the bank records, it's the charts.                  The

16
     charts I'm asking about.         Ms. Johnston keeps yammering

17
     about "the bank records are available."             With all due

18
     respect, they're not going in.           I've got them.      It's

19
     the evidence in the summary chart.            I know about all

20
     the defendants, but we objected to the use of their

21
     photographs and the names on the chart.

2
             THE COURT:      You will have the chart before he

23
     takes the stand, but I can't guarantee it's going to be

24
     days or hours before.

25
             MR. MONTEMARANO:        Before the chart is used and




                                                                   Page 17
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 18 of 314



     marked --
1




2
              THE COURT:     You will have a chance to look at

3
     it.

4
              MR. MONTEMARANO:        That's all I want to be clear

5
     on.

6
              THE COURT:     I'm not sure precisely when I'm

7
     going to be instructing this jury today but, as I look

8
     at the schedule, I see no reason why all arguments

9
     can't be done in one day.         I really don't like breaking

10
     it up.

1
              MS. JOHNSTON:      We'll be starting at 9 o'clock

12
     tomorrow, Your Honor?

13
              THE COURT:     Yes.     I've moved a sentencing so we

14
     can do it.

15
              MS. GREENBERG:        Judge, while Mr. McKnett is

16
     calling, I thought we were making changes to the jury

17
     instructions, and I wanted to give Mr. Mitchell a

18
     correction on the gun count, and we can talk about it

19
     on the next break and see if he agrees or disagrees.

20
              THE COURT:     I want to have counsel advise me by

21
     the break we take today what their position is on

2
     lesser included offense.         I mean, based upon my

23
     preliminary review of the cases on this subject, the

24
     defendants as to whom there is a sufficient issue

25
     raised as to potentially entitle them are the ones I




                                                                   Page 18
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 19 of 314



     indicated.     My inclination is if I give an instruction,
1




2
     I would give it across the board for those three

3
     defendants, and it would be as to the conspiracy count

4
     and the possession with intent to distribute count as

5
     to those defendants only.

6
             MS. GREENBERG:       Your Honor, may we have a time

7
     to consult with each other after Ms. Ali is finished?

8
             THE COURT:      Yeah, talk to each other.

9
             We have one juror who has a heart monitor or

10
     something that they were given to wear because of a

1
     visit to the doctor that needs to take it off at 11:30,

12
     so we will definitely be in recess at 11:30.               I just

13
     wanted to let you know that.

14
             MR. SUSSMAN:      Judge, do you have any idea how

15
     long your instructions will take?

16
             THE COURT:      Well, I don't know what the answer

17
     is unless we decide on the lesser included offense,

18
     which is going to add to them.           I would assume an hour

19
     and a quarter.      That's a rough estimate when I look at

20
     this pile of paper.

21
             MR. MONTEMARANO:        Without a break?       I'm sorry,

2
     Your Honor.     Without a break?

23
             THE COURT:      Without a break.       Five glasses of

24
     water, but I'll grind my way through it.

25
             MR. MONTEMARANO:        I'm not asking either way.




                                                                   Page 19
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 20 of 314



     We're sitting here twiddling our thumbs and listening,
1




2
     but Your Honor has to talk.          If Your Honor has to take

3
     a break, that's all.

4
             THE COURT:      No.   Once I start, I'm going to

5
     rumble right through, and I will put a bunch of glasses

6
     of water here in front of me and take a deep breath

7
     here and there and keep going.

8
             MR. MONTEMARANO:        You're a better man than I am.

9
             THE COURT:      And my surgeon says I'm okay for

10
     another 50,000 miles.

1
             MR. MONTEMARANO:        Congratulations.

12
             THE COURT:      Mr. McKnett is back.

13
             Are we ready for the jury now?

14
             Ladies and gentlemen, I'm going to tell the jury

15
     that tomorrow we will begin at 9:00, that Thursday we

16
     will begin at 9:00, and depending upon when they get

17
     this case we'll deal with the particular issues they

18
     may have in terms of their ability to deliberate on

19
     given days, but I will make a final decision on who the

20
     deliberating jurors are after consulting with the

21
     parties.    I won't tell them that now.           We're taking

2
     into account all of that to decide who the deliberating

23
     jurors will be, and I recognize that there are problems

24
     with Monday and Tuesday of next week.             If a verdict is

25
     not reached by close of business on Friday, they will




                                                                   Page 20
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 21 of 314



     come back the following Wednesday.
1




2
             MR. MONTEMARANO:         Your Honor, with regard -- you

3
     suggested Thursday at 9:00.          If I understand the

4
     court's proposed schedule and we close tomorrow,

5
     Thursday would just be deliberation?

6
             THE COURT:      Yes.

7
             Bea, was there a problem with time on one of

8
     those days?     One juror has a doctor's appointment and

9
     would like to leave at like 2:30 on Thursday, so I may

10
     ask them if they would like to come in on Thursday that

1
     day.

12
             Bring them in.         I'll give them an update on this

13
     when they come in.

14
             MR. WARD:      Your Honor, I couched a lesser

15
     included request on Ms. Dobie, and I know there are

16
     differing views of counsel, and I raised the issue on

17
     Ms. Dobie.

18
             THE COURT:      You also raised it with conspiracy.

19
             MR. WARD:      Yes.

20
             THE COURT:      Do you also want it on the

21
     possession with intent to distribute?

2
             MR. WARD:      I don't have a possession with intent

23
     to distribute.

24
             THE COURT:      I thought you did.

25
             MR. WARD:      We have several telephone counts.




                                                                   Page 21
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 22 of 314



               THE COURT:    I'll have to take a look.          I thought
1




2
     there was one.

3
               MR. MONTEMARANO:      Your Honor, if I could step in

4
     the hall briefly?

5
               THE COURT:    You may.

6
                     (Mr. Montemarano returns.)

7
                     (Witness resumes the stand.)

8
                     (Jury returns at 9:53 a.m.)

9
               THE COURT:    Counsel, can you approach the bench?

10
                            (At the bar of the Court.)

1
               THE COURT:    The juror that has the mother-in-law

12
     who's dying gave me a note.          I'll read it into the

13
     record.    It says, My mother-in-law, who lives in

14
     Missouri, has become very ill and is dying.              She has

15
     been fighting breast cancer for several years and she

16
     is presently bedridden and under hospice care.               My wife

17
     called the doctor yesterday and he said she should come

18
     out sooner rather than later.          My wife and daughter are

19
     flying to Missouri this Thursday, August 10.               I need to

20
     travel to Missouri to visit my mother-in-law and to

21
     support my wife.       Accordingly, I request that I be

2
     excused.    Thank you for your consideration.

23
               I didn't realize they were asking to have a

24
     decision made now.       What I would propose is to tell

25
     this juror right now that you are -- does anybody




                                                                   Page 22
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 23 of 314



     object to this?
1




2
             MR. MONTEMARANO:        No, not at all.

3
             THE COURT:      You are designated as an alternate.

4
     I'm going to have you stay through as much as you can

5
     stay for, including closing argument, so that you could

6
     deliberate if for some reason the jurors could not

7
     deliberate because of death or illness or something so

8
     that they should stay, you know, pristine.

9
             MS. JOHNSTON:       I'm not so sure the propriety of

10
     doing that, Your Honor.        I know that the court, under

1
     the rules, can allow this jury to do it with just 11

12
     once they start deliberating.

13
             THE COURT:      I understand that.

14
             MS. JOHNSTON:       I don't know whether or not

15
     there's authority for the court to put a juror back

16
     into the deliberations.        I know it's possible.

17
             THE COURT:      If nobody objects, I can do that.

18
             MS. JOHNSTON:       It's possible in a death penalty

19
     case.

20
             THE COURT:      You're not objecting, are you, Ms.

21
     Johnston?

2
             MS. JOHNSTON:       What I'm saying is it would be

23
     ripe for plain error on appeal, so -- but I just --

24
             THE COURT:      You're really talking about an

25
     academic question, because in all likelihood this juror




                                                                   Page 23
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 24 of 314



     will not ever deliberate.         I want to make certain that
1




2
     this juror is excused and that the juror stays clean

3
     and does not discuss it, so that if there were a

4
     situation we could all confer about this and we would

5
     bring the juror back in and start from -- they could

6
     start from scratch.       I'm going to tell the jury now.

7
             MR. MARTIN:      What if he doesn't want them to

8
     know?

9
             THE COURT:      I could ask the juror to come up

10
     here.

1
             MR. MONTEMARANO:        Him alone?     Counsel can go

12
     back to their tables and you can wish him Godspeed and

13
     go from there.

14
             MS. JOHNSTON:       Your Honor, the government would

15
     ask that the court exercise discretion and excuse him

16
     or dismiss him for cause.         Quite frankly, he is a juror

17
     that the government would like to keep here, but I

18
     don't think it is fair to him when his wife is losing

19
     her mother and his wife and daughter are in Missouri

20
     that he should have to sit through this testimony for

21
     the next two days and not be there at the time his

2
     mother-in-law passes.

23
             THE COURT:      I understand.      I'm going to try to

24
     keep an insurance policy for an unforeseen disaster.

25
     What I will do, Counsel, is ask juror 6 to come up to




                                                                   Page 24
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 25 of 314



     the bench, and I will tell him what I've done.
1




2
                           (Back in open court.)

3
              THE COURT:     Juror 6?

4
                           (At the bar of the court.)

5
              THE COURT:     Good morning.      I'm sorry to hear

6
     about your mother-in-law.

7
              JUROR 6:     Thank you

8
              THE COURT:     I have conferred with counsel in

9
     regard to your situation.         You need to leave by

10
     Thursday?

1
              JUROR 6:     That's when my wife has a flight,

12
     Thursday morning.

13
              THE COURT:     Here's what I'm trying to do to make

14
     sure we don't have a problem if other people would get

15
     ill or sick.     I will tell you now that I want to have

16
     you stay here.      We hope we will be done tomorrow; we

17
     may go into Friday.       You would be excused on Thursday.

18
     What I intend to do is have an alternate take your

19
     place.   What I do want to have to is an insurance

20
     policy and make sure you've heard all the evidence and

21
     the closing arguments so that if the jury were to begin

2
     deliberations and then another juror became ill or died

23
     or something like that, there is a possibility you

24
     could be called back at some later point to start

25
     deliberations anew with the jury.           It's very, very




                                                                   Page 25
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 26 of 314



     unlikely that would happen, but I want to put you at
1




2
     rest and you can count on going to the -- with your

3
     wife on Thursday.

4
              JUROR 6:     Okay.   But, I mean, if the case is not

5
     concluded by Wednesday evening --

6
              THE COURT:     If closing argument is not over

7
     Wednesday evening, I'm still letting you go.               I'm

8
     anticipating that we will get it done so that then you

9
     would be a juror who, if necessary, could be recalled

10
     at a later time after you've taken care of your family

1
     business and you could be called back.             I don't think

12
     it's going to happen, but it gives me insurance.                  Thank

13
     you very much.

14
                           (Back in open court.)

15
              THE COURT:     Good morning, ladies and gentlemen.

16
     Let me give you some scheduling information.               I've

17
     gotten various communications from the jurors, and I've

18
     also conferred with counsel for the parties, and I'm

19
     anticipating -- I should say praying or hoping that we

20
     will finish all the testimony by early afternoon, and

21
     that if things go smoothly -- things might not go

2
     smoothly -- I'll be able to give you my instructions

23
     today.

24
              What I'm hoping for is that tomorrow would be

25
     consumed in its entirety with closing arguments.                  This




                                                                   Page 26
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 27 of 314



     is a long case, and they need to talk to you, and it's
1




2
     a very important part of a trial.           While I've told you

3
     before that arguments are not evidence, arguments are

4
     perhaps the highest art form of the legal profession,

5
     and so I'm not discounting the importance of closing

6
     argument.     It's their chance to tell you what they

7
     think this evidence shows or doesn't show.              So, if

8
     things go smoothly, you would be hearing arguments

9
     tomorrow.     At the worst case scenario, you will be

10
     hearing instructions and then arguments and maybe

1
     spillover arguments the next day, but I am anticipating

12
     you will get this case on Thursday.

13
             I believe one of you, unless excused, has a

14
     doctor's appointment on Thursday afternoon, so you

15
     wouldn't be able to deliberate all day, so you may want

16
     to ask yourselves during the break or discuss it

17
     amongst yourselves at a break whether, if you're

18
     deliberating on Thursday, you could come in early to

19
     offset the fact that you wouldn't be coming back.                We

20
     would have to adjourn at 2:30.

21
             On Friday -- if you haven't reached a verdict,

2
     then you have all day Friday.          I'll put your mind at

23
     rest on one thing.       The fact that I'm going to be out

24
     of town next week does not mean that you can't

25
     deliberate.     Another judge can receive your verdict, so




                                                                   Page 27
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 28 of 314



     that if you did not reach a verdict this week, you're
1




2
     under no pressure to get it done while I'm here.                   I

3
     mean, you do the right job, the thorough job, and the

4
     proper job.        If you get done this week, fine.            If you

5
     can't, so be it.         I understand because of conflicts and

6
     whatever, you cannot be here Monday and Tuesday.                   So,

7
     if you can't reach a verdict this week, by the end of

8
     the day on Friday, then you would return Wednesday,

9
     Thursday and Friday the following week, if necessary,

10
     to reach your verdict.

1
                That's the best schedule I can lay out for you.

12
     If you have any questions, make sure you tell your

13
     foreman so he can communicate that to me.

14
                With that, we're ready to proceed with the

15
     further direct examination of Ms. Ali.

16
                Mr. McKnett, you may proceed.

17
                          FURTHER DIRECT EXAMINATION

18
                BY MR. MCKNETT:

19
     Q.         Thank you, Your Honor.

20
                Good morning again, Ms. Ali.

21
     A.         Good morning.

2
     Q.         Ms. Ali, on Friday, toward the end of the

23
     afternoon, we had been playing a number of recordings

24
     and following along in the defense and government's

25
     transcript books.          I asked you questions about one of




                                                                      Page 28
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 29 of 314



     the transcripts on Page 365 in the defendants' book,
1




2
     B5726.

3
                At the end of the day, as I was leaving the

4
     courthouse, I realized I hadn't actually played that

5
     conversation, so I would like to play that now, if I

6
     may.

7
                Mr. Mitchell.

8
                THE COURT:      What was the number again?

9
                MR. MCKNETT:       B5726.    It's on Page 365 of the

10
     defendants' transcript book.

1
                MR. MCKNETT:       Mr. Mitchell.

12
                It was the one that was handed to you toward the

13
     -- in the afternoon.

14
                Mr.    Mitchell.

15
                (Recording begins playing at 10:04 a.m.)

16
                (Recording stops playing at 10:04 a.m.)

17
                BY MR. MCKNETT:

18
     Q.         Ms. Ali, on Page 366 you say, I'm going to stop

19
     before I leave -- after I leave here.

20
                Do you remember if you were going to stop by

21
     there at Ms. Martin's house for any particular reason?

2
     A.         Yes.    It was on my way home, and I was just

23
     stopping by after I left my girlfriend's house.

24
     Q.         Was there any drug involvement --

25
     A.         No.




                                                                      Page 29
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 30 of 314



     Q.         -- in your intent to stop by?
1




2
     A.         No.

3
     Q.         Ms. Ali, I want to turn your attention now to

4
     May 16, 2004.        Do you recall that day?

5
     A.         Yes, I do.

6
     Q.         Do you recall what you did that day insofar as

7
     your friendship with Ms. Martin is concerned?

8
     A.         Yes.

9
     Q.         What did you do?

10
     A.         May?

1
     Q.         Yes.

12
     A.         Ms. Martin called me up and asked me to come by

13
     and help her take some things to the studio, and she

14
     said to me that I didn't have to bring my husband

15
     because, as you know, my husband doesn't drive, and

16
     usually he rides with me when she needs something done

17
     or if Jackie needs something done.               On that particular

18
     day, she asked me to come by and help her take some

19
     things to the studio.           I did tell my husband where I

20
     was going -- I was going over to Paula's -- and if he

21
     wanted to go with us, and he declined because it was a

2
     big time for basketball, and he's an avid basketball

23
     and sports fan.         I went over to Ms. Martin's.           We were

24
     in the house for maybe one or two minutes, if that

25
     long.      She gave me a bag, and we took the bags to the




                                                                      Page 30
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 31 of 314



     studio.
1




2
     Q.         Do you remember what day of the week May 16

3
     was?      You don't remember --

4
     A.         It was a Sunday.        Sunday.

5
     Q.         You mentioned a call from Ms. Martin.              Would you

6
     turn to Page 525 in the government's book, please?                    I

7
     apologize.        I'm not sure which volume of the

8
     government's -- Volume III.             Do you see that call

9
     there?

10
     A.         Yes, I do.

1
     Q.         Is that the call you were referring to?

12
     A.         Yes.

13
     Q.         A call in which Ms. Martin says, leave your

14
     husband at home and come take me to the school; I've

15
     got to take something there?

16
     A.         Yes.

17
     Q.         And then later on she says, then I'm coming past

18
     your house and take something.

19
                What did she mean when she said that, then I'm

20
     going past your house and take something?

21
     A.         I have no idea.

2
     Q.         Did she come by your house that day?

23
     A.         Yes, she did.

24
     Q.         Did she take anything?

25
     A.         Not that I recall.        No, she just checked the




                                                                      Page 31
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 32 of 314



     suitcases that were there, and my husband and I were in
1




2
     the back -- I was in the kitchen, went to the back, and

3
     she left.

4
     Q.         How did she leave?

5
     A.         With her pocketbook and out the front door.                She

6
     drove.

7
     Q.         What vehicle did she drive?

8
     A.         The red Mercedes.        No, I drove.      I'm sorry.      I'm

9
     sorry.      No, no, no.      I took her back to her place,

10
     because I picked her up.            I'm sorry.

1
     Q.         When you went in the house at Ms. Martin's

12
     residence, did she tell you anything about what she

13
     wanted to take to the studio?

14
     A.         No.    We had been talking, and she was concerned

15
     about the police coming in because she had been warned

16
     through the neighborhood group that people had been

17
     coming in and out of the house, and she thought that

18
     they would come in; and she said she wanted to take

19
     some things out because she didn't want them to be

20
     destroyed or ruined, that she wanted to take them to

21
     the studio if they were to come in and check the

2
     clothing.        She thought it was about the clothing --

23
     that's what I was told, that it was about the clothing

24
     that Kevin had been bringing in there.

25
     Q.         Did you see what was in -- well, did you see any




                                                                      Page 32
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 33 of 314



     -- did Ms. Martin direct your attention to any items
1




2
     that she wanted you to take to the studio?

3
     A.         No, she didn't.       She just gave me the bags, and

4
     we walked directly out the house.

5
     Q.         Did you put anything in the bags?

6
     A.         No, I did not.

7
     Q.         Did you see what was in the bags?

8
     A.         No, I did not.

9
     Q.         What did it appear to you was in the bags?

10
                MS. JOHNSTON:       Objection.     She said she didn't

1
     see what was in the bags.

12
                BY MR. MCKNETT:

13
     Q.         Let me rephrase.        Were the bags empty?

14
     A.         No.

15
     Q.         Were there items in the bags?

16
     A.         Yes.

17
     Q.         Could you see the items in the bags?

18
     A.         No, I could not.

19
     Q.         When you -- how many bags did you carry?               Do you

20
     remember?

21
     A.         I don't recall.       I know it was one, possibly

2
     two, but I don't recall.

23
     Q.         We saw a pole cam --

24
     A.         Yes.

25
     Q.         -- that was played at Ms. Martin's house.               The




                                                                      Page 33
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 34 of 314



     pole cam tape that was made on May 16, do you remember
1




2
     seeing that?

3
     A.         Yes.

4
     Q.         Was that the pole cam -- did the pole cam tape

5
     accurately reflect what happened when you were helping

6
     Ms. Martin move things to the studio?

7
     A.         Yes, sir.

8
     Q.         Once you got to the studio, what did you do with

9
     the bags?

10
     A.         I gave them to Ms. Martin.

1
     Q.         What did she do?

12
     A.         I have no idea.       It's two parts to the studio.

13
     It's a office part that's in front, and then there's

14
     another small office to the right, then there's a huge

15
     room.      I sat in the front of the office and sat in the

16
     chair.

17
     Q.         Did you help carry the bags into the studio?

18
     A.         Yes, I did.

19
     Q.         When you got in the studio, what did you do with

20
     them?

21
     A.         I gave them to Ms. Martin.

2
     Q.         What happened after that?

23
     A.         We stayed there for a bit; I made some phone

24
     calls, and we left and we went by my house.

25
     Q.         Did Ms. Martin ever tell you what was in the




                                                                      Page 34
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 35 of 314



     bags?
1




2
     A.         No, she did not.

3
     Q.         Did you ever ask her what was in the bags?

4
     A.         No, I didn't.

5
     Q.         Ms. Ali, I want to turn your attention now to

6
     your apartment.

7
                Ms. Ali, do you recognize this suitcase?

8
     A.         Yes, I do.

9
     Q.         How do you recognize it?

10
     A.         It was a suitcase that Ms. Martin gave my

1
     husband and I in 2002 when she moved out of her house

12
     on Bexhill Court.

13
     Q.         Where did you keep that suitcase in your

14
     apartment?

15
     A.         In the closet, on the right-hand side, in back

16
     of a rack of clothing.

17
     Q.         Did you ever look into the suitcase?

18
     A.         No, I did not.

19
     Q.         Did you ever have a key to the suitcase?

20
     A.         No, I did not.

21
     Q.         Did Ms. Martin ever tell you what was in the

2
     suitcase?

23
     A.         No, she did not.        Yes, she did.      I'm sorry.      She

24
     just said there was some important papers and things

25
     that she did not feel comfortable carrying around -- I




                                                                      Page 35
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 36 of 314



     did not get out the suitcase when she first moved out
1




2
     the house.        When she moved into Annette's house, she

3
     gave us the suitcase and she felt that she didn't want

4
     certain things to be traveling with her, you know, so

5
     she asked us to keep it until she moved into her house.

6
     Q.         How long was that suitcase in your apartment?

7
     A.         The suitcase has been in my apartment since

8
     2002.

9
     Q.         Ms. Ali, I want to show you some photographs.

10
     These are the photographs that were marked as Ali

1
     Exhibits P-1, and then there were A, B, C and so forth.

12
                Are they available?         I have the black and

13
     whites.

14
                MS. JOHNSTON:       Yes.    We're pulling for them, Mr.

15
     McKnett.

16
                BY MR. MCKNETT:

17
     Q.         Bear with me just one second.            Agent Snyder is

18
     kind enough to get them for me.

19
                Ms. Ali, I'm showing you what's been marked as

20
     Government's Exhibit P-1B.            Do you see that?

21
     A.         Yes, I do.

2
     Q.         What is -- what's reflected in that photograph?

23
     A.         That's the walk-in closet at our apartment.

24
     Q.         This area back here?

25
     A.         Yes.




                                                                      Page 36
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 37 of 314



     Q.         I'm showing you what's been marked as Government
1




2
     Exhibit P-1C.        Do you recognize that?

3
     A.         Yes, I do.

4
     Q.         What is that?

5
     A.         It's a very full walk-in closet.

6
     Q.         Is this the closet in which the suitcase was

7
     kept?

8
     A.         Yes.

9
     Q.         Am I -- you described it in the back right-hand

10
     corner; is that correct?

1
     A.         No.    If you go to the right, the right wall,

12
     there's a rack of clothing right there.                The suitcase

13
     was back there.

14
     Q.         So, the suitcase was behind and underneath

15
     clothing?

16
     A.         Yes.

17
     Q.         Ms. Ali, I'm showing you what's been marked as

18
     Government P-1H.         Do you recognize that item, the

19
     contents of this photograph?

20
     A.         Yes, I do.

21
     Q.         What is that?

2
     A.         That's a drawer out of a small jewelry box that

23
     was on my dresser.

24
     Q.         This is the drawer here?

25
     A.         That's correct.




                                                                      Page 37
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 38 of 314



     Q.         Is this the jewelry box?
1




2
     A.         That's correct.

3
     Q.         Is this the space where this drawer was?

4
     A.         Yes.

5
     Q.         Where was this drawer the last time you saw it

6
     before your arrest on June 1st 2004?

7
     A.         Inside the jewelry box.          In the slot.

8
     Q.         Right here?

9
     A.         That's correct.

10
     Q.         There are contents of this drawer.             Do you

1
     recognize them?

12
     A.         Yes.

13
     Q.         What's this, if you can make it out.

14
     A.         I can't tell.

15
                MR. MCKNETT:      May I approach, Your Honor?

16
                THE COURT:      You may.

17
                THE WITNESS:      It's a piece of foil with some

18
     cocaine that I cooked.

19
                BY MR. MCKNETT:

20
     Q.         Do you recognize the other items in that drawer?

21
     A.         Yes, I do.

2
     Q.         Let me put it back on the screen.

23
                You said this was a piece of foil that contained

24
     cocaine that you cooked?

25
     A.         Yes, sir.




                                                                      Page 38
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 39 of 314



     Q.         Where did you get the cocaine that you cooked?
1




2
     A.         From Ms. Martin.

3
     Q.         How much did you get?

4
     A.         125 -- three bags for $125.

5
     Q.         There's three little --

6
     A.         Three 50s.

7
     Q.         Three little 1" x 1" bags?

8
     A.         Yes.

9
     Q.         Do you recognize this item here?

10
     A.         That's a straw.

1
     Q.         What did you use the straw for?

12
     A.         Sometimes I did snort it, too.            I put it in my

13
     nostrils.       And sometimes it was used for the homemade

14
     pipe that I made.

15
     Q.         This item here, is that a bracelet?

16
     A.         It's a bracelet, yes.

17
     Q.         What's in this plastic bag?

18
     A.         I can't tell from here.

19
                MR. MCKNETT:      Can I approach again, Your Honor?

20
                THE COURT:      You may.

21
                THE WITNESS:      That looks like the large bag that

2
     the three came in.

23
                BY MR. MCKNETT:

24
     Q.         When you say "the three", you mean the 125,

25
     those three small bags?




                                                                      Page 39
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 40 of 314



     A.         Yes.
1




2
     Q.         You said this is cocaine that you cooked.                 How

3
     did you learn to cook cocaine?

4
     A.         Asking questions.        Asking questions from friends

5
     -- people that I knew that smoked.

6
     Q.         How did you do it?

7
     A.         I had a pot -- I placed the pot on the stove --

8
     and I had a spice jar, and I would place the -- a

9
     little bit of baking soda into a piece of paper and mix

10
     it up and put it into the spice jar.               The water was in

1
     the pan, and I would cook it.

12
     Q.         Did you ever buy already prepared crack cocaine?

13
     A.         No, I did not.       I never bought crack cocaine

14
     already prepared.

15
     Q.         When you last saw this drawer before your arrest

16
     on June 1st, is this the way it looked?

17
     A.         You mean before -- out of the drawer?              Yes.

18
     That's probably how it looked inside the jewelry box,

19
     yes.

20
     Q.         Okay.    Now, let me ask you about another

21
     picture, P-1I.         Do you recognize this -- the contents

2
     of this photograph?

23
     A.         Yes.

24
     Q.         What do you recognize in this photograph?

25
     A.         That's my jewelry box -- empty in Nordstrom's




                                                                      Page 40
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 41 of 314



     jewelry box that was not inside that drawer.
1




2
     Q.         Excuse me.      Right here?

3
     A.         Yes, sir.

4
     Q.         I'm sorry I interrupted you.           What were you

5
     about to say?

6
     A.         It was not inside that drawer; it was on top of

7
     my dresser with the rest of my jewelry.

8
     Q.         And this item?

9
     A.         A napkin.      A Costco's napkin.

10
     Q.         Was that in the drawer?

1
     A.         No.

12
     Q.         And this item over here?

13
     A.         That might have been in the drawer.             A straw

14
     might have been there.

15
     Q.         If you can see it, there's a small baggy down

16
     here.      Do you see that?

17
     A.         Yes.    That might have been in there along with

18
     phone books and books and pencils and papers.

19
     Q.         So this is not the condition of the drawer --

20
     A.         That's correct.

21
     Q.         -- the last time you saw it before you were

2
     arrested on June 1st 2004

23
     A.         That's correct.

24
     Q.         I want to come back to the cooking of the

25
     cocaine.       How were you able to cook the cocaine without




                                                                      Page 41
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 42 of 314



     your husband knowing?
1




2
     A.         It's a very large apartment.           The kitchen was

3
     all the way to the front of the apartment.                 My bedroom

4
     was in the back.         My husband was a hard sleeper.

5
     There's nothing to cooking it, except the bottle might

6
     rattle in the pan a little bit.

7
     Q.         How long does it take to cook cocaine?

8
     A.         Well, I wasn't a expert, so sometimes it took me

9
     longer because I messed up a lot.              I don't know.       Three

10
     minutes?       Five minutes?      It's according to how hot the

1
     water was, the temperature of the water or --

12
     Q.         Why would you cook cocaine into crack?

13
     A.         Because when I snorted it, I was afraid that it

14
     was going to mess my nostrils up.              It caused me to have

15
     a lot of sinus problems, and I didn't want people to

16
     know, so it was a way that I was able to hide it by not

17
     -- when I smoked it, my nostrils didn't drain.

18
     Q.         I want to show you one more photograph that's

19
     been marked as exhibit -- Government Exhibit P-1, and I

20
     believe it's a "J."          Let just confirm that.         Yes, I

21
     believe it is a J.

2
                Do you recognize the contents of this

23
     photograph?

24
     A.         Yes.

25
     Q.         What is that?




                                                                      Page 42
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 43 of 314



     A.         That's our bathroom.
1




2
     Q.         There are some items on a shelf here above the

3
     toilet.       Do you see them?

4
     A.         Yes, I do.

5
     Q.         What are these items here?

6
     A.         The brown piece where your pen is is a basket

7
     with toiletries.

8
     Q.         The blue?

9
     A.         Cosmetic bag.

10
     Q.         There appears to be something yellowish or

1
     orangeish here?

12
     A.         I don't recall what that is.

13
     Q.         And up here?

14
     A.         That's my husband's shaving -- brown shaving kit

15
     bag.

16
     Q.         Did you ever store cocaine in your husband's

17
     shaving kit bag?

18
     A.         No, I did not.       He used that bag every day.           I

19
     was hiding it from him, so I wouldn't store cocaine in

20
     that bag.

21
     Q.         Is this the way these items on these shelves

2
     appeared the last time you saw them prior to your

23
     arrest on June 1st of '04?

24
     A.         Yes.

25
     Q.         Ms. Ali, I want to show you a document that's




                                                                      Page 43
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 44 of 314



     been marked as -- Ali Exhibit 6, Ms. Merez?
1




2
             THE CLERK:      Yes.

3
             MS. JOHNSTON:       Your Honor, may we approach the

4
     bench please?

5
             THE COURT:      You may.

6
                       (At the bar of the Court.)

7
             MS. JOHNSTON:       I don't know what this document

8
     is.   I appreciate counsel said it came out of

9
     discovery, but we took many boxes of documents.                I'm

10
     objecting on a Rule 16         basis because it wasn't

1
     provided to us as a document they intended to use in

12
     their case in chief.        This is the first time I'm seeing

13
     it.   I didn't even see it before Ms. Ali started her

14
     direct, nor during the time lapse between last Friday

15
     and today.     I don't know how these items are relevant,

16
     and it appears to be --

17
             THE COURT:      Was it your understand the

18
     government was going to use this?

19
             MR. MCKNETT:      That was my impression.          I could

20
     be wrong.

21
             THE COURT:      What is this document?

2
             MR. MCKNETT:      It's a receipt.        It's dated May 30

23
     of 2004, two days before my client got arrested.                It's

24
     a receipt for the two computers that she picked up from

25
     the repair shop.      If the government is not intending to




                                                                   Page 44
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 45 of 314



     reference this document in any way, then I won't even
1




2
     bother with it.

3
             MS. JOHNSTON:       I don't know why it's being

4
     introduced.     It's irrelevant.

5
             THE COURT:      What is the relevance?

6
             MR. MCKNETT:      Your Honor, my impression was that

7
     the government would make an argument that this somehow

8
     was connected with the suitcase.           If I'm wrong on that,

9
     then I don't need this document.

10
             MS. JOHNSTON:       I don't know what he's talking

1
     about, Your Honor.

12
             MR. MCKNETT:      Then I'm wrong and --

13
             MS. JOHNSTON:       No.   The court's ruling should

14
     not be based on what the government intends to do in

15
     argument.

16
             THE COURT:      I'm trying to understand its

17
     relevance.     It may be relevant because he's going to

18
     make an argument that this has something to do with the

19
     suitcase.

20
             MR. MCKNETT:      As long as the government is not

21
     going to make that argument --

2
             MS. JOHNSTON:       I don't think the government

23
     should have to disclose what it is going to argue or

24
     not argue.     1.   It violates Rule 16 and 2. He's failed

25
     to establish the relevancy of this document.




                                                                   Page 45
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 46 of 314



                MR. MCKNETT:      Your Honor, if it's not in
1




2
     evidence, then the government can't make any argument

3
     about it so I won't put it in evidence.

4
                THE COURT:      All right.     The objection is

5
     sustained.

6
                MR. MCKNETT:      Your Honor, can I withdraw my

7
     objection after you rule?

8
                THE COURT:      Sure.    That's fine.

9
                        (Back in own open court.)

10
                BY MR. MCKNETT:

1
     Q.         Mr. Ali, based on the discussion we had at the

12
     bench, I will not be using this exhibit, so I'm going

13
     to move on.

14
                Now I want to come down to the circumstances of

15
     your arrest on June 1st of 2004.              I'm sure you remember

16
     that morning.

17
     A.         Yes, I do.

18
     Q.         Where were you that morning?

19
     A.         I was asleep in my bedroom.

20
     Q.         What's the first thing you remember that

21
     morning?

2
     A.         I remember my husband --

23
                MS. JOHNSTON:       Objection.     Relevance.

24
                THE COURT:      Overruled.

25
                THE WITNESS:      I remember my husband coming into




                                                                      Page 46
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 47 of 314



     the bedroom and telling me that the police were at the
1




2
     door.

3
                BY MR. MCKNETT:

4
     Q.         What time was that, if you remember?

5
     A.         It had to be between 6:30 and a quarter to

6
     seven, because my husband was already up.

7
     Q.         Do you remember what day of the week June 1st

8
     was?

9
                MS. JOHNSTON:       Objection, Your Honor.

10
                THE COURT:      Overruled.

1
                THE WITNESS:      A Tuesday.

12
                BY MR. MCKNETT:

13
     Q.         Was that a workday?

14
     A.         No.    The day prior to that was the holiday

15
     weekend, Memorial Day weekend, and that was a workday,

16
     yes.

17
     Q.         June 1st was a workday?

18
     A.         Yes.    I'm sorry.

19
     Q.         So what's the next thing you remember after

20
     being told that the police were at the door?

21
                MS. JOHNSTON:       Objection.     Relevance.

2
                THE COURT:      What's the relevance?

23
                MR. MCKNETT:      Officer Muldoon, Your Honor.

24
                THE COURT:      All right.     Overruled.

25
                THE WITNESS:      I put my robe on and I went to the




                                                                      Page 47
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 48 of 314



     door.      The police officers -- several of them, I
1




2
     couldn't tell you how many were in the foyer, they

3
     asked me was I LaNora Ali, and I told them yes and they

4
     told me I was under arrest.             I asked them for what, and

5
     they told me they couldn't tell me because they didn't

6
     know.      I asked them could I get dressed, and the

7
     officer said that they didn't have to allow me to get

8
     dressed but they would, so she went to the back room

9
     with me and I got dressed, and they brought me here to

10
     the federal courthouse around -- it was after 7

1
     o'clock.

12
     Q.         Did they have you sit on your couch at any time

13
     that day?

14
     A.         No, I did not.       I went directly to the bedroom.

15
     I didn't have any conversations except for the fact

16
     what was I being arrested for and could I get dressed.

17
     Q.         Did you attempt to tidy up your apartment before

18
     you were arrested?

19
     A.         No, I did not.

20
     Q.         Do you remember having any conversations -- any

21
     casual conversations with any of the officers in your

2
     apartment that morning?

23
     A.         No.

24
     Q.         How much time elapsed between the time you came

25
     to the door and the time you were taken out of your




                                                                      Page 48
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 49 of 314



     apartment?
1




2
     A.         Maybe about seven minutes, or ten minutes or

3
     five to seven minutes.           It didn't take me long, because

4
     I just went right to the back and I didn't have

5
     anything to zip up or button up.              I just threw a pair

6
     of pants on and a top and a jacket, and she escorted me

7
     right out of the apartment.             It probably wasn't even

8
     ten minutes.

9
     Q.         And then she brought you to this courthouse?

10
     A.         Yes, sir.

1
                MR. MCKNETT:      I have nothing further, Your

12
     Honor.

13
                THE COURT:      Cross-examination by defense?

14
                MR. MCKNETT:      I think there might be some.

15
                MR. HALL:      I have a few questions, unless Mr.

16
     Montemarano wants to go first.              I'll be brief.

17
                                CROSS-EXAMINATION

18
                MR. HALL:

19
     Q.         Good morning, Ms. Ali.

20
     A.         Good morning.

21
     Q.         Let me ask you a couple of questions.              How long

2
     have you known my client, Reece Whiting?

23
     A.         Since 1999.

24
     Q.         During that time, have you ever known Mr.

25
     Whiting to have his hair, or lack of hair, shall we




                                                                      Page 49
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 50 of 314



     say, any different than it is?
1




2
     A.         He's always had a bald head.

3
     Q.         He's always had a bald or shaved head; is that

4
     correct?

5
     A.         Yes.

6
     Q.         Let me ask you one other thing.            Do I understand

7
     correctly that when you talked about the purchases of

8
     drugs that you made that you always purchased around --

9
     you always purchased by a dollar amount and not by a

10
     quantity, like grams?           You always purchased, like, 125

1
     or some lesser amount; is that right?

12
     A.         Yes.    I always purchased a 50 or 125, yes.

13
     Q.         Okay.    All right.      That's what I -- that's what

14
     I was getting at.          You didn't understand or know what

15
     the quantity was, you just knew the dollar amount that

16
     you got; right?

17
     A.         That's correct.

18
     Q.         And whatever you received for that dollar amount

19
     you assumed was correct; is that right?

20
     A.         That's correct.

21
                MR. HALL:      Thank you.

2
                MR. MONTEMARANO:        Actually, Your Honor, I think

23
     I have a couple of questions.

24
                THE COURT:      All right.

25
                MR. MONTEMARANO:        Thank you.




                                                                      Page 50
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 51 of 314



                                CROSS-EXAMINATION
1




2
                BY MR. MONTEMARANO:

3
     Q.         Good morning, Ms. Ali.         How are you?

4
     A.         Good morning.

5
     Q.         Just a couple of questions.           You had mentioned

6
     purchasing a fur coat from Ms. Martin?

7
     A.         Yes.

8
     Q.         Do you have any knowledge of where that coat

9
     came from?

10
     A.         Yes.    They came from Jonathan's, a fur salon in

1
     New York City.

12
     Q.         Was that the only fur coat which you knew Ms.

13
     Martin to have?

14
     A.         No.    She had several fur coats.

15
     Q.         Did she have others that she sold?

16
     A.         Yes, sir.

17
     Q.         Did she ever have clothing in her dining room at

18
     Bexhill as Mr. Shannon described?

19
     A.         Yes, she did.

20
     Q.         Did you know Mary Payne?

21
     A.         Yes, I did.

2
     Q.         Did she live with Ms. Martin, as Mr. Shannon

23
     described?

24
     A.         Yes, she did.

25
     Q.         Prior to Ms. Martin's purchase of the Mercedes,




                                                                      Page 51
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 52 of 314



     did she drive a Mercury, as Mr. Shannon described?
1




2
     A.         Yes, she did.

3
     Q.         You bought clothes from Ms. Martin that came

4
     from Ms. West?

5
     A.         I bought clothes from Ms. Martin not knowing if

6
     it came from Ms. West, not all of them.                I can't say

7
     that all of the clothing came from Ms. West.

8
                MR. MONTEMARANO:        Thank you.

9
                THE COURT:      Any further cross?

10
                MR. MARTIN:      Briefly, Your Honor.

1
                                     CROSS-EXAMINATION

12
                BY MR. MARTIN:

13
     Q.         You mentioned, Ms. Ali, that you knew Mr.

14
     Goodwin.

15
     A.         Yes.

16
     Q.         Did you ever purchase drugs from Mr. Goodwin?

17
     A.         No, I've never purchased drugs from Mr. Goodwin.

18
     Q.         Did Mr. Goodwin ever advise you how to cook

19
     cocaine?

20
     A.         Mr. Goodwin has never advised me how to cook

21
     cocaine.

2
                MR. MARTIN:      No further questions, Your Honor.

23
                MR. WARD:      A couple of questions, Your Honor.

24
                                CROSS-EXAMINATION

25
                BY MR. WARD:




                                                                      Page 52
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 53 of 314



     Q.         Good morning, Ms. Ali.
1




2
     A.         Good morning.

3
     Q.         When did you first get to know my client, Ms.

4
     Dobie?

5
     A.         I met Ms. Dobie in the year 2003 in Jackie

6
     Terrell's house where Ms. Martin lived with Jackie.

7
     Q.         Did you ever see her, other than in Ms. Martin's

8
     house or Jackie Terrell's place?              My client.

9
     A.         No.

10
     Q.         Did she ever sell drugs to you?

1
     A.         No, she did not.

12
     Q.         Did you ever see her buying drugs from anybody?

13
     A.         No, I did not.       I have never seen her buy drugs

14
     from anyone.

15
     Q.         Were you ever in Ms. Terrell's portion of the

16
     house when my client was there showing some jewelry

17
     that she had for sale?

18
     A.         Yes.

19
     Q.         How many occasions?

20
     A.         Once.

21
     Q.         Can you tell us generally what kind of jewelry

2
     it was?

23
     A.         She had rings, watches, bracelets, different

24
     types of jewelry.          It was in a bag.

25
                MR. WARD:      All right.     Just give me a moment,




                                                                      Page 53
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 54 of 314



     please.
1




2
                I don't have any other questions.             Thank you,

3
     Ms. Ali.

4
                THE COURT:      All right.     Any other defense

5
     counsel?

6
                All right.      Government.

7
                MS. JOHNSTON:       Thank you, Your Honor.

8
                                CROSS-EXAMINATION

9
                BY MS. JOHNSTON:

10
     Q.         Ms. Ali, did Ms. Dobie tell you the jewels were

1
     stolen?

12
     A.         No, she did not.

13
     Q.         She didn't discuss that with you?

14
     A.         No.

15
     Q.         Did you buy some things from her?

16
     A.         I purchased a ring.

17
     Q.         You didn't ask her where she got them?

18
     A.         They showed me a sales receipt with the ring,

19
     when I purchased the ring.

20
     Q.         You didn't have any discussion with her where

21
     she got all these jewels?

2
     A.         No, I did not.

23
     Q.         And she sold it to you at a discounted price; is

24
     that correct?

25
                MR. MCKNETT:      Objection, Your Honor.          Relevance.




                                                                      Page 54
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 55 of 314



                THE COURT:      Overruled.
1




2
                THE WITNESS:      I don't know.       I don't recall.

3
                BY MS. JOHNSTON:

4
     Q.         In terms of Ms. Martin.          Would you describe your

5
     relationship with Ms. Martin as being very close

6
     friends?

7
     A.         Yes.

8
     Q.         And Ms. Martin and you discussed your problems

9
     at school; is that correct?

10
     A.         That's correct.

1
     Q.         And Ms. Martin discussed how she made her living

12
     with you; is that correct?

13
     A.         No.    She didn't sit down and just discuss how

14
     she made a living, but we talked about things like

15
     that, yes.

16
     Q.         You talked about things like that and you talked

17
     about her family and how she didn't get along with

18
     different people in her family; is that correct?

19
     A.         That's correct.

20
     Q.         Through Ms. Martin, you met any number of people

21
     who are on CH-1; isn't that correct?

2
     A.         Excuse me, could you rephrase that?

23
     Q.         You talked with Ms. Martin, and it was through

24
     Ms. Martin that you met any number of the people who

25
     are on CH-1; isn't that correct?




                                                                      Page 55
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 56 of 314



     A.         Yes.    I didn't understand you at first, Ms.
1




2
     Johnston.

3
     Q.         So you didn't -- you met any number of these

4
     people through Ms. Martin; isn't that correct?

5
     A.         Yes, I have.

6
     Q.         Ms. Martin told you about Estelle Brim; isn't

7
     that correct?

8
     A.         I met Estelle Brim through Ms. Martin.

9
     Q.         You met her.      And she told you about Steven

10
     Brim; isn't that correct?

1
     A.         I met Steve Brim briefly, through Ms. Martin.

12
     Q.         Okay.    What year did you meet Ms. Martin?

13
     A.         I told you I didn't recall.           1996-1997?

14
     Q.         And when you met Mr. Brim, Steve Brim, that was

15
     several years before his death; is that correct?

16
     A.         Yes, that's correct.

17
     Q.         Did you meet Estelle Brim around the same time

18
     that you met Steven Brim?

19
     A.         I met Estelle before Steve.

20
     Q.         Okay.    And according -- Ms. Martin advised you

21
     that she had some business dealings with Mr. Brim; is

2
     that correct?

23
     A.         She said she sold clothes to Mr. Brim.

24
     Q.         Indeed, you know Pernell Philpot, as well; isn't

25
     that correct?




                                                                      Page 56
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 57 of 314



     A.         Yes.    I met him at Ms. Martin's house.
1




2
     Q.         And you saw him at Ms. Martin's house.              Did she

3
     discuss with you when Mr. Philpot got arrested in

4
     Wyoming with 5 kilograms of cocaine on him?

5
     A.         She didn't discuss about 5 kilos of cocaine.

6
     No, she did not.

7
     Q.         She discussed with you the arrest of his in

8
     Wyoming.

9
     A.         Yes.

10
     Q.         Did she tell you that arrest was because he had

1
     Aretha Franklin outfits with him?

12
     A.         Not that I recall, no.

13
     Q.         She told you he was arrested for drugs; is that

14
     correct?

15
     A.         No, she did not.

16
     Q.         She just told you he was arrested?

17
     A.         Yes.

18
     Q.         You didn't ask her why he was arrested or what

19
     he was doing in Wyoming; is that correct?

20
     A.         No, I did not have any conversations with her

21
     about that.

2
     Q.         During that time frame, however, you were

23
     getting cocaine from her on a regular basis; isn't that

24
     correct?

25
     A.         I did purchase cocaine from her.




                                                                      Page 57
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 58 of 314



     Q.         On a regular basis; correct?
1




2
     A.         I did purchase cocaine from her.

3
     Q.         On a regular basis, correct, Ms. Ali?

4
     A.         I don't know what you mean by a "regular basis."

5
                MR. MCKNETT:       Objection, Your Honor.

6
     Argumentative.

7
                THE COURT:      Overruled.

8
                BY MS. JOHNSTON:

9
     Q.         Once?     Twice?    Three times a week?

10
     A.         Could have been once, twice or three times.

1
     A.         A week?

12
     A.         Yes, it could.

13
     Q.         That would have occurred during 2003-2004; is

14
     that correct?

15
     A.         This's correct.

16
     Q.         Those transactions would have occurred at Ms.

17
     Martin's house; is that correct?

18
     A.         That's recollect.

19
     Q.         Or at the school; is that correct?

20
     A.         Not at the school.

21
     Q.         She would come to your house and deliver the

2
     drugs to you sometimes; isn't that correct?

23
     A.         Maybe once, yes.

24
     Q.         Just once?

25
     A.         Yes.




                                                                      Page 58
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 59 of 314



     Q.         And when was that one time that she delivered
1




2
     the drugs to you at your apartment?

3
     A.         I don't recall.

4
     Q.         You do recall it was just one time she came to

5
     your apartment?

6
     A.         I said maybe one time, but I don't remember the

7
     exact time or day.

8
     Q.         Luis Mangual, Jr.        You've met him at Ms.

9
     Martin's house or at one of the fashion shows she

10
     sponsored?

1
     A.         I don't remember meeting Luis Mangual, Jr.

12
     Q.         You don't remember seeing him, but you do

13
     remember seeing Juan Encarnacion?              You would have seen

14
     him at her house on Bexhill Court?

15
     A.         Yes, just once.

16
     Q.         Just once that you saw him at the house on

17
     Bexhill Court.         Did Ms. Martin introduce you to Mr.

18
     Encarnacion?

19
     A.         Is that "Juan?"

20
     Q.         Yes.    Juan Encarnacion, did she introduce him to

21
     you?

2
     A.         Yes.

23
     Q.         Did she introduce him to you as a business

24
     associate of hers or as a friend?

25
     A.         We shared holiday treats with him.




                                                                      Page 59
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 60 of 314



     Q.         Okay.    And of course you don't know any of the
1




2
     people over here:          Steven Campbell, Michael Thurman,

3
     Tiffany Vessels.         Do you remember seeing Tiffany at Ms.

4
     Martin's?

5
     A.         I don't know Ms. Vessels.

6
     Q.         John Irby?

7
     A.         I think I saw Mr. Irby at Carter Barron.

8
     Q.         When was that concert at Carter Barron?

9
     A.         Well, we went to several concerts at Carter

10
     Barron since I met Ms. Martin, so I couldn't tell you

1
     which exact one.         From 1998 on we went to concerts.

12
     Q.         When was the last concert you went to with Ms.

13
     Martin at Carter Barron?

14
     A.         In 2003.

15
     Q.         You didn't go to any concerts with her in 2004;

16
     correct?

17
     A.         Not at Carter Barron.

18
     Q.         In 2004, that's when you were getting drugs from

19
     her one, two, three times a week; isn't that correct?

20
     A.         That's correct.

21
     Q.         Were you getting drugs from her one, two, three

2
     times a week during 2003 as well?

23
                MR. MONTEMARANO:        Asked and answered.

24
                THE COURT:      Overruled.

25
                THE WITNESS:      It varied.      Sometimes I would




                                                                      Page 60
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 61 of 314



     stop; sometimes I didn't get drugs one, two or three
1




2
     times a week.

3
                BY MS. JOHNSTON:

4
     Q.         When was the last time that you stopped using

5
     drugs before 2004?

6
     A.         In 2003.     Several times.       I would go different

7
     times without using it.

8
     Q.         And of course Ms. Martin and Mr. Goodwin you

9
     know.

10
     A.         That's correct.

1
     Q.         And you know Mr. Goodwin from being Ms. Martin's

12
     "play brother"; is that correct?

13
     A.         That's correct.

14
     Q.         And being over at her house, her house at

15
     Bexhill, the granny's house on Nicholson Street and

16
     also at the Haywood address; is that correct?

17
     A.         That's correct.

18
     Q.         Did you know Claude Arnold, who is known as

19
     "Skip?"

20
     A.         I know a Skip.       I don't know if that's him from

21
     looking at the picture.

2
     Q.         But was this a Skip that you knew from Ms.

23
     Martin?

24
     A.         A Skip that I met at Granny's.

25
     Q.         At Granny's, as a friend of Ms. Martin; correct?




                                                                      Page 61
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 62 of 314



     A.         As a friend, no, of Granny's.
1




2
     Q.         And Mr. Bynum.       Of course you've seen him at all

3
     of those locations, is that fair to say?

4
     A.         No.    I've only seen Mr. Bynum at Bexhill Court.

5
     I have not seen him at Granny's or Haywood.

6
     Q.         So you haven't seen Mr. Bynum pretty much in

7
     2003 or 2004?

8
     A.         That's correct.

9
     Q.         And Mr. Bird.       You knew him, too?

10
     A.         Yes.

1
     Q.         Did you know Mr. Bird was getting drugs from Ms.

12
     Martin?

13
     A.         No.    I don't know anything about that.

14
     Q.         And Ms. Dobie you met through Ms. Martin; is

15
     that correct?

16
     A.         Yes, that's correct.

17
     Q.         And Ms. Harden you don't know at all?

18
     A.         No, I don't.

19
     Q.         Did you know Ms. Dobie was getting drugs from

20
     Ms. Martin?

21
     A.         No, I did not.

2
     Q.         Did you know Ms. Dobie was trying to arrange to

23
     supply Ms. Martin with drugs --

24
     A.         No, I did not.

25
     Q.         You don't recall that.




                                                                      Page 62
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 63 of 314



                Mr. Harris, do you remember seeing him at Ms.
1




2
     Martin's?

3
     A.         I've seen George Harris before.

4
     Q.         At Ms. Martin's house?

5
     A.         I think I have, yes.

6
     Q.         Well, which house do you think you saw him at?

7
     A.         At Bexhill.

8
     Q.         So, Mr. Harris was at Ms. Martin's house at

9
     Bexhill?

10
     A.         I have no idea how long she's been knowing him.

1
     Q.         You've known Ms. Martin since back at Bexhill.

12
                Do you recall seeing him at Bexhill?

13
     A.         Yes.

14
     Q.         Do you recall seeing him at Haywood?

15
     A.         No.

16
     Q.         How about at Paulette's School of Performing

17
     Arts?

18
     A.         No.    I've never gone to Paula's School of

19
     Performing Art.

20
     Q.         You went there one time.

21
     A.         Yes.

2
     Q.         And that's the only time you were ever there?

23
     A.         Once when we helped to clean it up.             To help

24
     clean it out for her and to try to get new people to

25
     come in to rent it to dance, and we used to go to the




                                                                      Page 63
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 64 of 314



     Dutch Pot next door and eat and bring the food over
1




2
     there.      That's the only time.

3
     Q.         You would go in there and eat food in there?

4
     A.         There was only several of us would be there,

5
     yes.

6
     Q.         Several of you?

7
     A.         My husband.

8
     Q.         Your husband, Ms. Martin, and who else?

9
     A.         Her daughters, her family.

10
     Q.         Well, her daughters -- now, that last call that

1
     you played with Mr. McKnett apparently was Mother's Day

12
     of 2004, and Ms. Martin didn't want to have anything to

13
     do with her two daughters; isn't that correct?

14
     A.         That's correct, but that was prior to that.                Her

15
     and her family would get together often for family

16
     affairs prior to 2003, which was Christmastime, Ms.

17
     Johnston.

18
     Q.         Those would be held sometimes at the school, and

19
     you would take your food back to the school and eat it;

20
     is that correct?

21
     A.         The restaurant was next door to the office.                It

2
     was in the summer, and we would go next door to the

23
     studio, Ms. Johnston, and eat the food.

24
     Q.         Okay.    And you would go into the school, and you

25
     didn't stay just in the reception area?




                                                                      Page 64
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 65 of 314



     A.         We stayed in the reception area because that's
1




2
     where the tables were, and we would eat in the front

3
     office in the reception area.

4
     Q.         There's a little desk area in the reception

5
     area?

6
     A.         That's correct.

7
     Q.         And all, however many of you -- let me see, it

8
     would be her two daughters?

9
     A.         It would be her daughter, granddaughter,

10
     friends.       It could be, like, ten of us.           It was a room

1
     large enough for ten people to sit in.

12
     Q.         Ten of you sitting in that little reception area

13
     out front, as opposed to in the big dance hall; is that

14
     correct?

15
     A.         It was dark in the dance hall.            There were

16
     windows in the front of the studio.

17
     Q.         So there was no electricity working in the

18
     studio during this time period; is that correct?

19
     A.         It was more pleasant to eat in the --

20
     Q.         Ms. Ali, if you would --

21
                MR. MCKNETT:      Your Honor, I object.         I would

2
     ask Ms. Johnston to let Ms. Ali answer the questions.

23
                THE COURT:      If you would both let each other

24
     answer the questions, the court reporter would thank

25
     you too.




                                                                      Page 65
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 66 of 314



                BY MS. JOHNSTON:
1




2
     Q.         I pause sometimes.

3
     A.         We would come in and go out, yes.

4
     Q.         You wouldn't go back in the dance studio part?

5
     You would just sit in the reception area?

6
     A.         Just sit in the front, that's correct.

7
     Q.         Was there electricity or no electricity?

8
     A.         There was electricity.

9
     Q.         And John Martin; you know him as well?

10
     A.         Yes, I do.

1
     Q.         You've known him from Bexhill Court?

12
     A.         Yes.

13
     Q.         You've known him from during the time period

14
     when Ms. Martin was living at Granny's?                Did you see

15
     him around then?

16
     A.         He was not at Granny's, no.

17
     Q.         No, he didn't stay at Granny's?

18
     A.         No, I didn't see him around at Granny's.

19
     Q.         You also saw him at Haywood; is that correct?

20
     A.         That's correct.

21
     Q.         You're aware John Martin used and distributed

2
     cocaine and heroin; is that correct?

23
     A.         Only through court here.

24
     Q.         So you didn't know that back then?

25
     A.         No, I did not.




                                                                      Page 66
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 67 of 314



     Q.         Ms. Martin didn't discuss with you her
1




2
     relationship with Mr. Martin?

3
     A.         John and Ms. Martin was off and on, so...

4
     Q.         Did she discuss it with you?

5
     A.         Unhappiness with John at times.

6
     Q.         And the problem with him in terms of him taking

7
     her red Mercedes and having tickets in the red Mercedes

8
     when he would go down into different neighborhoods, and

9
     she was concerned that he might get arrested while he

10
     was in her car and she might lose her car; is that

1
     correct?

12
     A.         I don't recall about the tickets.             I know she

13
     wanted her car.

14
     Q.         When we mention "tickets", tickets was used

15
     between you and Ms. Martin as term for drugs at time;

16
     isn't that correct?

17
     A.         I never used the word "tickets", Ms. Johnston.

18
     Q.         Well, Ms. Martin used the word "ticket" with

19
     you, and you understood her to be referring to drugs

20
     that you were getting from her on occasion; isn't that

21
     correct?

2
     A.         I never used the word ticket, Ms. Johnston.

23
     Q.         Well, in the call where Ms. Martin used the term

24
     "ticket", you understood her to be referring to drugs.

25
     A.         I never answered her when she said the word




                                                                      Page 67
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 68 of 314



     tickets, Ms. Johnston.
1




2
     Q.         Okay.    We'll get back to that in a minute, Ms.

3
     Ali.

4
                Mr. Walker.      You knew Mr. Walker?

5
     A.         Yes, I do.

6
     Q.         Were you aware he was distributing crack and

7
     cocaine and heroin that he got from Ms. Martin?

8
     A.         I don't know anything about him distributing

9
     drugs.

10
     Q.         He gave you drugs; isn't that right?

1
     A.         Yes, he did.

12
     Q.         And he gave you crack; is that right?

13
     A.         Not correct.

14
     Q.         Just powder cocaine.

15
     A.         That's correct.

16
     Q.         Powder cocaine that you took maybe half a gram

17
     and put into a bowl and somehow cooked it on the stove

18
     and converted it into crack yourself; is that correct?

19
                MR. MCKNETT:      Objection.      Argumentative, Your

20
     Honor.

21
                THE COURT:      Overruled.

2
                THE WITNESS:      No, that is not correct.

23
                BY MS. JOHNSTON:

24
     Q.         That's not correct?

25
     A.         Not from Mr. Walker.




                                                                      Page 68
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 69 of 314



     Q.         When you met Mr. Walker, did you know he knew
1




2
     Ms. Martin?

3
     A.         Yes.    No.    When I first met Mr. Walker?           No.

4
     Q.         After a period of time you found out that he

5
     knew Ms. Martin; isn't that correct?

6
     A.         That's correct.

7
     Q.         In fact, you saw him on occasion at Ms.

8
     Martin's; isn't that correct?

9
     A.         Once.    Twice, twice,

10
     Q.         Two times you saw him there.           When you first

1
     started using cocaine with Mr.- -- strike that.

12
                Was Mr. Walker the first person you started

13
     using cocaine with?

14
     A.         No.

15
     Q.         Okay.    Well, when -- who was the first person

16
     you started using cocaine with?

17
     A.         I used it by myself.

18
     Q.         Where did you get the cocaine that you used by

19
     yourself the first time that you used it?

20
     A.         From a friend.

21
     Q.         Who was that friend?

2
     A.         Mr. Fondell McKeithan.

23
     Q.         Who?

24
     A.         Fondell McKeithan.

25
     Q.         Okay.    Where does Fondell McKeithan live?




                                                                      Page 69
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 70 of 314



     A.         He's deceased.
1




2
     Q.         Where did he live at the time you were getting

3
     drugs from him?

4
     A.         Northeast, off of South Dakota Avenue.

5
     Q.         Off of South Dakota Avenue, in the vicinity of

6
     Paula's School of Performing Arts?

7
     A.         No, further down.

8
     Q.         What hundred block, do you recall?

9
     A.         No, I don't.

10
     Q.         About what year was it that you started getting

1
     cocaine from this gentleman?

12
     A.         I don't recall the year.          It was around my late

13
     30s.      I don't recall the year.

14
     Q.         Late 30s?      And you are?

15
     A.         53 years old.

16
     Q.         You're 53 now.       So, in your late 30s, how is it

17
     that you went to this gentleman and asked him, can you

18
     have some cocaine to get high on?

19
     A.         I didn't ask him.        I didn't purchase anything

20
     from him.

21
     Q.         How was it that you came to get high with him?

2
     A.         We just became friends, and people talk, and

23
     that's what happened, Ms. Johnston.

24
     Q.         So, you talked with him about drugs, about

25
     cocaine; is that correct?




                                                                      Page 70
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 71 of 314



     A.         No.     He also sold clothing.
1




2
     Q.         Okay.     He sold clothing and cocaine?

3
     A.         That's correct.       He didn't sell cocaine, though.

4
     You're putting words in my mouth.              I did not say he

5
     sold cocaine.

6
     Q.         He distributed cocaine.

7
     A.         He gave me cocaine.

8
     Q.         And so -- were you involved in a romantic

9
     relationship with him?

10
     A.         No, I wasn't.

1
     Q.         Just a social relationship?

12
     A.         Yes.

13
     Q.         Out of the blue, this gentleman says to you, do

14
     you want to get high?

15
     A.         I don't recall, Ms. Johnston.

16
     Q.         But you continued your friendship with him; is

17
     that fair to say?

18
     A.         Yes.

19
     Q.         And then you started getting cocaine from him to

20
     use; is that correct?

21
     A.         When I used it.       I didn't use it that often.

2
     Q.         But back then you didn't say, I'm a

23
     schoolteacher and I shouldn't use cocaine; is that

24
     correct?

25
     A.         To myself, yes, I did.




                                                                      Page 71
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 72 of 314



     Q.         But you didn't --
1




2
     A.         Until this day, I said, yes, I'm a schoolteacher

3
     and I should not use cocaine.

4
     Q.         When he offered cocaine to you, you didn't say

5
     no you didn't want it.

6
     A.         Sometimes I did.

7
     Q.         But sometimes you didn't.

8
     A.         And sometimes I didn't.

9
     Q.         Now, after you got the drugs from him, who was

10
     the next person you got cocaine from?

1
     A.         Mr. Walker.

12
     Q.         Okay.     And when -- what year or how old were you

13
     when you started getting cocaine from Mr. Walker?

14
     A.         In my 40s, late 40s.

15
     Q.         Late 40s?      So in between your late 30s and your

16
     late 40s, the only person you got cocaine from was this

17
     gentleman?

18
     A.         That's the truth, yes.         I was not a street

19
     person.       I did not purchase drugs off the street.              Back

20
     then I didn't purchase drugs.             Yes, that's the only

21
     person I got my drugs from.

2
     Q.         So you received them from -- who else did you

23
     get high with, in addition to --

24
     A.         No one.     I was a closet.       Like you have closet

25
     queens, I got high by myself.             That was my private




                                                                      Page 72
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 73 of 314



     thing.      It was my company.        Just like you said, I was a
1




2
     schoolteacher and it was very embarrassing to me, and I

3
     did it alone.

4
     Q.         Well, you had to get the drugs somewhere to do

5
     it alone; isn't that correct?

6
     A.         I told you where I received the drugs from.

7
     Q.         So, this gentleman before you met Mr. Walker

8
     would give them to you but you wouldn't get high with

9
     him?

10
     A.         He did not get high.

1
     Q.         So, he gave you the drugs --

12
     A.         Yes.

13
     Q.         -- for free?

14
     A.         Yes.

15
     Q.         And then you came upon Mr. Walker in the late --

16
     in your late 40s; is that correct?

17
     A.         That's correct.

18
     Q.         Was that after you knew Ms. Martin?

19
     A.         It was before I knew Ms. Martin.

20
     Q.         How often did you get drugs from Mr. Walker?

21
     A.         I can't say how often it was.

2
     Q.         Was it just --

23
     A.         More than once.

24
     Q.         Okay.    Was it powder cocaine?

25
     A.         It was always powder cocaine.




                                                                      Page 73
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 74 of 314



     Q.         When was it that you decided that you would
1




2
     start converting your powder to crack cocaine?

3
     A.         Maybe around 50.

4
     Q.         After you knew Ms. Martin?

5
     A.         Yes.

6
     Q.         After you started buying cocaine from Ms.

7
     Martin; is that correct?

8
     A.         Yes.

9
     Q.         Now, when you were going with Mr. Walker, I

10
     believe I understood you to say that you had some sort

1
     of relationship with him; is that fair?

12
     A.         That's correct.

13
     Q.         Not necessarily romantic, but some kind of --

14
     A.         That's correct.

15
     Q.         More than just a friends relationship.

16
     A.         That's correct.

17
     Q.         During that time period, did you buy drugs from

18
     Mr. Walker?

19
     A.         No, I did not.

20
     Q.         He just gave it to you?

21
     A.         That's correct.

2
     Q.         And the only person, then, you ever bought drugs

23
     from is Ms. Martin; is that correct?

24
     A.         That's correct.

25
     Q.         And you've never bought drugs from anyone else




                                                                      Page 74
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 75 of 314



     but Ms. Martin?
1




2
     A.         That's correct.

3
     Q.         When you started to deal with Ms. Martin, that

4
     was how many years ago?

5
     A.         Around 1996-97.

6
     Q.         Okay.    So, shortly after --

7
     A.         You mean dealing with as far as buying drugs?

8
     Q.           Buying drugs, ma'am.

9
     A.         1998.

10
     Q.         I apologize.      I wasn't clear.

1
                So, since 1998, continuing until your arrest on

12
     June 1st 2004, you were engaged purchasing drugs from

13
     Ms. Martin; is that correct?

14
     A.         That's correct.

15
     Q.         And sometimes as frequently as one to three

16
     times a week; is that correct?

17
     A.         Sometimes, yes.

18
                THE COURT:      Ms. Johnston, could I interrupt for

19
     just one second?         I wanted to let you and the attorneys

20
     and the jurors know that we are -- we have a delegation

21
     of visitors in our courtroom today who are being

2
     escorted by my colleagues, Judge Connelly and Judge

23
     Chasanow.       We have ten law students from Japan who are

24
     watching us, so we've got to be on our good behavior.

25
                You may continue.




                                                                      Page 75
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 76 of 314



                MS. JOHNSTON:       I apologize, Your Honor, if I
1




2
     wasn't on good behavior before.

3
                BY MS. JOHNSTON:

4
     Q.         so you were getting cocaine from Ms. Martin

5
     starting in about 1999 and continuing until the time of

6
     your arrest on June 1st of 2004; is that correct?

7
     A.         1998.

8
     Q.         I apologize, 1998.        And she was the only person

9
     you were dealing with; is that correct?

10
     A.         That's correct.

1
     Q.         During this time period, you learned how to cook

12
     crack -- cook cocaine into crack cocaine; is that

13
     correct?

14
     A.         I had heard about how to cook it prior to that,

15
     yes.

16
     Q.         Who told you how to cook cocaine into crack, Ms.

17
     Ali?

18
     A.         I asked questions.        I asked lot of questions

19
     about it.

20
     Q.         Who did you ask questions about how to convert

21
     cocaine into crack?

2
     A.         A friend.

23
     Q.         Who was the friend that you asked the questions

24
     of?

25
     A.         Deborah.




                                                                      Page 76
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 77 of 314



     Q.         Deborah who?
1




2
     A.         Terry.

3
     Q.         Where does Ms. Terry live?

4
     A.         She's deceased.

5
     Q.         Okay.     What does she do -- what did she do for a

6
     living when she was alive?

7
     A.         She was a homemaker.

8
     Q.         Where did she live when she was alive?

9
     A.         In Takoma Park, Maryland.

10
     Q.         And she was a cocaine or crack user; is that

1
     correct?

12
     A.         Yes.     She smoked.

13
     Q.         She smoked crack?

14
                And who else did you discuss it with?

15
     A.         That's it.

16
     Q.         Tell us exactly what it is -- strike that.

17
                How did you meet Ms. Terry, who was using crack?

18
     A.         She was a long-time friend.           At an apartment

19
     building I lived in.

20
     Q.         She was in the apartment building you lived in?

21
     A.         No, another apartment building.

2
     Q.         Did you know her for years?

23
     A.         Yes.

24
     Q.         Did you and Ms. Terry ever share crack cocaine

25
     together?




                                                                      Page 77
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 78 of 314



     A.         No.
1




2
     Q.         How was it you came to discuss this with her?

3
     A.         Because I allowed her to smoke it in my

4
     apartment.

5
     Q.         You allowed her to smoke crack in your

6
     apartment?

7
     A.         Yes.

8
     Q.         You didn't smoke crack with her?

9
     A.         No, I did not.

10
     Q.         And you didn't smoke cocaine with her?

1
     A.         No, I did not.

12
     Q.         You had to, at some point, tell her that you

13
     were also a cocaine and crack user; is that correct?

14
     A.         No.    I didn't tell anybody I was a crack user.

15
     Q.         Well, you were a crack user; isn't that correct?

16
     A.         I freebased.      You prefer the term "crack."           I

17
     never used crack.

18
     Q.         What we've seen here in court that the chemist

19
     has discussed as crack is something that you used.

20
     A.         Ms. Johnston, I never used the word "crack."

21
     Q.         I appreciate you don't use the word "crack."

2
                You recall hearing the -- not the testimony, but

23
     you do recall stipulating that in Government's Exhibit

24
     Drugs 33, these two little rocks were cocaine base,

25
     commonly known as crack.




                                                                      Page 78
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 79 of 314



     A.         I called it "cocaine base."           I never called it
1




2
     "crack."

3
     Q.         Do you understand that you and your attorney

4
     stipulated that this was cocaine base, commonly

5
     referred to as crack?           Do you understand that?

6
     A.         Yes.

7
     Q.         And this was something that you prepared and you

8
     smoked; is that correct?

9
     A.         That's correct.

10
     Q.         Although this little bit here you hadn't smoked

1
     yet; is that correct?

12
     A.         That's correct.

13
     Q.         You do admit you were a user of cocaine base,

14
     then I'll use your term instead of crack.

15
     A.         Thank you.      Yes, that's correct.

16
     Q.         In addition to the people on this chart here,

17
     you also met Julio, or Mr. Echarte; isn't that correct?

18
     A.         Yes.

19
     Q.         You met him at Bexhill Court; isn't that

20
     correct?

21
     A.         That's correct.

2
     Q.         And Ms. Martin, at some point in time, advised

23
     you that he was in jail for drug offenses; isn't that

24
     correct?

25
     A.         No.    She never told me what he was in jail for.




                                                                      Page 79
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 80 of 314



     Q.         And you never asked?
1




2
     A.         I never asked.

3
     Q.         There wasn't a concern of yours why he was in

4
     jail?

5
     A.         No.

6
     Q.         We'll get back to that when we go through some

7
     of the calls.

8
                You also met Beverly White at her house; isn't

9
     that correct?

10
     A.         I don't know a Beverly white.

1
     Q.         You didn't meet Beverly White at her house on

12
     Bexhill Court?

13
     A.         I don't know.

14
     Q.         Her neighbor who lived down at Royal Crest?

15
     A.         No.    I don't recall a Beverly White.

16
     Q.         How about an individual who went by the name of

17
     Dobie?      Other than LaVon Dobie, did you meet a

18
     gentleman who went by the nickname "Dobie?"

19
     A.         No.

20
     Q.         You don't recall meeting him?

21
     A.         No.

2
     Q.         Let's get back to the crack cocaine.              Describe

23
     for us how it is that you took powder cocaine, such as

24
     that shown in Drugs Exhibit 32, and converted it into

25
     crack or, strike that, cocaine base?               I'll stick with




                                                                      Page 80
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 81 of 314



     your term, I'm sorry.           How did you convert it into --
1




2
     from powder into cocaine base?

3
     A.         I put it in a piece of paper, the cocaine

4
     powder, and I put baking soda in it, put a little water

5
     in a spice jar -- empty spice jar, put it in some

6
     boiling water in a pan, and I cooked it.

7
     Q.         And then what did you do with it?

8
     A.         I smoked it.

9
     Q.         Were there processes that you had to go through

10
     before you could smoke what you put in the pan?

1
     A.         Yeah.    You take it out the bottle and it dries,

12
     it's hard, and then you smoke it.

13
     Q.         During this time, you never had it -- while you

14
     were converting tiny portions of cocaine powder to

15
     base, you never had a discussion with Ms. Martin

16
     concerning whether or not you could just buy it as

17
     crack at the same price?

18
     A.         Ms. Martin did not even know until I was in this

19
     courtroom that I smoked cocaine base.

20
     Q.         Now, in terms of the converting of the powder

21
     into cocaine base, what kind of paper did you use?

2
     A.         What do you mean what kind of paper did I use?

23
     In reference to what?

24
     Q.         In reference to converting the powder cocaine to

25
     crack.      You are aware of the fact that powder cocaine




                                                                      Page 81
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 82 of 314



     will stick to paper?
1




2
     A.         You just used a normal piece of paper.              It could

3
     be whatever piece of paper was available in the area of

4
     the kitchen.        It could be a piece of notebook paper or

5
     a sticky pad.

6
     Q.         Even though cocaine powder will stick to that

7
     kind of stuff?

8
     A.         It doesn't stick.        You poor the baking soda and

9
     cocaine in the paper, and you pour that into the water.

10
     Why would it stick?

1
     Q.         You cooked this in your kitchen?

12
     A.         Yes, I did.

13
     Q.         Your husband never knew anything about it; is

14
     that correct?

15
     A.         That's correct.

16
     Q.         You never used a microwave to do it; is that

17
     correct?

18
     A.         No.    I did use the microwave, but my way was

19
     cooking it on top of the stove.

20
     Q.         Well, describe for us how you did it in a

21
     microwave then, Ms. Ali.

2
     A.         The same exact way, except no boiling water, and

23
     the same type of jar in the microwave.

24
     Q.         And who is it -- again, who described this for

25
     you?




                                                                      Page 82
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 83 of 314



     A.         I learned that process myself.
1




2
     Q.         No.    You never discussed it with anyone?

3
     A.         No.

4
     Q.         You just figured out how to do that on your own?

5
     A.         Correct.     If you can boil something in water,

6
     you do something in the microwave, and I wasn't good at

7
     that because it used to pop all over the place.

8
     Q.         It would pop all over the place?

9
     A.         In the microwave, yes.

10
     Q.         And we're talking about half a gram at a time;

1
     is that correct?

12
     A.         That's correct.

13
     Q.         So you would waste it, then; is that correct?

14
     A.         You're exactly right.         I would waste a lot of

15
     it.

16
     Q.         You never thought to ask Ms. Martin to get it as

17
     cocaine base, rather than powder; is that correct?

18
     A.         No, I never asked Ms. Martin to get it as crack.

19
     Q.         Let's talk about Ms. Martin a little bit.               You

20
     testified in direct examination that Ms. Martin made

21
     money selling clothes; is that correct?

2
     A.         That's correct.

23
     Q.         And that she made money from her inheritances.

24
     A.         That's correct.

25
     Q.         And that she made money by gift wrapping




                                                                      Page 83
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 84 of 314



     packages; is that correct?
1




2
     A.         That's correct.

3
     Q.         At Christmastime and also for other special

4
     occasions; is that correct?

5
     A.         That's correct.

6
     Q.         And if I understood your testimony, as well as

7
     your husband's testimony, Ms. Martin sought to become a

8
     concert promoter; is that correct?

9
     A.         That's correct.

10
     Q.         But she never actually promoted any concerts or

1
     made any income from them; isn't that correct?

12
     A.         Do you mean the concerts with Aretha Franklin in

13
     them?      No, she did not.

14
     Q.         Yeah, the concerts she tried to invest in as the

15
     promoter.        Is that correct?

16
     A.         She never made any money, no, she did not.

17
     Q.         So she never made any money from the concerts?

18
     A.         No.

19
     Q.         That was something she was trying to do at the

20
     time of her arrest in 2004; is that correct?

21
     A.         She was into it.        It just didn't happen because

2
     of the arrest.

23
     Q.         She had invested money is what you're saying?

24
     A.         Yes, and she had gotten dates.

25
     Q.         But none of the concerts happened before she




                                                                      Page 84
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 85 of 314



     went to jail; isn't that correct?
1




2
     A.         Yes, that's correct.

3
     Q.         So you did omit one way that Ms. Martin made

4
     money, in telling this jury how she made money; isn't

5
     that correct?

6
     A.         Excuse me?

7
     Q.         You forgot to tell the jury about one of the

8
     other ways Ms. Martin --

9
                MR. MCKNETT:      Objection.

10
                MS. JOHNSTON:       -- Ms. Martin made money in the

1
     spring of 2004, haven't you?

12
                MR. MCKNETT:      Objection.      Argument.

13
                THE WITNESS:      No.

14
                THE COURT:      Overruled.

15
                BY MS. JOHNSTON:

16
     Q.         Indeed, you assisted Ms. Martin in that other

17
     way of making money; isn't that correct?

18
     A.         I don't know what you're referring to, Ms.

19
     Johnston.

20
     Q.         Perhaps I could play some calls for you.               You're

21
     familiar with a life insurance policy with Canseco

2
     Insurance Company, are you not?

23
                MR. MCKNETT:      Objection, Your Honor.

24
                MR. WARD:      Objection, Your Honor.

25
                MR. MONTEMARANO:        Objection, Your Honor.         Could




                                                                      Page 85
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 86 of 314



     we be heard at the bench, please?
1




2
             THE COURT:      Come to the bench.

3
                       (At the bar of the Court.)

4
             THE COURT:      Who is going to make the objection?

5
             MR. MONTEMARANO:        Allow me to start.        Far beyond

6
     the scope of direct.        There was no discussion of making

7
     money with Ms. Martin or anything like that that I

8
     recall from this week or last, A.           B, the court has

9
     already ruled as to the bifurcation of any questions of

10
     insurance fraud which we then went through again at the

1
     bench last week and Ms. Johnston averred she wouldn't

12
     be going there.      So, of course 17, 18 minutes into her

13
     cross, here we are.

14
             THE COURT:      Let me ask you this, Mr.

15
     Montemarano.     The testimony of this witness is to the

16
     effect that she was unaware of anything illegal going

17
     on whatsoever at Ms. Martin's household; she wasn't

18
     aware of any drug sales, she wasn't aware of -- on and

19
     on and on.     Why is this not fair game, if she is aware

20
     of some of the illegal activities?

21
             MR. MONTEMARANO:        Because there are six other

2
     defendants sitting down there, and if the government

23
     wanted to go that way, they should have severed her and

24
     tried her separately or severed Ms. Martin and tried

25
     her separately.      The spillover effect of these




                                                                   Page 86
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 87 of 314



     defendants when this hasn't been alluded to in any way,
1




2
     shape or form by any client's witnesses, by my client

3
     -- by my client's attorney on cross, I submit, creates

4
     a huge problem.

5
             Ms. Ali, I submit, has been on the stand for

6
     approximately three hours and has provided more than

7
     enough fertile ground for Ms. Johnston to cross-

8
     examine to her heart's content without going anywhere

9
     near this.

10
             THE COURT:      Let me hear from Mr. McKnett.

1
             MR. MCKNETT:      Your Honor, if Ms. Johnston is

12
     allowed to pursue this line of questioning, we will

13
     have a trial on the insurance fraud case, because on

14
     redirect I will be required to go through, chapter and

15
     verse, all the evidence.         My client has pled not guilty

16
     to that.     There is going to be a separate trial, and we

17
     don't want to have one here and now as part of this

18
     drug case.

19
             I think the purpose of the court's separating

20
     out the trials -- and my client did not -- I don't

21
     recall the exact words, but I don't think my client

2
     ever said that she obviously -- she obviously knew

23
     there was something going on because she was buying

24
     drugs from Ms. Martin at Ms. Martin's house.               She has

25
     never claimed that Ms. Martin was an angel.              She's




                                                                   Page 87
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 88 of 314



     buying drugs from her.        And to open up the insurance
1




2
     fraud case opens up, as I said, a whole new trial.

3
              MR. MONTEMARANO:       Not only that, Your Honor, but

4
     if this were a question of Ms. Martin having been

5
     convicted of insurance fraud or something, perhaps Ms.

6
     Johnston should go this way.          It might make some sense.

7
     This is, at best, a theory of the defense.              Unless I'm

8
     very wrong, my client remains not guilty until such

9
     time as the government chooses to take her to trial or

10
     dismisses the charges.        The government cannot have its

1
     cake and eat it too.

12
              THE COURT:     Let me hear --

13
              MR. WARD:     Your Honor, if I may just say --

14
              MR. MCKNETT:     May I follow up?

15
              MR. WARD:     If I may just say, in light of prior

16
     rulings of this court and in light of prior

17
     representations made by the government, I suggest that

18
     if the government wanted to go into this area, it would

19
     have been appropriate to raise that with the court

20
     first, out of the jury's presence.            What the government

21
     has done, I suggest, is slick at best and slimy at

2
     worst.

23
              THE COURT:     Now let me hear from Ms. Johnston.

24
              MR. MCKNETT:     Your Honor, if I may just finish

25
     that.    I want to echo Mr. Montemarano's argument.




                                                                   Page 88
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 89 of 314



     There has been no conviction of anybody on the
1




2
     insurance fraud.      The evidence regarding my client's

3
     alleged involvement in that is --

4
             THE COURT:      There has been no convictions of

5
     anybody on trial.

6
             MR. MCKNETT:      It is also, again, circumstantial.

7
     There is no direct evidence that my client participated

8
     in any insurance fraud.        There is circumstantial

9
     evidence that she made a trip to a bank to help Ms.

10
     Martin -- not to help her but to take Ms. Martin to the

1
     bank where Ms. Martin cashed a check, and there was

12
     some documents with my client's name on it.              There has

13
     been handwriting exemplars taken.           I have not gotten

14
     any results back that show that my client put her own

15
     name on those forms.        It's purely circumstantial case.

16
             THE COURT:      Let me hear from the government.

17
     I've heard from you over and over again, and now I'll

18
     hear from Ms. Johnston.

19
             MS. JOHNSTON:       Your Honor, the government did

20
     not intend to raise any issue about life insurance --

21
     the life insurance fraud until first we have Mr.

2
     Montemarano putting one evidence about how she's

23
     getting her money from this estate, leaving the

24
     impression with this jury that she had a legitimate

25
     source of income.       We have taken care of the concert




                                                                   Page 89
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 90 of 314



     business by showing that she never made any money from
1




2
     doing that, and we will take care of the fashion show

3
     evidence in our rebuttal case.

4
             Then Ms. Ali gets on the stand and Ms. Ali says,

5
     well, I knew her, and this is how she got her money.

6
     She got her money from selling clothes, and some she

7
     got from Kevin Scott, and some I guess she got from

8
     Martha Jean West, although Ms. Ali's backed off from

9
     that a little bit, and she got her money from

10
     inheritances from these two little old ladies' estates,

1
     and she also got her money from gift wrapping packages

12
     for Christmas and other special occasions.

13
             I didn't go there.        Mr. McKnett went there with

14
     her.   All she reiterates is this image that "all I got

15
     was small quantities of cocaine from this woman who

16
     wasn't involved in the drug business and she was just

17
     making money doing these things."           I am allowed to

18
     bring out the fact that Ms. Ali assisted Ms. Martin in

19
     obtaining money from fraudulent insurance claims and I

20
     intend to do that.

21
             There are three or four calls that I am --

2
     there's probably 40 or 50 calls, but there is probably

23
     half a dozen calls that I intend to play that will show

24
     that Ms. Ali assisted her with cashing in on one

25
     insurance policy, and also that she allowed Ms. Martin




                                                                   Page 90
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 91 of 314



     to use her name on another insurance policy.               That is
1




2
     highly relevant in this case where Mr. McKnett has gone

3
     on about trying to show that their only relationship

4
     was buying small quantities of cocaine and that Ms.

5
     Martin only had legitimate business that she was

6
     engaged in and that's all Ms. Ali knew about was her

7
     legitimate business.

8
             I think it's perfectly admissible for those

9
     reasons.    I'm not getting into the impeachment

10
     arguments that we could have made, because it's highly

1
     relevant, given what his testimony was on direct, and I

12
     intend to be very circumspect in how I'm going to

13
     present that by limiting it to two occasions.

14
             THE COURT:      Is there an allegation that Ms. Ali

15
     financially benefited from the insurance fraud?

16
             MR. MCKNETT:      No.

17
             MS. JOHNSTON:       I don't know that she did, which

18
     is not relevant here.        What is relevant here is Ms.

19
     Martin had this source of income and Ms. Ali was aware

20
     of it and assisted her in getting money through these

21
     illegal means, and that is very clear from the calls,

2
     as well as both on the policy that was cashed, as well

23
     as her name was being used on another insurance policy.

24
     I think it's relevant for that reason.

25
             MR. MARTIN:      Even if it's relevant, Your Honor




                                                                   Page 91
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 92 of 314



     --
1




2
                MS. JOHNSTON:       I didn't go there.

3
                MR. MARTIN:      Even if it's relevant, it's

4
     cumulative, and the spillover effect is such that I

5
     don't think the court should allow the government to go

6
     into it.       We're spending too much time up here and

7
     we're spending too          much time going over stuff that the

8
     government really doesn't need to prove in this case.

9
                MR. MONTEMARANO:        Your Honor, here again it is a

10
     trial within a trial.           Ms. Johnston has just proffered

1
     that my client used Ms. Ali's name.               Of course Ms.

12
     Martin's point of view would be, I didn't use it; Ms.

13
     Ali did it.

14
                MS. JOHNSTON:       The calls show their relationship

15
     and their knowledge, and Your Honor can give a limiting

16
     instruction as to the other defendants that it is not

17
     relevant as to them and they should not -- Your Honor,

18
     it is fair for this jury to think that she only made

19
     her money these ways and that's all Ms. Ali knew about

20
     it.     It certainly is highly relevant.             They opened this

21
     door.      We didn't open it.

2
                MR. MONTEMARANO:        To the extent that Ms.

23
     Johnston's arguments about my client's sources of funds

24
     would be "well taken", they had the opportunity to

25
     subpoena Ms. West.          She sat in the courtroom during the




                                                                      Page 92
       Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 93 of 314



     testimony of Mr. Shannon.         She sat in the courtroom
1




2
     during some of the testimony, I believe, of one of the

3
     other government witnesses.          They did not place her

4
     under subpoena and they've never even talked to her.                   I

5
     know that because I've talked to her lawyer.               With all

6
     due respect, they don't have the guts to call the

7
     witness, and they're trying to -- no, and they're

8
     trying to backdoor it.

9
             If they had the faith in their theory, they'd

10
     have put Ms. West on.        Let her take the Fifth, or maybe

1
     she wouldn't have, and maybe she would have deflated

12
     their theory.     I decided not to put the woman through

13
     it.   I got what I needed out of the government's own

14
     witnesses, but the government had a way of doing this:

15
     Put up or shut up.       They could have put the witness on.

16
     We've had ten weeks, and they spent three hours with

17
     "Mr. Southwest Airlines" explaining to us what these

18
     forms mean which, I think, average chimpanzee could

19
     have figured out in about 35 seconds.

20
             THE COURT:      Mr. Montemarano, that doesn't help

21
     me.

2
             MR. MONTEMARANO:        Your Honor, I submit.

23
             THE COURT:      It's been a long tile trial, but

24
     let's lighten up on those comments.            They don't help me

25
     and they don't help you, and the same goes for Ms.




                                                                   Page 93
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 94 of 314



     Johnston.
1




2
                MR. MONTEMARANO:        Yes, sir.

3
                THE COURT:      Let's keep the personal comments

4
     down.

5
                I'm going to sustain the objection.             I think

6
     that this is relevant, and I think the danger of unfair

7
     prejudice is too much.

8
                MR. MCKNETT:      Thank you, Your Honor.

9
                THE COURT:      We're not going to a trial on --

10
                MS. JOHNSTON:       Your Honor, how is the government

1
     supposed to refute that she just had a legitimate

12
     income?       How do I cross-examine on that when I'm not

13
     allowed to establish that she had sources --

14
                THE COURT:      I think you can ask in the abstract,

15
     aren't there other means by which she was supporting

16
     herself.       If she says no, I think you're going to have

17
     to take it at face value.

18
                MS. JOHNSTON:       I'm not introducing it to impeach

19
     --

20
                THE COURT:      I understand.

21
                MS. JOHNSTON:       I'm introducing it to --

2
                MR. MONTEMARANO:        Your Honor, we would ask for a

23
     limiting instruction.

24
                THE COURT:      There was just -- the question was

25
     so vague, if I give them a cautionary instruction I




                                                                      Page 94
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 95 of 314



     think it would make it worse.
1




2
                MR. MONTEMARANO:         At least to strike the

3
     question and disregard it.

4
                THE COURT:      The question is not evidence.           I'm

5
     not going -- I don't want to unduly emphasize the

6
     question.

7
                MR. MONTEMARANO:         I would point out to the court

8
     that this is a request that was whispered in my ear by

9
     several of the other attorneys, so it's not just me.

10
     I'm not saying that Your Honor wouldn't consider it,

1
     but --

12
                THE COURT:      Sustained.

13
                MS. JOHNSTON:         Your Honor, I would ask the court

14
     then to allow me to question her about being under

15
     indictment and that she's been charged with insurance

16
     fraud, as impeachment.

17
                THE COURT:      No.     You're not going to impeach her

18
     with an accusation, no.

19
                Objection sustained.

20
                              (Back in open court.)

21
                BY MS. JOHNSTON:

2
     Q.         Ms. Martin had other sources of income other

23
     than what you've discussed here in court, isn't that

24
     correct, that you were aware of?

25
     A.         If you have something to give me, some reference




                                                                      Page 95
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 96 of 314



     to --
1




2
     Q.         She had business dealing with her daughter

3
     Kimberly; is that correct?

4
     A.         In reference to what, Ms. Johnston?

5
     Q.         In reference to going to the bank and cashing

6
     checks.       You're familiar with that, aren't you?

7
     A.         Yes.

8
     Q.         And those checks were not checks that she should

9
     have had properly, isn't that correct?

10
                MR. MONTEMARANO:        Objection.

1
                MR. MCKNETT:      Objection, Your Honor.

12
                MR. MONTEMARANO:        Basis for knowledge.

13
                THE COURT:      Overruled.

14
                BY MS. JOHNSTON:

15
     Q.         Isn't that correct?

16
     A.         I can't say that.        That Kimberly shouldn't have

17
     the checks?

18
     Q.         That Ms. Martin should not have gotten the money

19
     from those checks; isn't that correct?

20
     A.         I don't know.

21
     Q.         Well you do know that the check came to your

2
     house; isn't that correct?

23
     A.         Yes, it did.

24
     Q.         And you went with them to the bank to cash it;

25
     isn't that correct?




                                                                      Page 96
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 97 of 314



     A.         I went to the bank as a witness, not to cash the
1




2
     check.

3
     Q.         Well, the check was cashed while you were at the

4
     bank; isn't that correct?

5
     A.         That's correct.

6
     Q.         And the money didn't go to Ms. Kimberly Rice, it

7
     went to her mother; isn't that correct?

8
                MR. MCKNETT:      Objection, Your Honor.

9
                THE WITNESS:      I didn't see any money being

10
     transferred.

1
                BY MS. JOHNSTON:

12
     Q.         So you closed your eyes to that; is that

13
     correct?

14
                MR. MCKNETT:      Objection, Your Honor.

15
                MR. MONTEMARANO:        Objection.

16
                THE COURT:      Overruled.

17
                THE WITNESS:      I was sitting in the back, at the

18
     office wall, and they were sitting at the desk with

19
     the person behind the desk, and I was sitting away from

20
     both of them.

21
                BY MS. JOHNSTON:

2
     Q.         You saw the check because it came to your house;

23
     isn't that correct?

24
     A.         Yes, it did.

25
     Q.         You called Ms. Martin when it came to your




                                                                      Page 97
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 98 of 314



     house?
1




2
     A.         Yes, I did.

3
     Q.         You didn't call Ms. Martin to tell her a check

4
     came in her daughter's name.

5
     A.         I was dealing with Ms. Martin.            Yes, I called

6
     Ms. Martin.

7
     Q.         You were anxiously awaiting the arrival of that

8
     check; isn't that correct?

9
     A.         No.

10
     Q.         Ms. Martin was anxiously awaiting the arrival of

1
     that check to get to the house; isn't that correct?

12
     A.         No.    We were waiting for the check, not that we

13
     were anxiously awaiting for the check.

14
     Q.         You were concerned that Ms. Rice had had the

15
     check diverted to her address; isn't that correct?

16
                MR. MCKNETT:      Objection, Your Honor.

17
                THE COURT:      Overruled.

18
                BY MS. JOHNSTON:

19
     Q.         Isn't that correct?

20
     A.         It was a concern as to where the check was, yes.

21
     Q.         That maybe Ms. Rice had called and gotten the

2
     check sent to her address, not your address.

23
                MR. MONTEMARANO:        Objection, basis of knowledge.

24
                THE WITNESS:      No, that is not correct.

25
                BY MS. JOHNSTON:




                                                                      Page 98
          Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 99 of 314



     Q.         And you and Ms. Martin didn't discuss that on
1




2
     the telephone?

3
     A.         We discussed what had happened to the check and

4
     whether it was sent out or not, whether Kim had picked

5
     the check up.

6
     Q.         Or whether Ms. Rice had called the company and

7
     had it sent to her.

8
     A.         I don't remember that part of the conversation.

9
     Q.         If I play a call for you, perhaps it would

10
     refresh your recollection.

1
     A.         It probably would.

12
                MR. MCKNETT:      Objection, Your Honor.

13
                THE COURT:      Overruled.

14
                BY MS. JOHNSTON:

15
     Q.         If we could play Call B-428, which occurred on

16
     March 12.       We have copies of the transcript for

17
     everyone.

18
                MR. MARTIN:      What page, ma'am?

19
                MS. JOHNSTON:       Your Honor, we will need a few

20
     moments here to pull out just the one call.

21
                THE COURT:      Why don't we do this?         We have to be

2
     in recess at 11:30 in any event, so let's take a recess

23
     until 20 minutes of 12.

24
                Counsel, please return at 11:30 so we can

25
     discuss other matters before the jury is brought in.




                                                                      Page 99
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 100 of 314



                     (Jury excused at 11:18 a.m.)
1




2
                       (At the bar of the Court.)

3
               THE COURT:   How is your ankle doing?

4
               MR. MONTEMARANO:     I think better than your

5
     shoulder.    I may be out of my boot by Thursday.

6
               I wanted to apologize to the court and Ms.

7
     Johnston for my ill-considered choice of imagery.                I

8
     wasn't calling anybody a chimpanzee.            I was simply

9
     suggesting it was easily understood.

10
               THE COURT:   It's been a long trial.

1
               MS. JOHNSTON:    I didn't take anything personal.

12
               MR. MONTEMARANO:     Well, I hope Ms. Johnston --

13
               THE COURT:   It just rolled right off her back.

14
     She's a professional and you are, too.

15
               MS. JOHNSTON:    I'm used to being called lots of

16
     things.

17
               MR. MONTEMARANO:     I didn't call you that, and

18
     that's the point.      Whether or not I was calling her

19
     that, Your Honor, I apologize.

20
               THE COURT:   Will you please make sure you confer

21
     with each other about the matters that I raised at the

2
     beginning of the day on instructions?            I would like to

23
     address those at 11:30.

24
               MR. MONTEMARANO:     Oh, 11:30?

25
               THE COURT:   Yeah, 11:30.




                                                                 Page 100
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 101 of 314



                           (Off the record at 11:19 a.m.)
1




2
                           (On the record at 11:34 a.m.)

3
             MR. MCKNETT:      Your Honor, Ms. Ali asked me if

4
     she should be in the courtroom or should she step out.

5
             THE COURT:     No, she can be here.

6
             MR. MCKNETT:      I knew there were discussions you

7
     wanted to have.

8
             MR. MONTEMARANO:       Your Honor, on behalf of the

9
     defendants, we renew our objection to the objected to

10
     question made by Ms. Johnston.          We further move for

1
     immediate cessation of cross-examination on this topic.

12
     Ms. Johnston has not used the word "insurance" yet but

13
     is simply asking all the same questions that I submit

14
     the court has made clear should not be gone into and

15
     now, on top of that, we now have --

16
             THE COURT:     I think she's pretty much gone as

17
     far as I'm going to let her go without going into all

18
     the details of the insurance scheme.

19
             MR. MARTIN:      That's not true, Your Honor.

20
             THE COURT:     I can only hear one person at a

21
     time.

2
             MR. MONTEMARANO:       The transcript we've been

23
     provided talks about insurance, exactly what Your Honor

24
     has said not to do, and here is Ms. Johnston intending

25
     to go into it.     With all due respect, Your Honor, the




                                                                 Page 101
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 102 of 314



     ruling was, as I understood, we weren't going to get
1




2
     into another trial on insurance.

3
               THE COURT:    No, we're not going to get into

4
     that, but clearly the witness was pressed and

5
     legitimately so concerning her knowledge of the other

6
     income.

7
               MS. JOHNSTON:    It was her response that

8
     precipitated me having to play this one call.

9
               THE COURT:    I'm not going to revisit this

10
     record.

1
               MR. MONTEMARANO:     May I read into the record for

12
     Ms. Dunlap the objection I find in this transcript?                On

13
     Page 2 of it, there is LaNora saying, "Right.               But how

14
     would she get it, though, you see what I'm saying?

15
     It's no way.     It's like she didn't know the insurance

16
     company, right?"       And Ms. Martin, my client, saying,

17
     "Yeah, she knew the insurance company.            She might have

18
     called and told them something."

19
               MS. JOHNSTON:    That's a response of Ms. Ali's

20
     response to the question.

21
               THE COURT:    This is not going into the details

2
     of what that insurance check was and how it came to be

23
     issued.    It may very be that they had somebody else's

24
     insurance check.       It has nothing to do with this case

25
     until I hear the insurance fraud part of this case.




                                                                 Page 102
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 103 of 314



             MR. MCKNETT:      Judge, it invites speculation on
1




2
     the part of the jury, at minimum.

3
             MS. JOHNSTON:      No, it doesn't.

4
             MR. MCKNETT:      It's got going to do with this

5
     case, absolutely nothing to do with this case.

6
             MS. JOHNSTON:      It establishes Ms. Ali knew Ms.

7
     Martin was getting funds from another source, which is

8
     contrary to her direct examination.

9
             THE COURT:     I've already ruled on this and I'm

10
     not going to revisit this ruling.

1
             MR. MARTIN:      That's the whole point, Your Honor.

12
     You have ruled on it, and the government has ignored

13
     it.

14
             THE COURT:     I have permitted the additional

15
     question, which was limited, and I don't believe there

16
     is going to be anymore questioning on the subject.

17
             MR. MCKNETT:      There is.     They're going to play

18
     this tape and then read the transcript, and I object to

19
     that.

20
             THE COURT:     I haven't seen the tape.          I mean, I

21
     haven't seen the transcript so I need to see what the

2
     transcript is.

23
             MR. MCKNETT:      I can hand one up.

24
             THE COURT:     If you will give me a transcript, I

25
     will take a look at it.




                                                                 Page 103
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 104 of 314



             MS. JOHNSTON:      Your Honor, this is in response
1




2
     to her question about not discussing the change of

3
     address.   It's very limited.        It is directly in

4
     response to Ms. Ali's response to my questions.               I

5
     think she may have asked if I had something that would

6
     help her remember.

7
             THE COURT:     Why should I permit you to play this

8
     call, Ms. Johnston?

9
             MS. JOHNSTON:      Your Honor, it was as a result of

10
     my questions of Ms. Ali right before the break where

1
     she said she couldn't remember whether asking anything

12
     about whether Ms. Rice had changed the address on this.

13
     This call goes directly to that point, because she

14
     advises she is the one who mentions to Ms. Martin that

15
     the address was -- that she could have called and

16
     changed the address, and that's how it came up with her

17
     was in response to her questions, not anything -- her

18
     answers in response to the government's general

19
     questions about getting some money by another means.

20
             MR. MCKNETT:      Your Honor, if I may respond.

21
             THE COURT:     What's the status of this

2
     transcript?    You haven't distributed it yet, have you?

23
             MS. JOHNSTON:      No, Your Honor.       We asked to play

24
     the call and distribute the transcript.

25
             THE COURT:     But you haven't done that yet.




                                                                 Page 104
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 105 of 314



             MS. JOHNSTON:      We have not done that yet.
1




2
             THE COURT:     Okay.

3
             MR. MCKNETT:      First of all, if this is to

4
     refresh recollection, it should merely be shown to my

5
     client and not played for the jury.            If it refreshes

6
     her recollection, fine; if it doesn't, that's the end

7
     of the issue.     The second part is, we are now much

8
     further down the road toward insurance fraud than we

9
     were before this.

10
             THE COURT:     Let me cut to the chase.          I think

1
     there's been enough inquiry that goes to this question

12
     of other sources of income, and I'm going to sustain

13
     the objection and will not permit this recording to be

14
     played nor the transcript to be circulated.

15
             MS. JOHNSTON:      May I use it to refresh her

16
     recollection in terms of the address and her

17
     discussions with Ms. Martin relative to that check,

18
     Your Honor?

19
             MR. MCKNETT:      Your Honor, I object to that

20
     because that's not --

21
             THE COURT:     I'm not going to permit this

2
     transcript to be read to the jury nor a tape of it to

23
     be played.     You can certainly show it to her to refresh

24
     her recollection, and that's about the end of the

25
     inquiry.     All right?




                                                                 Page 105
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 106 of 314



             MS. JOHNSTON:      Thank you, Your Honor.
1




2
             MR. MONTEMARANO:       For the record --

3
             THE COURT:     Counsel --

4
             MR. MONTEMARANO:       I'm sorry?

5
             THE COURT:     I've got to get instructions done,

6
     and I'm not going to get them done unless I get some

7
     decisions made.      I've asked you, Mr. Montemarano, if

8
     there is a collective decision of the defense attorneys

9
     with respect to lesser included offense instructions,

10
     because if I do that I'm going to have to do some brain

1
     surgery not only to the instructions but also to the

12
     verdict form.

13
             MR. MONTEMARANO:       Your Honor, I think that's a

14
     matter for the people who are involved.             Ms. Martin

15
     does haven't a dog in this fight and doesn't have

16
     anything to do --

17
             THE COURT:     What I need to know, defendant by

18
     defendant, is what is your position with respect to a

19
     lesser included offense instruction.

20
             Mr. Ward, you've given me that in writing, I

21
     understand, what you want.

2
             MR. WARD:     Obviously, we've asked for it.

23
             THE COURT:     I need to check the indictment.

24
     Your client is not charged with possession.

25
             MR. WARD:     That's correct.       I think under the




                                                                 Page 106
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 107 of 314



     law --
1




2
              THE COURT:     Her only charge is conspiracy?

3
              MR. WARD:    Several telephone call counts and the

4
     firearm in furtherance of, yes.

5
              THE COURT:     All right.

6
              Mr. Sussman?

7
              MR. SUSSMAN:     We're not requesting any.          We

8
     believe that we're entitled to separate trials, and the

9
     court's concerns about uniformity really pale in

10
     comparison to our right to a separate trial.

1
              THE COURT:     I've already ruled on that, I

12
     believe, in the case of your client -- I mean, you                did

13
     not make that in opening statement so I don't know what

14
     your contention is.       If I recall correctly from the

15
     testimony, there's two incidences of Ms. Martin and

16
     your client meeting.

17
              MR. SUSSMAN:     One.

18
              THE COURT:     One?     Is it one or two?

19
              MR. SUSSMAN:     I believe one that was an observed

20
     meeting and another one that was probably referenced as

21
     supposed to have happened.

2
              THE COURT:     Mr. McKnett, what's your position?

23
              MR. MCKNETT:     Your Honor, I've consulted with my

24
     client and I believe it's our position now that we will

25
     join in Mr. Ward's request and request the court to




                                                                 Page 107
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 108 of 314



     make the instruction with regard to the conspiracy
1




2
     count and the other counts, accordingly.

3
             THE COURT:     Ms. Johnston.

4
             MS. JOHNSTON:        Your Honor, I would defer to Ms.

5
     Greenberg since she was the one who was able to do the

6
     research on it.

7
             THE COURT:     Ms. Greenberg.

8
             MS. JOHNSTON:        I think there's a little bit of

9
     changes to what Mr.- --

10
             MR. WARD:     I can't hear.

1
             MS. JOHNSTON:        There may be some minor changes

12
     to what Mr. Ward proposed, in terms of the language he

13
     used.

14
             THE COURT:     Oh.     I'll do the language myself.

15
     What I want to know is, what is the government's

16
     position?    I mean, I've looked at the law.            It appears,

17
     at least with respect to Lavon Dobie and LaNora Ali,

18
     that they have put affirmative testimony before me and

19
     before this jury that, if believed, would support the

20
     lesser included offense on the conspiracy, and I

21
     believe they're both charged with possession with

2
     intent to distribute.

23
             MS. JOHNSTON:        I am not sure Ms. Dobie is

24
     charged with possession with intent to distribute.

25
             THE COURT:     She's not, but Ms. Ali is.




                                                                 Page 108
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 109 of 314



             Is that correct, Mr. McKnett?           I've got to take
1




2
     a look at the indictment.         It's such a long monster,

3
     but is your client charged with possession with intent

4
     to distribute?

5
             MS. SUSSMAN:      Are you asking me, sir?

6
             THE COURT:     No.     Mr. McKnett.

7
             MR. MCKNETT:      I believe so, Your Honor.          I can't

8
     think of the count number.

9
             THE COURT:     I'll have to get it out.          Clearly,

10
     if I give a lesser included offense, it would go both

1
     in your case, at least both in conspiracy count and to

12
     the possession count, and you prefer that there be such

13
     an instruction, as does your client.

14
             MR. MCKNETT:      Yes.

15
             THE COURT:     All right.

16
             MS. JOHNSTON:        We're not going to oppose the

17
     court giving that instruction.

18
             THE COURT:     I would be giving it, as I said, on

19
     the conspiracy as to both of them and on the possession

20
     with intent to distribute only as to Ms. Ali.

21
             MS. JOHNSTON:        I don't know if there was some

2
     other language --

23
             MS. GREENBERG:        Your Honor, I was just going to

24
     mention that it's not based on the cases cited and

25
     defense memo of the court, the case that addresses it




                                                                 Page 109
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 110 of 314



     is an unpublished case is U. S. versus Amos .
1




2
             THE COURT:     I believe I have the case.

3
             MS. GREENBERG:       The Fourth Circuit seems to

4
     indicate where the facts support it.

5
             THE COURT:     Where the facts support it.           I do

6
     believe that both of these defendants have forcefully

7
     put forth not just an argument but in testimony that

8
     they are mere users and they have nothing to do with

9
     distributing.     So, the issue is joined fairly by the

10
     evidence, and there have -- I will give it as to those

1
     two defendants in the case of Mr. Ward's client just

12
     the conspiracy, and in the case of Mr. McKnett's client

13
     on the conspiracy and the possession with intent to

14
     distribute.

15
             Ms. Greenberg, are you -- have you -- you

16
     understood the concern I had about the verdict form in

17
     terms of saying "distribute."

18
             MS. GREENBERG:       Yes, Your Honor.       I just didn't

19
     want us to be looking on two different versions at the

20
     same time.    So, over lunch -- I haven't had a chance to

21
     --

2
             THE COURT:     I believe there's a consensus that

23
     we shouldn't mess with the verdict form other than as I

24
     indicated we that should correctly describe what the

25
     charge is, which is possession with intent to




                                                                 Page 110
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 111 of 314



     distribute which is also what the instructions
1




2
     describe.    So, if you will undertake to take care of

3
     the verdict form -- we are preparing a chart, and I

4
     will distribute the chart at the earliest possible time

5
     so they can see what are the charges against the

6
     defendants defendant by defendant.

7
             MS. GREENBERG:       Your Honor, I will be happy to

8
     take care of the verdict form changing distribution to

9
     possession with into to distribute.            I just worry there

10
     is not enough time for me to do it over the lunch hour,

1
     and I have to be in the court --

12
             THE COURT:     No.    The verdict form is something

13
     I'm going to give to them.         I don't know if I can do it

14
     today or not.     If I don't get it done to them today, I

15
     will explain the verdict form to them, perhaps at the

16
     beginning of the closing argument, because I would like

17
     to have them have the verdict form in front of them as

18
     the closing arguments come in.

19
             MS. GREENBERG:       Did Your Honor want us to put

20
     the lesser includeds in?

21
             THE COURT:     If you've got them, put the lesser

2
     includeds in.

23
             MS. GREENBERG:       Your Honor, I also have to

24
     prepare my closing tonight.         It is their request to

25
     change the verdict form.        It was not our request.




                                                                 Page 111
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 112 of 314



             THE COURT:     Then we'll take a shot at it.
1




2
             Have you done the other part?

3
             MS. GREENBERG:       No.   Your Honor mentioned it

4
     this morning.

5
             THE COURT:     We'll undertake to do it ourselves.

6
     We'll do it all.      We'll do it all.

7
             Now, I will undertake, during the lunch recess,

8
     to do the additional materials to go to the

9
     instructions on lesser included offenses that I've just

10
     indicated.    Anything further, counsel?

1
             MR. MCKNETT:      Your Honor, just that I've

12
     identified two possession with intent to distribute

13
     counts with my client, Counts 45 and 56             -- Paragraphs

14
     45 and 56.

15
             THE COURT:     What were the numbers again?

16
             MR. MCKNETT:      Paragraphs 45 and 56.

17
             THE COURT:     Those are the possession with intent

18
     to contribute?     The three counts that she gets an

19
     alternative one are 1, 45, and 56.

20
             MR. MCKNETT:      That's correct.

21
             THE COURT:     Then Mr. Ward's client is just one

2
     only.   All right.     We'll take care of that.

23
             MR. MONTEMARANO:       One last thing.

24
             THE COURT:     What we will do, by the way, on the

25
     lesser includeds, is to -- the drug quantity question




                                                                 Page 112
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 113 of 314



     will still come in.       They will still be asked to
1




2
     identify drug quantity.

3
             Okay.    Proceed.

4
             MR. MONTEMARANO:        One thing.     We can do it now,

5
     as opposed to in the presence of the jury.              This

6
     transcript that was just the source of some contention

7
     is B-428.    It's Government's Exhibit B-428.

8
             THE COURT:     Right.     Well --

9
             MR. MONTEMARANO:        It will be marked for

10
     identification only.

1
             THE COURT:     This has been received for

12
     identification only as Government's Exhibit No. B-428.

13
             MR. MONTEMARANO:        Thank you, Your Honor.

14
             THE COURT:     It will not be received in evidence.

15
     Courtroom Deputy, you may file that.            That's the one

16
     we're not going to let them use.

17
             Anything further?        We'll bring the jury in.

18
             MR. SUSSMAN:      I don't want to stop the jury

19
     coming in, but maybe at the lunch break could I get

20
     three minutes on that 843?         I did some work on that.

21
             THE COURT:     Sure, I will be glad to.

2
             Bring the jury in.

23
             How much more do you think you have on the

24
     witness, Ms. Johnston?

25
             MS. JOHNSTON:       I don't know, Your Honor.




                                                                 Page 113
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 114 of 314



     Certainly not as long as direct was, which I think was
1




2
     bordering on five hours.

3
                     (Witness resumes the stand.)

4
                     (Jury returns at 11:52 a.m.)

5
             THE COURT:     All right.      You may proceed.

6
             BY MS. JOHNSTON:

7
     Q.      Thank you, Your Honor.

8
             Ms. Ali, when we recessed I had referenced you

9
     to Call B-428 which we've identified for identification

10
     purposes only as Miscellaneous 57.

1
             Have you had a chance to review that transcript?

12
     A.      Yes.

13
     Q.      Does that refresh your recollection concerning

14
     conversations that you had with Ms. Martin concerning

15
     whether or not her daughter, Kimberly Rice, had changed

16
     the address on the check?

17
     A.      Changed the address?        Yes.

18
     Q.      And there was concerns on the part of you and

19
     Ms. Martin about whether Ms. Rice had had the check

20
     diverted to her, rather than to your address; isn't

21
     that correct?

2
     A.      We talked about that, yes.

23
     Q.      And there were concerns about whether she had

24
     done that.

25
     A.      It wasn't so much concern but, yes, we talked




                                                                 Page 114
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 115 of 314



     about that, yes.
1




2
     Q.      You and Ms. Martin wanted that check to come to

3
     your house, not to Ms. Rice's house; isn't that

4
     correct?

5
             MR. MCKNETT:      Objection, Your Honor.

6
             THE COURT:     Overruled.

7
             THE WITNESS:      Ms. Martin wanted the check to

8
     come to my house, yes.

9
             BY MS. JOHNSTON:

10
     Q.      You certainly didn't disagree with her, did you?

1
     A.      No.    My husband and I allowed that to happen,

12
     yes.

13
     Q.      In terms of Ms. Martin, you two were best

14
     friends; is that safe to say?

15
     A.      I won't say we were "best friends."             We were

16
     good friends.

17
     Q.      Very close?

18
     A.      Yes.

19
     Q.      You would see her or talk to her on an almost

20
     daily basis; is that correct?

21
     A.      Yes.

2
     Q.      You pretty much knew -- strike that.

23
             You discussed each other's lives and issues that

24
     came up in your life as well as her life; isn't that

25
     correct?




                                                                 Page 115
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 116 of 314



     A.      At times.     We would talk about what friends talk
1




2
     about, yes.

3
     Q.      Right.     And in this instance about her

4
     difficulties with Ms. Rice; isn't that correct?

5
     A.      No, there wasn't difficulties with Ms. Rice.                   It

6
     was difficulties that she was having with her family

7
     during that time, it was not just with Ms. Rice.

8
     Q.      And including what we just talked about with Ms.

9
     Rice; is that correct?

10
     A.      No.    That wasn't a daily discussion, no.

1
     Q.      Well, you had discussions over the course of

12
     time with her about problems with Ms. Rice and about

13
     problems with her other daughter, Teresa.

14
     A.      I discussed with Ms. Martin about her family

15
     because I was not happy with that situation, yes.

16
     Q.      And do you know an individual -- a friend of

17
     yours named Pat?

18
     A.      Do I know a friend of mine named Pat?

19
     Q.      Yes.     Was there a friend of yours named Pat whom

20
     you put in contact with Ms. Martin?

21
     A.      I have a friend named Pat, yes.

2
     Q.      Did you arrange for her to have a dealing with

23
     Ms. Martin?

24
     A.      As far as what?

25
     Q.      I'm asking you, did you make an arrangement for




                                                                 Page 116
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 117 of 314



     your friend Pat -- what was Pat's last name?
1




2
     A.      I have a friend named Patricia Swain.

3
     Q.      Okay.    Is she a teacher?

4
     A.      Yes.

5
     Q.      Did you make arrangements for Ms. Martin to have

6
     contact with your friend, Pat?

7
             MR. MONTEMARANO:       Objection.      Relevance; beyond

8
     the scope.

9
             THE WITNESS:      A lot of my friends --

10
             MR. MONTEMARANO:       Beyond the scope.

1
             THE COURT:     Overruled.

12
             THE WITNESS:      A lot of my friends met with Ms.

13
     Martin, and my family too, not just Ms. Pat.

14
             BY MS. JOHNSTON:

15
     Q.      And Pat had some health issues; is that correct?

16
     She was suffering from a lot of stress; is that

17
     correct?

18
     A.      No.

19
     Q.      And you made arguments -- you didn't make

20
     arrangements for Ms. Martin and Ms.- -- this individual

21
     named Pat to do a transaction?

2
     A.      No.

23
     Q.      Well, I want to show you what's -- what we'll

24
     mark as B-424, another call, Your Honor.             This time

25
     I'll mark it for identification purposes only.




                                                                 Page 117
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 118 of 314



             MR. MCKNETT:      May we see that?
1




2
             MS. JOHNSTON:      Sure, Mr. McKnett.

3
             THE COURT:     Counsel, do you have a copy to take

4
     a look at?

5
             MS. JOHNSTON:      I will get a copy, Your Honor.

6
             MR. MONTEMARANO:       Me, too.

7
             BY MS. JOHNSTON:

8
     Q.      Again, Call B-424 for identification only.                 Ms.

9
     Ali, if you could read through the first two pages, and

10
     I think you will see at the top of the third page it

1
     goes into a different subject matter.            If you could,

12
     read through the first two pages.

13
             Have you read through that, Ms. Ali?

14
     A.      Yes.

15
     Q.      Okay.    Is that your friend, Pat Swayne.

16
             MR. MONTEMARANO:       Objection, Your Honor.         At

17
     this point the only proper question is whether this

18
     refreshes Ms. Ali's recollection.

19
             THE COURT:     All right.      Sustained.

20
             BY MS. JOHNSTON:

21
     Q.      Does that refresh your recollection?

2
     A.      Yes, it does.

23
     Q.      And that was your friend, Patricia Swain?

24
     A.      Correct.

25
     Q.      And you had arranged for her to engage in a




                                                                 Page 118
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 119 of 314



     transaction with Ms. Martin; is that correct?
1




2
     A.      No.

3
     Q.      Why don't you tell us what you say that call's

4
     about, where you --

5
             MR. MCKNETT:      Objection.

6
             MR. MONTEMARANO:       Objection, Your Honor.

7
             THE COURT:     What's the basis?

8
             MR. MCKNETT:      Ms. Ali has answered the question:

9
     No, this is not about a transaction that she set up

10
     between Patricia and Ms. Martin.

1
             MR. MONTEMARANO:       The call has already been

12
     ruled inadmissible.       Therefore, asking what the call is

13
     about --

14
             MS. JOHNSTON:      Your Honor, I'm referencing the

15
     first two pages of this call.

16
             THE COURT:     Approach the bench.

17
                       (At the bar of the Court.)

18
             MR. MCKNETT:      Your Honor, Ms. Johnston asked if

19
     this transcript refreshed my client's recollection

20
     about interactions between Patricia and Ms. Martin.                My

21
     client said it did.       When Ms. Johnston asked what did

2
     it have to do with the transaction between Ms. Martin

23
     and Patricia, my client said no, and that's the end of

24
     it.

25
             THE COURT:     Well, it does refresh her




                                                                 Page 119
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 120 of 314



     recollection as to how she hooked the two of them up,
1




2
     didn't it?

3
               MR. MONTEMARANO:      No, that she discussed her

4
     with Ms. Martin:       Do you recall discussing pat with Ms.

5
     Martin?    Yes.

6
               MR. MCKNETT:      Did it have anything to do with

7
     setting up a transaction?         No.   And that's the end of

8
     it.

9
               MS. JOHNSTON:      I think I can have her explain

10
     what the transaction is.        I don't think it has anything

1
     to do with insurance fraud.         That's why I want to

12
     reference the first two pages.          The remaining pages

13
     have to do with the insurance fraud.

14
               THE COURT:     What is the finder of fact to infer

15
     from --

16
               MS.   JOHNSTON:     The finder of fact can infer

17
     whether it was a drug transaction or what kind of

18
     transaction it is.       She said she recalls it.         I didn't

19
     ask her specifically what kind of transaction it is.

20
               MR. MONTEMARANO:      Your Honor, there is no

21
     reference to tickets and there is nothing except some

2
     generalized language, which is entirely collateral to

23
     this matter.      The simple fact is the court has ruled

24
     this conversation and the prior conversation

25
     inadmissible because they are collateral.




                                                                 Page 120
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 121 of 314



             THE COURT:     I ruled the prior conversation was
1




2
     inadmissible.

3
             MR. MONTEMARANO:       If she has --

4
             MS. JOHNSTON:      Your Honor, we can move on.           It's

5
     not worth arguing over.

6
             THE COURT:     Okay.

7
                           (Back in open court.)

8
             BY MS. JOHNSTON:

9
     Q.      Ms. Ali, you and Ms. Martin were very close;

10
     isn't that correct?

1
     A.      That's correct.

12
     Q.      Okay.    And Ms. Martin -- according to you, she

13
     brought suitcases and left them in your house back in

14
     2002 or 2003.     When was it?

15
     A.      She didn't bring the suitcases to my house.               My

16
     husband and I picked the suitcases up, and they were

17
     there in 2002.

18
     Q.      There were two suitcases then?

19
     A.      Yes.

20
     Q.      And one of those suitcases is this blue suitcase

21
     we see in front of the jury; is that correct?

2
     A.      That's correct.

23
     Q.      All right.     That stayed in your residence; is

24
     that correct?

25
     A.      That's correct.




                                                                 Page 121
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 122 of 314



     Q.        Ms. Martin came over to your residence during
1




2
     2003 and 2004 and asked to have her suitcase and go

3
     through her suitcases; is that correct?

4
     A.        She checked it maybe two to three times, yes.

5
     Q.        Is that what your husband testified to last

6
     week, two to three times?

7
     A.        I don't recall what he testified to.

8
     Q.        So when she came and she asked to see her

9
     suitcase, did you get it out of the closet and give it

10
     to her?

1
     A.        My husband did.

12
     Q.        And you're home on those two to three occasions?

13
     A.        Yes.

14
     Q.        When she asked to see them -- the suitcase, it

15
     was in the living room; is that correct?

16
     A.        Living room/dining room -- the dining room area,

17
     yes.

18
     Q.        On the coffee table?

19
     A.        No, it was not on a table.        It was on the floor,

20
     the living room/dining room area; correct.

21
     Q.        And she opens the suitcase?

2
     A.        That's correct.

23
     Q.        You weren't in there with her when she opened

24
     the suitcase?

25
     A.        No.




                                                                 Page 122
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 123 of 314



     Q.       You just left the room?
1




2
     A.       Yes.

3
     Q.       You went back in the back bedroom?

4
     A.       Yes.

5
     Q.       She didn't have a key for your house -- your

6
     apartment, did she?

7
     A.       No.

8
     Q.       She had to have your permission to come in the

9
     house?

10
     A.       Yes.

1
     Q.       You didn't sit in the living room with her and

12
     socialize with her while she went through her

13
     belongings?

14
     A.       No.    That was her personal belongings.

15
     Q.       You didn't sit with her and chat?

16
     A.       No, I did not.

17
     Q.       You didn't see what was in there?

18
     A.       No, I did not.

19
     Q.       Now, if you could look at the suitcase and tell

20
     me where you see the pry marks.

21
     A.       Where I see what?

2
     Q.       The pry marks.

23
              MR. MCKNETT:     Objection, Your Honor.

24
              THE WITNESS:     I wasn't there.

25
              MR. MCKNETT:     Objection, Your Honor.         Scope.        My




                                                                 Page 123
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 124 of 314



     client didn't testify as to how the suitcase was
1




2
     opened.

3
               THE COURT:     Sustained.

4
               BY MS. JOHNSTON:

5
     Q.        Can you look at the suitcase for me?

6
     A.        Yes.

7
     Q.        Do you see any pry marks on the suitcase?

8
               MR. MCKNETT:     Objection, Your Honor.        That's the

9
     exact same question.

10
               THE COURT:     Sustained.    The jury can look at the

1
     exhibit themselves.

12
               MR. WARD:    The agents said they pried it open.

13
               MS. JOHNSTON:     Objection to Mr. Ward's comments.

14
               MR. WARD:    On the basis it's improper or

15
     incorrect, Your Honor?

16
               MS. JOHNSTON:     Both, Your Honor.

17
               BY MS. JOHNSTON:

18
     Q.        That suitcase was in your house when the police

19
     executed the search warrant; is that correct?

20
     A.        Yes.

21
     Q.        We looked at a lot of pictures here, Picture

2
     P-1B.     That accurately depicts your house the way it

23
     was on the day the search was executed; isn't that

24
     right?

25
     A.        That depicts the closet.




                                                                 Page 124
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 125 of 314



     Q.      And the hallway.
1




2
     A.      And the hallway.

3
     Q.      And the way to get to the living room and the

4
     dining room.

5
     A.      I don't see that.       The picture's too far up, but

6
     it does to the left, yes.

7
     Q.      Let me put it wide.        I don't want to -- okay.

8
     This area here goes to your kitchen and dining room; is

9
     that correct?

10
     A.      To the left is the dining room.            Further to the

1
     left is to the kitchen.

12
     Q.      All right.     So, it accurately depicts the way

13
     your house was on June 1st; isn't that correct?

14
     A.      That's correct.

15
     Q.      So does P-1C; isn't that correct?

16
     A.      That's correct.

17
     Q.      When the officer testified that this picture was

18
     taken, he was correct that that's the way your closet

19
     looked on that date; is that correct?

20
     A.      That's correct.

21
     Q.      And the blue suitcase that we just heard all

2
     about, that suitcase was in fact in that closet; is

23
     that correct?

24
     A.      That's correct.

25
     Q.      And then we heard a lot about this drawer, P-1H.




                                                                 Page 125
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 126 of 314



     Do you see that?
1




2
     A.      Yes.

3
     Q.      The items that were in that drawer, they were

4
     your items weren't they?

5
     A.      That's correct.

6
     Q.      And they did belong to you; is that correct?

7
     A.      Yes.

8
     Q.      And they were kept in that drawer; isn't that

9
     correct?

10
     A.      Yes.

1
     Q.      And that was the top drawer -- was the drawer

12
     inside your jewelry chest on top of the dresser; isn't

13
     that correct?

14
     A.      Yes.

15
     Q.      It would have been a little hard to take a

16
     picture of those items if the drawer were still in the

17
     jewelry chest, wouldn't you agree?

18
     A.      Yes.

19
     Q.      So it had been -- it was removed to take the

20
     picture; is that correct?

21
     A.      That's correct.

2
     Q.      All of those items were in that drawer when that

23
     search warrant was executed; isn't that right?

24
     A.      Yes.

25
     Q.      Similarly, P-1I.       Now, I understand you had some




                                                                 Page 126
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 127 of 314



     telephone books and other things in there; is that
1




2
     correct?

3
     A.      I had a lot of things in there.

4
     Q.      You had a lot of papers in there?            Do you see

5
     this little baggy here down in the corner?

6
     A.      Yes.

7
     Q.      It would have been a little hard to take a

8
     picture of that baggy in the drawer if all of your

9
     telephone books were in there; is that correct?

10
             MR. MONTEMARANO:        Objection, Your Honor.        Basis

1
     for knowledge.

12
             THE COURT:     Overruled.

13
             THE WITNESS:      No.    I've seen other pictures in

14
     here where things were just taken on top of stuff.

15
     They could have left the stuff in the drawer and taken

16
     pictures.

17
             BY MS. JOHNSTON:

18
     Q.      If it was on the bottom of the drawer, they

19
     could have taken a picture of that in its position with

20
     the telephone books and the address books and your

21
     other papers in that; is that correct?

2
             MR. MONTEMARANO:        Assumes facts not in evidence,

23
     Your Honor.    There's been no evidence where the bag

24
     was.   The officer testified that's what the drawer

25
     looked like.




                                                                 Page 127
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 128 of 314



             THE COURT:     Sustained.      Rephrase the question.
1




2
             BY MS. JOHNSTON:

3
     Q.      You heard the officer testify that this is where

4
     they found the baggy; isn't that correct?

5
     A.      That's correct.

6
     Q.      Okay.    And is it not correct that if they had

7
     left all of your books and your papers and things in

8
     there, you could not have seen that baggy on the bottom

9
     of the drawer?     Isn't that correct?

10
     A.      If it was on the top of the drawer.             It could

1
     have been on the top of the drawer.

12
     Q.      So it's your position that the officer is

13
     misplacing the item in the drawer; is that correct?

14
             MR. MCKNETT:      Objection, Your Honor.

15
             THE COURT:     Overruled.

16
             THE WITNESS:      I know that drawer did not look

17
     like that.     I know that box was not in that -- that's a

18
     jewelry box.     It was kept on top of my dresser with a

19
     bag in it on top of my dresser.          That is my night

20
     stand. (Witness indicating.)

21
             BY MS. JOHNSTON:

2
     Q.      Opened, and in that condition; is that correct?

23
     A.      It was a top on it.        That is not the condition.

24
     It was a top on it.

25
     Q.      You hid your drugs and your baggies from your




                                                                 Page 128
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 129 of 314



     husband, yet you had it in a jewelry box sitting on the
1




2
     top of your dresser; is that correct?

3
     A.       Why would my husband go in my jewelry box?

4
     Q.       Is that correct?

5
     A.       Yes.

6
     Q.       And you don't disagree that that bag came from

7
     your bedroom, and that was your bag that had cocaine in

8
     it?

9
     A.       In my bedroom.      I disagree where it might have

10
     been but, yes, it was my bag and my bedroom.

1
     Q.       You didn't disagree about a little baggy here

12
     that was found in that dresser drawer, that it was your

13
     bag and it contained cocaine.

14
     A.       It did not contain cocaine.         I think it was

15
     cocaine residue.

16
     Q.       At one point it contained cocaine.

17
     A.       That's correct.

18
     Q.       And you put it in this drawer.

19
     A.       I'm not going to say I placed it in that drawer,

20
     ma'am.   I told you I know I had something in that box

21
     with the top on it.

2
     Q.       Are you telling us you didn't -- contrary to

23
     your direct examination, you didn't put that baggy in

24
     there?

25
     A.       I said a bag could have been in there.




                                                                 Page 129
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 130 of 314



     Q.      Is it your bag?
1




2
     A.      I agreed to it that that was my bag.

3
     Q.      So, that bag was found in your house.

4
     A.      Yes, it was.

5
     Q.      You don't disagree with that.

6
     A.      I don't disagree with that.

7
     Q.      So we've spent hours discussing whether it was

8
     in this drawer or somewhere else; is that correct?

9
             MR. MCKNETT:      Objection, Your Honor.

10
     Argumentative.

1
             THE COURT:     Overruled.

12
             THE WITNESS:      Yes, we've spent hours on that.

13
             BY MS. JOHNSTON:

14
     Q.      Though you admit that is your bag of cocaine.

15
             MR. MCKNETT:      Objection, Your Honor.         Ms. Ali

16
     never denied that, Your Honor.

17
             THE COURT:     Sustained.

18
             BY MS. JOHNSTON:

19
     Q.      In addition to that, all of these other items

20
     that the detective testified that he found in your

21
     house, these are all your items aren't they?

2
     A.      All of those items, yes, are my items.

23
     Q.      And I'm referring to Drugs 34 and Drugs 32.

24
     Those are your items.

25
     A.      If that's the number on them, yes, they are my




                                                                 Page 130
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 131 of 314



     items.
1




2
     Q.       And you recovered them; they were from your

3
     house, is that correct?

4
     A.       They were from my apartment.

5
     Q.       You don't dispute that they were in your house?

6
     A.       No, I don't.

7
              MR. MONTEMARANO:      Objection, Your Honor.         Asked

8
     and answered for the third time.

9
              THE COURT:     Sustained.

10
              BY MS. JOHNSTON:

1
     Q.       You're not arguing that the detective planted

12
     these things in your house, are you?

13
              MR. MONTEMARANO:      Objection.

14
              THE COURT:     Overruled.

15
              THE WITNESS:     No, I'm not.

16
              BY MS. JOHNSTON:

17
     Q.       And this crack pipe here, this is something that

18
     you made; isn't that correct?

19
     A.       That's my freebase pipe, yes.

20
     Q.       And it was in your -- excuse me, your freebase

21
     pipe.

2
     A.       Thank you.

23
     Q.       Your cocaine base -- why don't use that term,

24
     "cocaine base pipe" was your pipe; is that correct?

25
     A.       That's correct.




                                                                 Page 131
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 132 of 314



     Q.       Found in your house.
1




2
     A.       Found in my house.

3
     Q.       The officers didn't plant that item, either.

4
     A.       No, they did not.

5
     Q.       Likewise, these baggies that had this residue in

6
     them in Ali 7.     They didn't plant those either, did

7
     they?

8
     A.       No, they did not.

9
     Q.       All of these items were in this house when they

10
     were there on June 1st 2004; isn't that correct?

1
     A.       Somewhere in the house.

12
     Q.       Well, where else did you hide your empty

13
     baggies?

14
     A.       Somewhere in the house.

15
     Q.       Where?   Where else did you hide them, other than

16
     in your jewelry box?       Where else did you hide your

17
     cocaine base pipe?      Where did you hide that in the

18
     house?

19
     A.       Wherever I found a place for it.

20
     Q.       Give us some example of where you hid those

21
     items.

2
              Over the course of how many years have you been

23
     married?   Since 1999 or 2000?         How long have you been

24
     married?

25
     A.       2000.




                                                                 Page 132
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 133 of 314



     Q.      Since 2000 to June 1st of 2004, where did you
1




2
     hide these items in your apartment?

3
     A.      Could have been a number of places.             Shoe box,

4
     jewelry boxes; like you said, dresser drawer.

5
     Q.      And on the dresser top in a jewelry box?

6
     A.      On the dresser top?        No, it was not on the

7
     dresser top.     I never had drugs on top of the dresser.

8
     Q.      In the jewelry box.

9
     A.      They were always inside.

10
     Q.      What about in that Nordstrom's box?

1
     A.      Yes.

12
     Q.      Where did you keep the baking soda and the

13
     little spice jar that you would use to cook your

14
     cocaine into cocaine base?

15
     A.      I kept it in a small baking soda box.

16
     Q.      Where would you keep the spice jar?

17
     A.      I don't recall right now, I really don't.

18
     Q.      Certainly you didn't keep that in the kitchen

19
     where your husband was cooking -- doing all the

20
     cooking.

21
     A.      I said I didn't recall where I kept it.

2
     Q.      In terms of your dealing with Ms. Martin.               You

23
     do agree, do you not, that you kept a running tab with

24
     her; is that correct?

25
     A.      That's correct.




                                                                 Page 133
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 134 of 314



     Q.      That tab was for clothing on one side of the
1




2
     book; is that correct?

3
     A.      That's correct.

4
     Q.      And you had permission from Ms. Martin for

5
     yourself to help yourself to her drugs; is that

6
     correct?

7
     A.      That is not correct.

8
     Q.      You would go in her house and get some for

9
     yourself.

10
     A.      That is not correct.

1
     Q.      Do you recall the telephone call we played here

12
     in court?

13
     A.      Yes, I do.

14
     Q.      Did you write it in the book yourself?

15
     A.      No.

16
     Q.      You've never written in that book.             Are you

17
     telling us that she didn't tell you that you could go

18
     get your own?

19
     A.      No.     She has never told me to go get my own.

20
     Q.      Okay.     But you would agree that in that book

21
     where it says "tickets" that refers to drugs; isn't

2
     that correct?

23
     A.      On the right-hand side, yes.

24
     Q.      Where it says "tickets?"

25
     A.      Yes.




                                                                 Page 134
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 135 of 314



     Q.      It wasn't for any real tickets, was it?              Those
1




2
     were all calculations for drugs; isn't that correct?

3
     A.      Yes.

4
     Q.      Your clothing tab with her was separate; isn't

5
     that correct?

6
     A.      That's correct.

7
     Q.      Some of those clothes did come from Martha Jean

8
     West; isn't that correct?

9
     A.      I'm assuming some of them did, yes.

10
     Q.      You're familiar with St. John and some of those

1
     other designers?

12
     A.      Yes, I am.

13
     Q.      She was giving you a very, very good price on

14
     those clothes; isn't that correct?

15
     A.      We didn't have any St. Johns in the last couple

16
     of years.    No, we didn't have any St. Johns.

17
     Q.      You didn't have any St. Johns?

18
     A.      Yes, earlier, but not in 2003-2004.

19
     Q.      That wasn't my question, Ms. Ali.            My question

20
     was, you were getting a very good price for the clothes

21
     you were getting through Ms. Martin from Ms. West;

2
     isn't that correct?

23
     A.      That's correct.

24
     Q.      Better price than you could get any sale in any

25
     store; isn't that correct?




                                                                 Page 135
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 136 of 314



     A.      That's correct, Ms. Johnston.
1




2
     Q.      You never questioned Ms. Martin about where

3
     those clothes were coming from?

4
     A.      I never questioned her about it.

5
     Q.      You never asked her how it was that Ms. West

6
     could sell those clothes at such reduced prices, did

7
     you?

8
     A.      I never asked her.

9
     Q.      You didn't want to know the answer to that

10
     question, did you?

1
     A.      Yes, you're right.

12
     Q.      Because you had a feeling that it was wrong,

13
     didn't you?

14
     A.      I knew that I got them for a good price.

15
     Q.      You had a feeling that maybe it was too good to

16
     be true; isn't that correct?

17
             MR. MONTEMARANO:       Objection, Your Honor.         Can we

18
     be heard at the bench?

19
             THE COURT:     Overruled.

20
             THE WITNESS:      I don't know if it was too good to

21
     be true; I purchased them.

2
             BY MS. JOHNSTON:

23
     Q.      You didn't want to ask Ms. Martin any questions

24
     about why the price was so good; right?

25
     A.      A lot of times you choose not to ask a question,




                                                                 Page 136
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 137 of 314



     yes.
1




2
     Q.      You didn't want to know what the answer was;

3
     isn't that correct?

4
     A.      Probably so.

5
     Q.      Because you, in your heart of hearts, suspected

6
     that maybe there was something wrong with those clothes

7
     being sold so low.

8
     A.      Maybe so.

9
     Q.      But you continued to buy the clothes without

10
     asking questions; is that correct?

1
     A.      That's correct.

12
     Q.      Now, if we could, I'd like to discuss a few of

13
     the calls with you.       Do you have a copy of the

14
     government's transcripts in front of you?

15
     A.      Yes, I do.

16
     Q.      You heard Sergeant Sakala testify during his

17
     direct examination that some of the calls that you had

18
     concerned an actual cruise.         Do you recall that?

19
     A.      Yes.

20
     Q.      So he was correct about that; is that correct?

21
     A.      Yes.

2
     Q.      And he also said that there were some calls that

23
     were -- that those calls were about legitimate tickets

24
     when you discussed your cruise.          Do you recall that?

25
     A.      That's correct.




                                                                 Page 137
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 138 of 314



     Q.      And he then also testified that there were some
1




2
     calls that were actually about clothing, whether they

3
     were legitimate clothes or illegitimate clothes he did

4
     say that the calls were actually about clothing.               Do

5
     you remember that direct examination back in June?

6
     A.      Yes, I do.

7
     Q.      So, Agent Sakala was correct when he said that

8
     there were some calls where clothing was actually

9
     discussed; is that correct?

10
     A.      That's correct.

1
     Q.      Then he differentiated those calls involving

12
     tickets that were, in his opinion, drug-related.               Do

13
     you recall that?

14
     A.      That's correct.

15
     Q.      Certainly other than discussing your cruise with

16
     Ms. Martin and her request that you check on flights

17
     from Kansas City, you discussed the tickets in Las

18
     Vegas; those were the three areas where Sergeant Sakala

19
     acknowledged those were about actual airplane tickets;

20
     correct?

21
     A.      Correct.

2
     Q.      And they were also about the trip to Las Vegas

23
     where you sold the tickets to Teresa; is that correct?

24
     A.      That's correct.       I didn't sell them to Teresa.

25
     Q.      I apologize.      You gave them to Teresa because




                                                                 Page 138
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 139 of 314



     you had to use them within so much time.             So, Sergeant
1




2
     Sakala was correct about that; is that right?

3
     A.      That's correct.

4
     Q.      And he was also correct about the clothing

5
     conversations with Ms. West, where the clothing was

6
     actually discussed, different sizes and different

7
     designers; isn't that correct?

8
     A.      Yes.    I mean -- excuse me, what do you mean he

9
     was correct in reference to --

10
     Q.      He was correct when he was called back here on

1
     recross examination.       Do you recall that just last week

12
     or the week before when they played calls from him, and

13
     Sergeant Sakala said they're discussing actual clothes

14
     in these calls?

15
     A.      Yes.

16
     Q.      Those were calls between Ms. Martin and Ms.

17
     West, and sometimes Ms. Levi was on the phone.

18
     A.      That's correct.

19
     Q.      So he gave -- his opinion was correct, then;

20
     isn't that right?

21
     A.      Yes.

2
     Q.      And he also gave testimony that when he looked

23
     at Haywood 7 -- let's just pick a page here -- this

24
     reference to LaNora up here, it was a reference to you;

25
     isn't that correct?




                                                                 Page 139
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 140 of 314



     A.      Yes.
1




2
     Q.      And he referenced that the column on the left

3
     had to do with clothing, because it was a carryover

4
     from the previous pages; correct?

5
     A.      That's correct.

6
     Q.      And so the left side was clothing, and the right

7
     side, he opined, was drugs; isn't that correct?

8
     A.      That's correct.

9
     Q.      He was right about that, wasn't he?

10
     A.      That's correct.

1
     Q.      Then when he said the tickets on this next page

12
     referred to drugs; he was right about that, wasn't he?

13
     A.      That's correct.

14
     Q.      And "tickets" was a term that Ms. Martin used

15
     frequently to refer to drugs; isn't that correct?

16
     A.      That's correct.

17
     Q.      So if we look at Calls 1224 and 1226, on Page

18
     348 and 349, which should be in Book II -- do you have

19
     that in front of you?

20
     A.      No, I don't yet.

21
             MR. MCKNETT:      What were the pages again, Ms.

2
     Johnston?

23
             MS. JOHNSTON:      Page 348 and Page 349.

24
             BY MS. JOHNSTON:

25
     Q.      On Call A-1224, Page 348 -- do you have that in




                                                                 Page 140
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 141 of 314



     front of you now, Ms. Ali?
1




2
     A.      Yes, I do.

3
     Q.      That was on April 21, 2004; isn't that correct?

4
     A.      That's correct.

5
     Q.      And Ms. Martin asked you if you just want one

6
     ticket, and you said you had to make a phone call;

7
     isn't that correct?

8
     A.      That's correct.

9
     Q.      And that one ticket she was referring to was to

10
     a quantity of drugs; isn't that correct?

1
     A.      A 50, yes.

12
     Q.      That was a reference to drugs; isn't that

13
     correct?

14
     A.      Yes.

15
     Q.      It would have been cocaine; is that correct?

16
     A.      That's correct.

17
     Q.      You say it's 50?

18
     A.      $50 worth, yes.

19
     Q.      Because it says "1?"

20
     A.      Yes.

21
     Q.      Okay.     But then if we look at the next page,

2
     Page 350, at the next call, again on April 21st, about

23
     two hours later -- do you have that call in front of

24
     you?

25
     A.      A-1226?




                                                                 Page 141
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 142 of 314



     Q.       A-1226.    Looking at Page 2, because on the first
1




2
     page you talked to John Martin; isn't that right?

3
     A.       That's right.

4
     Q.       On the second page, though, you talk to Ms.

5
     Martin; isn't that right?

6
     A.       Yes.

7
     Q.       And the price for "1" was a $1.25; isn't that

8
     correct?

9
     A.       No.

10
     Q.       Well, read it for me.        Calling your attention to

1
     Page 350.      You say to her, "You put the wrong price in

12
     the book," don't you?

13
     A.       "You put the wrong price in the book."

14
     Q.       And you repeat it:       "You put the wrong price in

15
     the book."

16
     A.       Yes.

17
     Q.       And Ms. Martin says, "$1.25."

18
     A.       Yes.

19
     Q.       Meaning $125; right?

20
     A.       That's what Ms. Martin said.

21
     Q.       When she said $1.25 meaning a $1.25, you knew

2
     that what she was saying was $125 dollars; isn't that

23
     right?

24
     A.       Yes.

25
     Q.       So she wasn't -- she didn't want to say $125.




                                                                 Page 142
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 143 of 314



     Instead, she said $1.25; is that right?
1




2
     A.      Yes.

3
     Q.      And then you said, "Oh, I thought you put 50 in

4
     the book;" isn't that right?

5
     A.      Yes.

6
     Q.      And then Ms. Martin says, "You told me you

7
     wanted one of them today;" isn't that right?

8
     A.      Yes.

9
     Q.      And so the price for one of them was a $1.25;

10
     isn't that right?

1
     A.      No, that's not right.

12
     Q.      Wasn't $50, according to this?           Isn't that

13
     correct?

14
     A.      That might have been a prior purchase.

15
     Q.      So when she says, "You told me you wanted one of

16
     them today" --

17
     A.      Yes.

18
     Q.      -- and that she put $125 in the book, you're

19
     telling us that was a prior purchase that she just                now

20
     recorded?

21
     A.      Yes.    Sometimes it happened like that.

2
     Q.      At the bottom, you told her you just wanted to

23
     look out for her to make sure she recorded it

24
     accurately; isn't that correct?

25
     A.      That's correct.




                                                                 Page 143
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 144 of 314



     Q.        So you got drugs on that day from her, and you
1




2
     disagree with whether you got $50 or $125; is that

3
     right?

4
     A.        Yes, I do.

5
     Q.        You're saying you got $50; is that correct?

6
     A.        That $125, if I asked her if she put it on the

7
     book, that was something prior because we had a

8
     conversation about it.        I had already been over there,

9
     so that's something prior, because I'm having a

10
     conversation with her on the phone about it.

1
     Q.        Prior to that day, you had already picked up the

12
     drugs; isn't that right?

13
     A.        I can't say that I did.

14
     Q.        Well, I thought that's just what you said now,

15
     that you picked up the drugs.

16
     A.        I didn't say that, Ms. Johnston, you did.             If I

17
     did say that, I was incorrect.          I don't know whether I

18
     did.     I just know what I purchased from Ms. Martin and

19
     if they're that particular there, I don't think this

20
     125 was on that particular day.          That's all I'm saying.

21
     Q.        "You told me you wanted one of them today."

2
     Which part of that word today is not clear?

23
     A.        What page?

24
     Q.        On Page 350.

25
     A.        Yes, but I wanted one today.         That 125 could




                                                                 Page 144
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 145 of 314



     have been something that I got prior and she put the
1




2
     wrong price down.      I'm not certain about it.          I do

3
     admit to you that I did buy -- when I got one, one was

4
     a 50, and 125 was not a 50.         However, you're trying to

5
     interpret this phone call, and I'm being very honest

6
     with you about that.

7
     Q.        So Ms. Martin, when she said one of them was

8
     125, is not being -- wasn't being clear with you on the

9
     phone.

10
     A.        If I had a prior discussion with her with that.

1
     You never heard me on the phone saying, I want 125.

12
     Maybe it was when I got there, maybe I changed my mind,

13
     I don't recall.      What I purchased from Ms. Martin was a

14
     50, which is a half a gram, which is $50, which was

15
     always "one."     If I purchased $125 worth, it was three

16
     in a package.

17
     Q.        Why would you have to be clear with her?

18
     A.        Because I never wanted to treat --

19
     Q.        You thought she made a mistake in her book when

20
     she put 50, and when you actually got one, that was

21
     125?

2
     A.        Because sometimes I left my stuff with Ms.

23
     Martin.    Sometimes I would ask her, and I would always

24
     sometimes confuse her.        I didn't always pick up the

25
     whole $125 worth.      I would leave it with her.           So,




                                                                 Page 145
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 146 of 314



     maybe I was trying to say to her that, hey, did you
1




2
     know that that's what I wanted 50?           And maybe I changed

3
     it and got 125.      I'm not disputing that.         My one was

4
     always a half a gram, which is $50 worth.

5
     Q.      Did you ever order three?          Can you show us a

6
     call in there where you ordered three from her?

7
     A.      No, I don't recall you playing a phone call

8
     saying I ordered three.        You don't have a phone call, I

9
     think, where I ordered 125 from her.

10
     Q.      Can you show us any call where you told her you

1
     wanted three tickets instead of one ticket?

12
             MR. MONTEMARANO:       Objection.      Basis for

13
     knowledge.

14
             THE COURT:     Rephrase the question.

15
             BY MS. JOHNSTON:

16
     Q.      You had access -- you and your attorney have had

17
     access to all of these calls; isn't that correct?

18
     A.      That's correct.

19
     Q.      And you've had a chance to go through all of

20
     those logs as well; isn't that correct?

21
     A.      That's correct.

2
     Q.      Can you point to us any place, in any of those

23
     calls, where you told Ms. Martin that you wanted three

24
     tickets or you wanted three of them?

25
             MR. MONTEMARANO:       Objection, Your Honor.         How




                                                                 Page 146
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 147 of 314



     can she be expected to remember something out of 10,000
1




2
     phone calls?

3
              THE COURT:     Overruled.

4
              THE WITNESS:     I never said three.        I never used

5
     the word tickets that I recall -- I never used the word

6
     tickets, I do know that, and I would say one meant 50.

7
     Maybe when I got over there I might have changed my

8
     mind, but one was always a 50.          I'm very clear, and I'm

9
     being very honest with that.         One was 50.      I might have

10
     changed mind when I got there and I confused Ms.

1
     Martin, and that's why in the conversation about 125

12
     maybe I've gotten three.        I don't recall what I did

13
     that day, but I know one is always $50 worth.

14
              BY MS. JOHNSTON:

15
     Q.       And you never ordered three over the phone; is

16
     that right?

17
     A.       No.

18
     Q.       You say you never used the tickets.            Ms. Martin

19
     used the word ticket in talking to you; isn't that

20
     right?

21
     A.       Yes, she did.

2
     Q.       You understood that to refer to a quantity of

23
     cocaine; isn't that correct?

24
     A.       With the word ticket, yes.

25
     Q.       Now, you mentioned Ms. Levi.          You were familiar




                                                                 Page 147
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 148 of 314



     with Ms. Levi from Ms. Martin's house; is that correct?
1




2
     A.      That's correct.

3
     Q.      You had conversations with Ms. Martin about Ms.

4
     Levi; is that correct?

5
     A.      Yes.

6
     Q.      And about her problems being in jail; isn't that

7
     correct?

8
     A.      Only because Ms. Martin, yes, talked about that

9
     with me, yes.

10
     Q.      Ms. Martin told you she was in jail for drugs;

1
     isn't that correct?

12
     A.      I don't remember her saying drugs.             I don't

13
     remember why she told me she was in jail.             I don't

14
     remember that.     I don't recall.

15
     Q.      Do you remember having a discussion with Ms.

16
     Martin about whether it was an old charge from

17
     Montgomery County or whether it was something new and

18
     different?

19
     A.      Ms. Martin might have said that, but I didn't

20
     say that, because I don't know anything about Ms. Levi.

21
     Q.      Do you remember Ms. Martin having those kinds of

2
     conversations about Ms. Levi?

23
     A.      I remember reading them, yes, and they recollect

24
     my memory, yes that she did have conversations about

25
     that.




                                                                 Page 148
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 149 of 314



     Q.      Have you ever had any discussions with Ms.
1




2
     Martin about whether it was an old drug charge or

3
     whether it was something new and different?              Do you

4
     remember that?

5
     A.      I don't recall.       I don't recall her saying drug

6
     charges at all.

7
     Q.      Having other -- do you recall her telling you

8
     that she didn't know whether it was an old drug charge

9
     or something new that had happened?

10
     A.      I don't recall the word "drugs" being used at

1
     all.

12
     Q.      You're telling the ladies and gentlemen of the

13
     jury Ms. Martin told you Ms. Levi was arrested but

14
     never told you what it was for?

15
     A.      That's correct.

16
     Q.      And you didn't ask her what it was for.

17
     A.      That's correct.

18
     Q.      Were you familiar with Ms. Mr. Echarte; is

19
     that's correct?

20
     A.      Is that Julio?

21
     Q.      You knew Mr. Echarte had been arrested in

2
     Florida.

23
     A.      I never knew he was arrested in Florida.

24
     Q.      She never discussed that with you either.

25
     A.      She never discussed him being in Florida.               I




                                                                 Page 149
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 150 of 314



     knew he was in Florida.
1




2
     Q.      You knew he was in jail in Florida.

3
     A.      I knew he was in Florida.

4
     Q.      She never told you he was in jail in Florida?

5
     A.      No.

6
     Q.      You had a conversation with Ms. Martin about Ms.

7
     Levi and Mr. Echarte; isn't that correct?

8
     A.      That's correct.

9
     Q.      That had to do with both of them being involved

10
     in drugs; isn't that correct?

1
     A.      I don't recall seeing drugs in the conversation.

12
     I just know that she said that Julio            thing, and I was

13
     just as shocked.      So, no, I don't know if it was a

14
     reference to drugs.

15
     Q.      I'm not asking about what you recall seeing in

16
     the conversations, I'm asking about your conversations

17
     with Ms. Martin.

18
             Ms. Martin did in fact discuss with you the fact

19
     that Mr. Echarte was in jail and had been arrested in

20
     Florida and that she thought maybe that's why Ms. Levi

21
     was in trouble; isn't that correct?

2
     A.      I don't remember saying -- her telling me that

23
     he was arrested and in jail.         I don't remember that

24
     conversation at all.       I know that she had a -- what I

25
     saw here, I don't remember that.           That's what I




                                                                 Page 150
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 151 of 314



     remember is what I saw on paper.
1




2
     Q.       I'm not interested in on what you saw on paper

3
     here, I'm interested in your conversations with Ms.

4
     Martin about Ms. Levi being incarcerated.             Did she or

5
     did she not tell you that she thought Ms. Levi might

6
     be arrested because of her dealings with Mr. Echarte in

7
     regards to his arrest for drugs in Florida?

8
     A.       I didn't know anything about Gwen dealing with

9
     Mr. Echarte, with her dealings with him.             I had no

10
     prior knowledge of that.

1
     Q.       So Ms. Martin didn't discuss that with you

12
     during those daily calls you had with her?

13
     A.       No, she did not.

14
     Q.       Or during the daily visits you paid to her

15
     house?

16
     A.       No, she did not.

17
     Q.       Now, if I could then -- let's turn to call --

18
     Page 387 of Volume II, which is Call B-4430.              We're

19
     going to play this call, please.

20
              Do you have a transcript in front of you now?

21
     Page 387.    Do you have it in front of you, Ms. Ali?

2
     A.       Yes, I do.

23
     Q.       Then we'll play the call.         Please play it.

24
                     (Recording begins playing at 12:29 p.m.)

25
                     (Recording stops playing at 12:29 p.m.)




                                                                 Page 151
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 152 of 314



             BY MS. JOHNSTON:
1




2
     Q.      When you said, "Did you tell Gwen that?", what

3
     were you asking Ms. Martin, Ms. Ali?

4
     A.      Did she tell Gwen what she just said in a prior

5
     conversation to me.

6
     Q.      What?    What was that?

7
     A.      I don't know.      It's what Ms. Martin says.           I

8
     think Julio told her, I really do, because every time I

9
     talk to Julio's sister, I told -- she would ask me what

10
     I had told the lady.       I haven't.      I don't even      know.

1
     It was brand new, too.        I have seen her, and I didn't

12
     know her.

13
     Q.      And you said, "Did you tell Gwen that?"              Tell

14
     Gwen what?

15
     A.      I don't know.      Tell Gwen what she just said.

16
     Q.      So you asked Ms. Martin if she told Gwen

17
     something you don't know.

18
     A.      Yes.    I'm responding to Ms. Martin's

19
     conversation.

20
     Q.      You felt it was important to find out if Ms.

21
     Martin told Gwen that Julio told on her; is that

2
     correct?

23
     A.      Whatever Ms. Martin did say, I bet you that's

24
     what I asked her and she tells me.

25
     Q.      Did you ask Ms. Martin, would Julio tell on her




                                                                 Page 152
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 153 of 314



     about?
1




2
     A.       No.   The conversation is right here; no, I did

3
     not.

4
     Q.       You weren't interested in knowing why?             You

5
     weren't curious?

6
     A.       No, I was not interested.

7
     Q.       You didn't want to know what Mr. Julio was

8
     involved in?

9
     A.       Ms. Martin talked, and I listened.

10
     Q.       So you didn't ask her about the Julio thing?

1
     A.       No, I did not.

12
     Q.       Well, Ms. Martin said on Page 387, "I think

13
     she's involved in that Julio thing."            You didn't say,

14
     what Julio thing?

15
     A.       No, I did not.

16
     Q.       And you knew Ms. Martin was dealing drugs at the

17
     time; is that correct?

18
     A.       I knew she was dealing drugs with me, yes.

19
     Q.       Well, you knew Ms. Martin -- you knew Ms. Levi

20
     had a history of being involved with drugs; is that

21
     correct?

2
     A.       I had just met Ms. Levi.         I had no idea what Ms.

23
     Levi did.

24
     Q.       You knew Mr. Echarte was involved with drugs

25
     with Ms. Martin previously, didn't you?




                                                                 Page 153
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 154 of 314



     A.      No, I did not know that.
1




2
     Q.      She never discussed her relationship with Julio

3
     with you?

4
     A.      She didn't --

5
     Q.      So she did discuss Julio with you, just not in

6
     front of --

7
     A.      Her relationship with Julio as a boyfriend

8
     girlfriend relationship.

9
     Q.      Not the drug dealings?

10
     A.      I don't know anything about the drugs with Mr.

1
     Julio and Ms. Martin.

12
     Q.      When she said "that Julio thing", you didn't

13
     know what that was about?

14
     A.      I'm just listening to her.          I'm having a

15
     conversation, and I'm just listening.

16
             MS. JOHNSTON:      Please play the rest of it.

17
             (Recording begins playing at 12:32 p.m.)

18
             (Recording stops playing at 12:32 p.m.)

19
             BY MS. JOHNSTON:

20
     Q.      Your question, "Where was she when they got

21
     her?"   What was your question about?

2
     A.      Ms. Martin said she was arrested; I asked where

23
     was she when they got her.

24
     Q.      And then when Ms. Martin said, "She just

25
     introduced them to the people that wanted the recipe to




                                                                 Page 154
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 155 of 314



     the sweet potato pie."
1




2
     A.      I said, "Mm-hmm."       I mean, I just listened.          I

3
     had no idea what Ms. Martin was talking about.

4
     Q.      You didn't say, what do you mean the sweet

5
     potato pie recipe?

6
     A.      I wasn't concerned.

7
     Q.      You didn't want to know; isn't that right?

8
     A.      I wasn't concerned.        I was just listening.         She

9
     was talking, and I was not concerned about it.               I just

10
     listened to her.

1
     Q.      So you didn't want to know what the sweet potato

12
     --

13
     A.      I was not concerned.

14
     Q.      You didn't want to know what the sweet potato

15
     pie had to do with anything.

16
             MR. MONTEMARANO:       Asked and answered.

17
             MR. MCKNETT:      Asked and answered three times.

18
             THE COURT:     Sustained.

19
             BY MS. JOHNSTON:

20
     Q.      All you said in response to that is, "Mm-hmm";

21
     is that right?

2
     A.      That's correct.

23
     Q.      You didn't ask her to explain conspiracy; is

24
     that correct?

25
     A.      No, I did not.




                                                                 Page 155
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 156 of 314



     Q.        This was not the only call where you discussed
1




2
     Ms. Levi's arrest; isn't that correct?

3
     A.        I'm not certain.

4
     Q.        If we could go to Call B-5728 on Page 455,

5
     please, which should be in the last book, Book III.

6
               Do you have that in front of you, Page 455,

7
     ma'am?

8
     A.        Yes, I do.

9
     Q.        That is you and Ms. Martin; isn't that correct?

10
     A.        That's correct.

1
     Q.        Her question was, "Did you want a ticket when

12
     you came out here?"       Is that correct?

13
     A.        That's correct.

14
     Q.        You understood "tickets" there to refer to

15
     drugs; isn't that right?

16
     A.        Yes, but I never answered Ms. Martin.

17
     Q.        The call ended; is that correct?

18
     A.        That's what it says here, yes.

19
     Q.        You don't have any reason to disagree with that,

20
     do you?

21
     A.        Disagree with what?

2
     Q.        With the fact that the call ended.

23
     A.        It ended, yes.

24
     Q.        You understood when she asked you if you wanted

25
     tickets what she was referring to.




                                                                 Page 156
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 157 of 314



     A.      I don't recall where I'm asking Ms. Martin for
1




2
     tickets here or want anything.

3
     Q.      Ms. Ali, you understood when she said, "Do you

4
     want tickets when you come out here?", that she was

5
     referring to drugs; correct?

6
     A.      On this particular day?         I don't know.

7
     Q.      So you don't know whether that refers to

8
     tickets -- drugs.

9
     A.      No.    I don't know what we discussed prior to

10
     that, no, I didn't.       I don't know what the conversation

1
     was prior to this.

12
     Q.      Court's indulgence.

13
             I believe, if you look at your counsel's book,

14
     Page 370 of the defense version of the transcripts,

15
     Call B-5728 is in there.

16
     A.      Is that the call where I was just stopping by?

17
     Q.      Page 370.

18
     A.      What page?

19
     Q.      Page 370.     That would be Call B-5728; is that

20
     correct?   Let me get the right page here.            Call B-

21
     5728; is that correct?

2
     A.      I don't have the page.         I'm confused right at

23
     this moment.

24
     Q.      The defense book, Call B-5728, on Page 370.               Do

25
     you have that in front of you?




                                                                 Page 157
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 158 of 314



     A.      I don't have a 370.
1




2
     Q.      Page --

3
     A.      Oh, that's the insert?         I don't have a 370.

4
             MR. MONTEMARANO:       I believe that was not played,

5
     and it was not in the book.

6
             THE COURT:     All right.      Then skip over that.

7
             BY MS. JOHNSTON:

8
     Q.      We'll mark this as the next miscellaneous

9
     exhibit.

10
             I want to show you what's been marked as the

1
     Government's Miscellaneous Exhibit No. 58.              Is that the

12
     same call number as --

13
             MR. MCKNETT:      May we approach, Your Honor?

14
             THE COURT:     You may.

15
                       (At the bar of the Court.)

16
             MS. JOHNSTON:      This is a transcript that I was

17
     given by defense counsel in the packet of transcripts

18
     that they prepared.       All it does is show that there was

19
     a beep over and that was the --

20
             THE COURT:     It was a what?       I can't hear.

21
             MS. JOHNSTON:      There was a beep that flipped

2
     over into this conversation with Ms. Ali where there

23
     wasn't any additional conversation between the two of

24
     them, and that's the purpose of what I'm doing here.

25
             MR. MONTEMARANO:       Your Honor, I believe Your




                                                                 Page 158
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 159 of 314



     Honor ruled this inadmissible, and I thought that
1




2
     couldn't take place.       We wanted it and it couldn't be

3
     played.     We wanted to use it and Your Honor said we

4
     couldn't.

5
               MS. JOHNSTON:     I don't believe that -- it was on

6
     Page 370 of the original set that they gave to the

7
     court.

8
               MR. MONTEMARANO:     It would be in the big book

9
     right there, Your Honor.

10
               MR. MCKNETT:     I don't have a copy of it, and I

1
     don't recall the call.

12
               MS. JOHNSTON:     It's the copy that counsel gave

13
     to us that I have.

14
               MR. MCKNETT:     Before they were ruled

15
     inadmissible.

16
               MS. JOHNSTON:     I don't believe it was

17
     inadmissible.     I think it's a call that counsel decided

18
     not to play.

19
               MR. MCKNETT:     Your Honor, I have no specific

20
     recollection of this call.

21
               MS. JOHNSTON:     That would be the government's

2
     version, Your Honor.

23
               THE COURT:     This one?

24
               MS. JOHNSTON:     That's the government's version.

25
     They have their own version.




                                                                 Page 159
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 160 of 314



              THE COURT:     I'm sorry.
1




2
              MR. MCKNETT:     It should be just before that.

3
              MR. MONTEMARANO:        Your Honor, I think that may

4
     have been provided to the government in the original

5
     vision of draft transcripts way back when, not in the

6
     full book, nor in the redacted book.            So, this wasn't

7
     even ruled on by the court.         We never sought to admit

8
     it.   We've never had this checked through.

9
              MS. JOHNSTON:     It should be Page 370, Your

10
     Honor.

1
              MR. MONTEMARANO:        It's not in that book.       It

12
     wasn't provided to Your Honor, unless Mr. Krinsky has

13
     the original set of loose transcripts.

14
              MS. JOHNSTON:     The court should have the

15
     original set.

16
              MR. MCKNETT:     Your Honor, it was probably in the

17
     original packet --

18
              THE COURT:     Oh, the one that --

19
              MR. MONTEMARANO:        The draft transcripts.

20
              MR. MCKNETT:     When we had all the possible

21
     transcripts.

2
              MS. JOHNSTON:     No.     It was in the set we got on

23
     July 21st.     It was July 21st that we received it.

24
              THE COURT:     This?

25
              MS. JOHNSTON:     Is that dated July 21st, Your




                                                                 Page 160
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 161 of 314



     Honor?
1




2
              THE COURT:     I've made no ruling on this one.

3
              MS. JOHNSTON:     Right.

4
              MR. MCKNETT:     I stand corrected.        I have no

5
     specific recollection to that call at all.

6
              MS. JOHNSTON:     There is nothing of substance.

7
     In the beginning of it, it shows there's a beep over,

8
     and that's the conversation.

9
              THE COURT:     What's the purpose in playing this

10
     call?

1
              MS. JOHNSTON:     She has said we only gave her

12
     part of the call.      That's the only thing she has to

13
     look at, so I want her to look at the entire call to

14
     see that that was the only portion she's referenced and

15
     that that was the extent of her call with Ms. Martin on

16
     that day.

17
              THE COURT:     This is -- maybe I'm on a different

18
     page here, but this is Call B-5728 and she is not a

19
     party to the conversation.

20
              MS. JOHNSTON:     Your Honor, she is at the end.

21
     What happens here on Page 3 is there is a beep, so it

2
     goes over from call waiting and she says, hello, and

23
     Ms. Martin says this.       This is the part we included.

24
     The rest of the call shows that she wasn't a party to

25
     that.    She has said she doesn't know what "tickets"




                                                                 Page 161
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 162 of 314



     means because she doesn't know what the rest of the
1




2
     conversation is.      I think I'm entitled to show that she

3
     was not part of the --

4
             THE COURT:     You want to let her see the rest of

5
     the conversation --

6
             MS. JOHNSTON:      Exactly.

7
             THE COURT:     -- but not to admit it.

8
             MS. JOHNSTON:      It doesn't have to be admitted.

9
     I don't care one way or the other.

10
             MR. MCKNETT:      My client is not on the rest of

1
     the conversation.

12
             THE COURT:     What?

13
             MR. MCKNETT:      I'm confused as to the purpose of

14
     why this is being offered.

15
             THE COURT:     She's been asked about that

16
     conversation and says that it did say that it was not a

17
     full call and she didn't understand the context of it;

18
     is that right?

19
             MS. JOHNSTON:      That's what she said, she didn't

20
     know what else was said on the conversation because we

21
     only played an excerpt of it.

2
             MR. MCKNETT:      Apparently nothing was said.

23
             MS. JOHNSTON:      That's what I'm trying to

24
     establish.

25
             THE COURT:     I understand your reason for not




                                                                 Page 162
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 163 of 314



     having it read.      Why not look at it to read the balance
1




2
     of the conversation so she can answer the question?

3
             MR. MCKNETT:      My client -- there was no

4
     conversation between my client and Ms. Martin.

5
             THE COURT:     Wait a minute.       How much more do you

6
     have of this witness?

7
             MS. JOHNSTON:      I don't know.       Ten minutes, 15

8
     minutes, 20 minutes.

9
             THE COURT:     All right.      Then we will finish her

10
     cross-examination.

1
                           (Back in open court.)

12
             BY MS. JOHNSTON:

13
     Q.      During that discussion, did you have an occasion

14
     to look at what I've given you as Miscellaneous 58?

15
     A.      Yes.

16
     Q.      And you see there that the -- it's still the

17
     same call, B-5728, as was in the government's exhibit;

18
     isn't that correct?

19
     A.      Yes.

20
     Q.      And the same date and time; is that correct?

21
     A.      Yes.

2
     Q.      And the reference -- no, you're on the wrong

23
     page there.    In the government's book it's B-5728.              If

24
     you need the page number, let me get it for you.               It's

25
     on Page 455.




                                                                 Page 163
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 164 of 314



     A.      Yes.
1




2
     Q.      In looking at B-5728, it's the same date and

3
     time as the government's; isn't that correct?

4
     A.      Yes.    A minute off, yes.

5
     Q.      The parties to that conversation was going on

6
     was somebody from Nationwide and Ms. Martin; isn't that

7
     correct?

8
     A.      That's correct.

9
     Q.      And then it just beeped over; isn't that right?

10
     There was a beep, and it beeped over; isn't that

1
     correct?

12
     A.      Yes.

13
     Q.      That's where the conversation between you and

14
     Ms. Martin takes place; isn't that correct?

15
     A.      That's correct.

16
     Q.      And the extent of that conversation between you

17
     and Ms. Martin is shown on that page; isn't that

18
     correct?

19
     A.      That's correct.

20
     Q.      So there wasn't any additional conversation that

21
     took place in terms of you and Ms. Martin in              Call

2
     B-5728 that's shown on Page 455; is that correct?

23
     A.      That's correct.

24
     Q.      Again, when she said, "Did you want tickets when

25
     you came out here," you're telling us now you don't




                                                                 Page 164
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 165 of 314



     know whether that was cocaine or not?
1




2
     A.        I didn't ask her for anything.         I went to Ms.

3
     Martin plenty of times just to go see her.              She was my

4
     friend.

5
     Q.        When she asked you did you want tickets when

6
     you came out here, was it your understanding she was

7
     asking if you wanted cocaine?

8
     A.        I can't recall that.      I can't say that's what

9
     it's making reference to.

10
     Q.        Now, if we look at Call B-6306 on Page 497 -- do

1
     you have that one in front of you?           It's, again, in

12
     Volume III now.

13
     Q.        Do you have that in front of you?

14
     A.        B-6306?

15
     Q.        B-6306, on Page 497.

16
     A.        Yes.

17
     Q.        In that call you initially talked to her about

18
     Kevin having shoes and about Mother's Day; is that

19
     correct?

20
     A.        That's correct.

21
     Q.        And how her son fixed dinner for her; is that

2
     correct?

23
     A.        That's correct.

24
     Q.        So Ms. Martin was on good terms with her son at

25
     this time, but not with her two daughters; is that fair




                                                                 Page 165
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 166 of 314



     to say?
1




2
     A.        Yes.

3
     Q.        And then as we get on to the next page, Page

4
     498, in the middle of the conversation you say, "All

5
     right.    Well, one this time," and then you say, "What

6
     have you got good over there?          Is he still bringing

7
     clothes?", and this time you referred to cocaine; is

8
     that correct?

9
     A.        Yes.   Probably so, yes.

10
     Q.        Is that yes?

1
     A.        Yes.

12
     Q.        And you didn't explain what it was that you

13
     wanted, "just one this time;" is that correct?

14
     A.        Yes.

15
     Q.        So Detective Sakala was correct when he said

16
     that you were ordering a quantity of drugs from Ms.

17
     Martin when you said "one this time;" is that correct?

18
     A.        What do you mean when you say, "a quantity of

19
     drugs?"

20
     Q.        I said when -- Sergeant Sakala said, all right,

21
     well, one this time --

2
     A.        Are you referring to a quantity as one?

23
     Q.        When, he said that referred to drugs.

24
     A.        Okay, just --

25
     Q.        He was correct?




                                                                 Page 166
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 167 of 314



     A.      That's correct.
1




2
     Q.      And then if we look at Call B-8040, which was a

3
     loose call, so if I could have that exhibit please, B-

4
     8040 which is not in the book but one that was handed

5
     out.   I want you to look at that as well.

6
     A.      I don't have that.

7
     Q.      No.     I'm asking them to get the exhibit for us.

8
     Just bear with me a minute and I'll get it for you.

9
     Q.      While he's looking for that, let us go back to

10
     Book II on Page 265, Call B-2436.           That would be in

1
     Book II.    Do you have that in front of you?

12
     A.      Yes.

13
     Q.      Okay.     If I understood you correctly, Ms. Martin

14
     collected lots of magazines; is that right?

15
     A.      That's correct.

16
     Q.      She had Jet magazine?

17
     A.      She had Jets .     She had a lot of magazines.

18
     Q.      What other magazines did she have?             People

19
     magazine?     I don't know.

20
     A.      No.     If it was a interesting article in there

21
     about somebody she wanted to know about, she would have

2
     had a People .

23
     Q.      She had Jet ; she may have had People ; she may

24
     also have had some magazines about plastic surgery?

25
     A.      Yes.




                                                                 Page 167
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 168 of 314



     Q.        What other magazines did she have?
1




2
     A.        She had magazines with clothing items in it:

3
     Vogue .

4
     Q.        Fashion magazines?      Vogue ?

5
     A.        Catalogs with clothing in it.

6
     Q.        And so she had Vogue magazine, she had some

7
     other fashion magazines, and she had some fashion

8
     clothing?

9
     A.        Yes.

10
     Q.        Some catalogs that would tell you the price, and

1
     it was wholesale prices and the retail prices of

12
     clothes?

13
     A.        Basically.   When you have magazines, they just

14
     tell you where you can purchase them.

15
     Q.        So, it was magazines that showed different

16
     fashions.    And she had magazines about plastic surgery?

17
     A.        Right.   And she had magazines with prices.            I'm

18
     sorry, it was a Neiman-Marcus or Nordstrom's catalog.

19
     Q.        She wasn't buying those from Neiman-Marcus.

20
     A.        She purchased a lot of things from

21
     Neiman-Marcus.     She did a lot of catalog shopping

2
     herself.

23
     Q.        In addition to getting those items from Ms.

24
     West?

25
     A.        Yes.




                                                                 Page 168
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 169 of 314



     Q.      She would use those catalogues in telling Ms.
1




2
     West what she wanted; is that correct?

3
     A.      No.    She would purchase them herself.

4
     Q.      I appreciate Ms. Martin may have sometimes

5
     purchased things, but she also used those catalogs when

6
     she was telling Ms. West what she wanted Ms. West to

7
     get for her.

8
             MR. MONTEMARANO:       Objection, Your Honor.         Basis

9
     for knowledge.     She's already testified she had no

10
     knowledge of which clothing might have come from Ms.

1
     West.

12
             THE COURT:     Rephrase the question.

13
             BY MS. JOHNSTON:

14
     Q.      Are you aware of whether or not Ms. Martin used

15
     those catalogs to pick out things that you might want

16
     from Ms. West or Ms. Levi?

17
     A.      I don't know.      I wasn't there.       I don't know.

18
     Q.      Did Ms. Martin ever discuss with you the

19
     catalogs and tell you that she could get those items

20
     from Ms. West?

21
     A.      No, she did not.

2
     Q.      Let's get back to the magazine, okay?             Do you

23
     have that call in front of you?

24
     A.      Yes, I do.

25
     Q.      So, Ms. Martin had fashion magazines like Vogue;




                                                                 Page 169
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 170 of 314



     she had People; she had Jet ; she had plastic surgery
1




2
     magazines and some catalogs from different stores.

3
     What other kinds of magazines did she have?

4
     A.      She might have had -- I don't recall.

5
     Q.      In that call on Page 265 --

6
     A.      Shoe catalogs and shoe magazines.

7
     Q.      We have six, seven different kinds of magazines;

8
     isn't that correct?

9
     A.      That's correct.

10
     Q.      And so she said, "So, just the one magazine?"

1
     Did you ask her which magazine she was referring to?

12
     A.      No, I did not, but --

13
     Q.      Then you said, what I got --

14
             MR. MCKNETT:      Objection, Your Honor.         She wasn't

15
     finished with her answer.

16
             THE COURT:     Let her finish.

17
             MS. JOHNSTON:      I thought she was finished.

18
             THE WITNESS:      No, I did not, because prior to

19
     that I would go over there and get magazines, the shoe

20
     catalog magazines, the magazines on plastic surgery,

21
     and I would share them with my friends.

2
             BY MS. JOHNSTON:

23
     Q.      Okay.    And in this conversation, all she said to

24
     you was, "Just the one magazine?"           And you, before

25
     responding, said, "That's what you got to make sure;"




                                                                 Page 170
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 171 of 314



     is that correct?
1




2
     A.      Yes.

3
     Q.      And you told us yesterday that -- Friday that

4
     you had to make sure you had money in the bank; isn't

5
     that correct?

6
     A.      That wasn't in reference to this call.

7
     Q.      We'll let the jury's recollection recall.

8
             So you didn't tell her which magazine you

9
     wanted, did you?

10
     A.      No, I didn't.      She didn't ask.

1
     Q.      And your response to her was, "I got to make a

12
     call and make sure;" isn't that correct?

13
     A.      Yes.    Because if I was taking the magazines and

14
     sharing them with other people in reference to the

15
     men's shoes, she was selling and the magazines in

16
     reference to the cellulite information, I would need

17
     maybe one or more.      A lot of times she would like to

18
     keep them at the house, so it may be so I couldn't take

19
     all the catalogs or whatever she had available.

20
     Q.      So now your testimony is not that you had to

21
     call the bank and check on how much money you had but,

2
     rather, you had to call someone else to see what -- how

23
     many magazines you needed; is that correct?

24
     A.      This was not in the call in reference to calling

25
     the bank.




                                                                 Page 171
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 172 of 314



     Q.      Is that what you're telling us now, that you --
1




2
     A.      Yes, I am.

3
     Q.      -- had to call someone to see what magazines

4
     they wanted?

5
     A.      I didn't say I had call someone to see what

6
     magazines they wanted.

7
     Q.      You had to call someone to check on something.

8
     A.      Yes.

9
     Q.      And now it's not the bank, it's to find out --

10
             MR. MONTEMARANO:       Objection, Your Honor.         Asked

1
     and answered.

12
             THE COURT:     Overruled.

13
             BY MS. JOHNSTON:

14
     Q.      To find out something about a magazine?

15
     A.      Yes.

16
     Q.      Without any other reference to a magazine in

17
     this call; isn't that correct?

18
     A.      That's correct.

19
     Q.      If we look at Call B-8040 which, I believe, I

20
     now have, if I haven't misplaced it.            I'll give you the

21
     original exhibit.      Take a moment and look at that.

2
             THE COURT:     What was the call number?

23
             MS. JOHNSTON:      B-8040, Your Honor.         It's not the

24
     book.   It was a call that we added during Sergeant

25
     Sakala's original testimony.




                                                                 Page 172
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 173 of 314



              BY MS. JOHNSTON:
1




2
     Q.       I'm going to put it up on the screen in case

3
     counsel don't have their copy available.             Now, this

4
     call took place, did it not, on May 28; is that right?

5
     A.       That's correct.

6
     Q.       Okay.   And roughly 5:30 in the evening; is that

7
     correct?

8
     A.       That's correct.

9
     Q.       Here on the first page you're talking about jerk

10
     chicken; isn't that correct?

1
     A.       That's correct.

12
     Q.       And then you're talking about some people who

13
     got pink slips at work; is that correct?

14
     A.       Yes.

15
     Q.       However, at the top of that page, she -- you

16
     asked her if you're going to be home this evening, and

17
     she tells you she's going to be there; isn't that

18
     right?

19
     A.       Correct.

20
     Q.       And then you tell her that, something about my

21
     thing, and that you're going to bring her your money

2
     for your clothes; is that correct?

23
     A.       That's correct.

24
     Q.       The money you were taking for -- to her was for

25
     the clothes, as opposed to the drug tab you ran with




                                                                 Page 173
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 174 of 314



     her; isn't that correct?
1




2
     A.      Well, now, sometimes I could have -- I brought

3
     money for clothes but gave her money for the tab, too.

4
     So, I can't say that that's all I gave her money for.

5
     Q.      When you say "my thing", you're telling her you

6
     want to get drugs from her; isn't that right?

7
     A.      That's probably correct.

8
     Q.      When Sergeant Sakala testified that "my thing"

9
     referred to drugs, he was correct.

10
     A.      That's probably correct.

1
     Q.      And the money you were taking to her was for

12
     your running clothes tab; is that correct?

13
     A.      It could have been clothes or both.

14
     Q.      And you did have a tab with her for clothing and

15
     drugs in May of 2004; isn't that correct?

16
     A.      Say that again.

17
     Q.      You did have a tab for her for drugs and clothes

18
     during May of 2004; isn't that correct?

19
     A.      That's correct.

20
     Q.      And she was your only source of cocaine at that

21
     time; is that correct?

2
     A.      Yes.

23
     Q.      And Mr. Walker, who's a friend of hers.              Did you

24
     see Mr. Walker at her house from time to time?

25
     A.      No.    I hadn't seen Mr. Walker in her house since




                                                                 Page 174
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 175 of 314



     she lived at Bexhill Court.
1




2
     Q.      But you saw him there in -- when she lived at

3
     Bexhill Court?

4
     A.      Once or twice.

5
     Q.      You knew he was getting drugs from her?

6
     A.      I assumed that, yes.

7
     Q.      So, you knew that.        You knew she had more than

8
     one person she was selling drugs to; is that correct?

9
     A.      I assumed that she did.

10
     Q.      I think in one of our exhibits at your house,

1
     the drugs actually came in a white bank envelope; is

12
     that correct?

13
     A.      From my house?

14
     Q.      Yes, from your house.         We saw a white bank

15
     envelope.

16
     A.      I wasn't shown that from my house.

17
     Q.      Well, let me --

18
     A.      I go to the bank quite often.

19
     Q.      Did you sometimes get the drugs from her in the

20
     white bank envelope --

21
     A.      No.

2
     Q.      -- folded up so no one would see what you were

23
     getting?

24
     A.      No.

25
     Q.      Would she just hand this to you so Jackie




                                                                 Page 175
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 176 of 314



     wouldn't see or so your husband wouldn't see what she
1




2
     was giving to you?

3
     A.       Yes.

4
     Q.       Once she handed it to you, they went in a little

5
     baggy?

6
     A.       Yes.

7
     Q.       And would she sometimes put them in a white bank

8
     envelope?    Here we go.      Let me see show you Drugs 32.

9
     A.       I might have placed this -- is that a bank

10
     envelope?

1
     Q.       It looks like a white bank envelope to me.

12
     A.       I might have placed it in there.           I don't recall

13
     -- Ms. Martin has never given me a white bank envelope.

14
     Q.       You don't recall getting that from her, even

15
     though that's where the drugs were when the police

16
     recovered it?

17
     A.       I don't recall it being at my house.            Is that

18
     one of my exhibits?

19
     Q.       That's one of the exhibits.

20
     A.       And drugs were in it?

21
     Q.       Yes.   It says, "LaNora Ali, 620 Sheridan Street,

2
     Apartment 415," and here's the little bag of drugs.

23
     A.       I don't recall drugs being in there.            If there

24
     was drugs in there, I placed them in there.              Ms. Martin

25
     did not give me a white bag.




                                                                 Page 176
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 177 of 314



     Q.      So this white bank-type envelope could hold any
1




2
     number of baggies of drugs; is that correct?

3
     A.      It could hold lot of things.

4
     Q.      You knew Mr. Walker was getting drugs.              Did you

5
     make that assumption about Ms. Dobie as well when you

6
     saw her at the house, that she was getting drugs from

7
     Ms. Martin?

8
     A.      No.

9
     Q.      You did recognize that she was under the

10
     influence of heroin from time to time when you saw her

1
     there, didn't you?

12
     A.      No.

13
     Q.      She didn't appear to you to be high on any drugs

14
     when you saw her?

15
     A.      No.    She made reference -- can I make -- being

16
     nodded out.    I never saw her nod out at Ms- -- at Ms.

17
     Martin's.

18
     Q.      That's what she testified to here, but --

19
     A.      Yes.

20
     Q.      -- do you recall having discussions with Ms.

21
     Martin about Ms. Dobie being strung out on drugs --

2
     A.      No.

23
     Q.      -- and talking too much?

24
     A.      I never had discussions with Ms. Martin about

25
     Ms. Dobie being strung out on drugs.




                                                                 Page 177
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 178 of 314



     Q.      And coming over -- about her coming over to                the
1




2
     house and making a nuisance of herself?

3
     A.      About her coming over to the house?

4
     Q.      You knew about her dealings with Mr. Walker, or

5
     you assumed that she was dealing drugs.

6
     A.      I assumed that, yes.

7
     Q.      Did you make that assumption about anyone else?

8
     Ms. Levi?     Mr. Echarte?

9
     A.      No.

10
     Q.      You didn't want to know what other people were

1
     doing; is that correct?

12
     A.      I didn't make that assumption.

13
     Q.      Is it a fair statement that when you saw other

14
     people coming in the house and meeting with Ms. Martin,

15
     that you did not want to know what they were doing with

16
     Ms. Martin?     Isn't that correct?

17
     A.      We would -- we would be there together.              You

18
     know, we would be eating, drinking, and we would -- we

19
     stay there for a period of time.           No, I didn't make

20
     that assumption.

21
     Q.      In addition to your eating and drinking there,

2
     you got drugs from her one, two, three times a week;

23
     isn't that correct?

24
     A.      Not always.      Sometimes one, sometimes twice,

25
     maybe three, according to my mood or the time of year,




                                                                 Page 178
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 179 of 314



     but, yes.
1




2
     Q.      And you did that regularly; correct?

3
     A.      At time, yes.

4
     Q.      And you didn't want to know what the other

5
     people were doing with her in addition.

6
     A.      No.   I wasn't concerned about the other people.

7
     Q.      In addition to them coming there and eating with

8
     her; is that correct?

9
     A.      I was not concerned with what they did.              We

10
     socialized there.

1
     Q.      But you assumed Mr. Walker was getting drugs; is

12
     that correct?

13
     A.      From the past, yes.

14
     Q.      And what about John Martin?          Did you see him

15
     high on drugs?

16
     A.      I've never seen Mr. Martin high.

17
     Q.      So you didn't question why Ms. Martin was upset

18
     about him driving her car with tickets in it?

19
     A.      I don't recall her telling me he drove her car

20
     with tickets.     She was upset that he couldn't have

21
     transportation.

2
     Q.      That he didn't have transportation?

23
     A.      That he didn't have transportation.             She didn't

24
     have transportation, because he had the car.

25
     Q.      Of course, you didn't want to know anymore about




                                                                 Page 179
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 180 of 314



     their relationship; is that fair to say?
1




2
     A.      Excuse me?

3
     Q.      You didn't want to know anything about their

4
     relationship; is that fair to say?

5
     A.      I knew that it was not a great relationship

6
     between the two of them at times.

7
     Q.      So it was sort of like Mr. Echarte?             They didn't

8
     have a relationship, either; is that correct?

9
     A.      It started out with a good relationship.

10
     Q.      I thought you told us a little while ago it

1
     wasn't a good relationship.

12
     A.      I didn't say it wasn't always a good

13
     relationship.

14
     Q.      You didn't question her about how Mr. Echarte

15
     could have gotten Ms. Levi in trouble over the sweet

16
     potato pie recipe.

17
     A.      I didn't know that he knew Ms. Levi.

18
     Q.      Well, you knew that after the telephone call;

19
     isn't that correct?

20
     A.      Yes.    I never questioned it.

21
     Q.      After the telephone call, did you ever question

2
     Ms. Martin about how it was that Mr. Echarte could get

23
     Ms. Levi into trouble over a sweet potato pie recipe?

24
     A.      I never questioned her about it.

25
     Q.      Because you didn't want to know the answer;




                                                                 Page 180
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 181 of 314



     isn't that correct?
1




2
     A.        It wasn't my concern.

3
     Q.        It wasn't your concern, even though Ms. Martin

4
     was supplying you with drugs; is that correct?

5
     A.        That was Ms. Martin's and my business, yes.

6
     Q.        When she told you about the sweet potato pie

7
     recipe causing Ms. Levi problems, you didn't ask

8
     anymore questions about that; is that correct?

9
               MR. MCKNETT:     Objection.     Asked and answered

10
     Your Honor,

1
               THE COURT:     Overruled.

12
               THE WITNESS:     I'm not a police officer, so I

13
     just didn't ask.       It was no need for me to ask.

14
               BY MS. JOHNSTON:

15
     Q.        So, while you're getting drugs from Ms. Martin

16
     in May of 2004, Ms. Martin calls you on the phone on

17
     May 16; isn't that correct?

18
     A.        That's correct.

19
     Q.        And Ms. Martin told you she had to move things

20
     to the school; isn't that correct?

21
     A.        She told me she wanted to take something to the

2
     school.

23
     Q.        Take something to the school.         Something to the

24
     school in bags that contained drugs; isn't that

25
     correct.




                                                                 Page 181
         Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 182 of 314



                MR. MONTEMARANO:       Objection, Your Honor.         We've
1




2
     been over this.         Asked and answered.

3
                THE COURT:     Overruled.

4
                THE WITNESS:      That's what you're saying, Ms.

5
     Johnston.       That's not what I'm saying.

6
                BY MS. JOHNSTON:

7
     Q.         Well, when she said, "I need to take things to

8
     the school," did you ask her what things.

9
                MR. MCKNETT:      Objection, Your Honor.         It's not

10
     what Martin said.

1
                MS. JOHNSTON:      Let me get to the call on May 16,

12
     and we can play the call so we're all on the same page.

13
                Court's indulgence one moment.           That would be

14
     Call A-1670, on Page 525; that's in Volume III.

15
                Do you have that in front of you?

16
     A.         No, I don't.

17
     Q.         It's Page 525 in Volume III of the government's

18
     book.      If we could cue that up, because I want to play

19
     that.      If we could please play this call.

20
                        (Recording begins playing at 1:01 p.m.)

21
                        (Recording stops playing at 1:01 p.m.)

2
                BY MS. JOHNSTON:

23
     Q.         Mr. Martin told you that you had to leave your

24
     husband at home; isn't that correct?

25
     A          She said to leave my husband at home.




                                                                    Page 182
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 183 of 314



     Q.      And you didn't ask her why you had to leave your
1




2
     husband at home, did you?

3
     A.      No.   No, I did not.

4
     Q.      You didn't think it was unusual, when your

5
     husband would go with you over to Ms. Martin's house,

6
     that she would tell you to leave your husband at home?

7
     A.      No.

8
     Q.      And it didn't cause you to say, well, what are

9
     we doing that I can't -- my husband can't find out

10
     about it, did you?

1
     A.      No, I didn't.      Ms. Martin never -- really never

12
     asked, though, to do a lot of things for her.               So, when

13
     she asked me this, I just assumed, you know, she didn't

14
     need my husband.      My husband was involved in sports and

15
     watched a lot of sports, and it was a Sunday, and that

16
     was his time.

17
     Q.      Well, she didn't say, well, your husband doesn't

18
     have to come with you.        She told you to leave         him at

19
     home; is that correct?

20
     A.      Yes, she did.

21
     Q.      You never questioned why he had to stay at home?

2
     A.      No, I did not.

23
     Q.      When she hesitated and said she had to take

24
     something there, you didn't ask her what is that;

25
     correct?




                                                                 Page 183
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 184 of 314



     A.      This's correct.
1




2
     Q.      But you went over to her house immediately;

3
     isn't that right?

4
     A.      Yes, I did.

5
     Q.      Dropped everything and went to her house;

6
     correct?

7
     A.      Yes, because she's a friend.           She said she

8
     wanted me to do something for her and I did.

9
     Q.      And in this call -- this a friend who was

10
     selling you cocaine; isn't that right?

1
     A.      That's correct.

12
     Q.      And in this call she tells you basically to lie

13
     to Ms. Terrell; isn't that correct?

14
     A.      Yes.

15
     Q.      Okay.    And she tells you, just tell her -- just

16
     say so something when you walk in, not even tell her

17
     but just say something.        Paula, you got those that we

18
     were gonna go show our girlfriend.

19
     A.      That's correct.

20
     Q.      You didn't ask her, why do I have to say

21
     anything?

2
     A.      I didn't say anything to Ms. Terrell.             I didn't

23
     lie to Ms. Terrell; I didn't say anything to her.

24
     Q.      My question to you is this:          When Ms. Martin

25
     told you to come up -- to make this false statement




                                                                 Page 184
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 185 of 314



     when you walked in the house, you didn't ask Ms. Martin
1




2
     why, did you?

3
     A.       We had a conversation when I got to the house in

4
     the truck.

5
     Q.       Did you ask her why --

6
     A.       I didn't ask her why in the phone call, because

7
     I felt what she was asking me -- she wanted me to do

8
     her a favor, and I dropped things and I did her a

9
     favor.

10
     Q.       Because you owed her money for your drugs; isn't

1
     that right?

12
     A.       No.

13
     Q.       Well, you didn't ask her why you had to lie in

14
     front of Ms. Terrell, did you?

15
     A.       No, I did not.

16
     Q.       When you got to the house, she had some bags and

17
     you helped her carry the bags out and these were two of

18
     the bags that you all took out of the house that day;

19
     is that correct?

20
     A.       You say there were two bags.          I don't recall

21
     those two bags, and I don't recall those being the

2
     bags, but that's what you say.          I don't recall those as

23
     being the bags.

24
     Q.       Describe the bags that you recall.

25
     A.       I don't recall the bags.         I knew I had a bag and




                                                                 Page 185
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 186 of 314



     I had it in one hand, but I cannot say that those are
1




2
     the bags that I brought out of the house.

3
     Q.      How many trips did you make with bags to the

4
     school with Ms. Martin on may 20, 2004?

5
     A.      One day on this day.

6
     Q.      Well you describe the bags that you recall,

7
     then.

8
     A.      I just told you, Ms. Johnston, I don't recall

9
     the bags.     I cannot say those were the bags.           I do

10
     admit that I had a bag, but I cannot say that those

1
     were the bags.

12
     Q.      And you can't say that those are not the bags,

13
     can you?

14
     A.      I can't say -- if I'm not mistaken, I thought it

15
     was -- I thought I carried a zippered bag, if I'm not

16
     mistaken.     Not a colorful bag -- a dark-colored bag,

17
     not a bag like that time.         I might be mistaken, but

18
     that's not the bags I recall.

19
     Q.      A big black duffel bag kind of bag?

20
     A.      No.    Maybe a bag about this big (Witness

21
     indicating).     The size of the green one maybe, but not

2
     a duffel bag.

23
     Q.      Ms. Martin carried bags out with you as well.

24
     A.      I think she did.       I think she had a bag and I

25
     had a bag.




                                                                 Page 186
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 187 of 314



     Q.      And you put them in the car?
1




2
     A.      That's correct.

3
     Q.      And you took them down to the school?

4
     A.      Yes.

5
     Q.      And you never asked her why you were moving

6
     things down to the school?

7
     A.      We had already had prior discussions about that.

8
     She was concerned about someone coming into the house

9
     in reference to the clothing that Kevin had -- was

10
     bringing in.

1
     Q.      The clothing was still in her house, isn't that

12
     correct, in her basement?

13
     A.      No.    Most of it -- a lot of it was gone.

14
     Kevin's clothing was gone.

15
     Q.      There were racks of clothes in her basement.

16
     A.      Yes.    She was concerned about people, if they

17
     came in there, that she didn't want certain things

18
     destroyed or misplaced or torn up, and that's what I

19
     assumed was in the bags, things that she just did not

20
     want misplaced.

21
     Q.      She didn't tell you she was moving the ticket

2
     business to the school?

23
     A.      No, she did not.

24
     Q.      And you are her very close friend who saw her on

25
     a day-to-day basis, and she never mentioned that she




                                                                 Page 187
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 188 of 314



     had to move the tickets to the school.
1




2
     A.      No, she did not.

3
     Q.      She told Ms. Harden that, she told Ms. Dobie

4
     that, she told Mr. Walker that and Mr. Harris that, and

5
     you heard all of those calls.

6
     A.      Like I said, she kept things from me.             She told

7
     them, but she not tell me, and that's very obvious in

8
     the transcripts.

9
     Q.      That was -- you heard those calls here --

10
     A.      Yes.

1
     Q.      -- where she told all of those people?              And you,

12
     whom she met with on a daily basis, she didn't tell?

13
     A.      Do friends tell people everything, Ms. Johnston?

14
     She was my friend.      Certain things she discussed with

15
     me and certain things she did not.           You can tell by the

16
     conversations, she had different conversations with me,

17
     other than what she had with         other people.

18
     Q.      What was the thing that she took to your house

19
     that day?

20
     A.      I don't know what she took to my house that day.

21
     I didn't see her come out of the studio with anything.

2
     Neither one of us had bags.

23
     Q.      Well, when she told you in that call on A-1670,

24
     on Page 525, then I'm gonna pass your house and take

25
     something.




                                                                 Page 188
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 189 of 314



     A.      She said that, but I didn't see her bring
1




2
     anything.

3
     Q.      And she didn't take anything into your house.

4
     Is this the black bag?

5
     A.      I can't say that's the bag, either.

6
     Q.      So you don't know what the bag was?

7
     A.      No, I don't.

8
     Q.      You didn't bother looking in it, and you didn't

9
     bother asking her --

10
     A.      It was not my bag.

1
     Q.      You weren't worried about what was in the bag.

12
     A.      No, I wasn't.

13
     Q.      When she said she was going to take something

14
     past your house, you didn't ask her what it was.

15
     A.      No.   I assumed she came --

16
             MR. MCKNETT:      Objection, Your Honor.         It's not

17
     in the transcript.

18
             THE COURT:     Rephrase the question.

19
             BY MS. JOHNSTON:

20
     Q.      When she said she's going to come past your

21
     house and take something, she didn't take anything.

2
     A.      I didn't see anything in her hands.

23
     Q.      You didn't see her bring anything in or take

24
     anything out.

25
     A.      I didn't see her bring anything in or take




                                                                 Page 189
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 190 of 314



     anything out.
1




2
     Q.      Then when she tells everyone else about moving

3
     the ticket business to the school, she didn't tell you

4
     that?

5
     A.      She told everyone, again, but she did not tell

6
     me.

7
     Q.      Okay.    Well, do you recall, Call B-7224 on Page

8
     563 of the calls?

9
     A.      Page 563?

10
     Q.      Yeah, on Page 563 of that last book, the one you

1
     have in front of you.       You were curious, were you not,

12
     about that meeting and what happened?

13
     A.      Yes.

14
     Q.      And you asked her about the meeting.

15
     A.      Yes.

16
     Q.      And she told you that it really had to do with

17
     Kevin's business and people coming in and out of the

18
     house frequently for that; is that correct?

19
     A.      That's correct.

20
     Q.      And that she wasn't going to question Jackie

21
     upstairs, because she didn't want to stress her out

2
     about it; is that correct?

23
     A.      That's correct.

24
     Q.      She didn't want Jackie knowing about her drug

25
     business; is that correct?




                                                                 Page 190
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 191 of 314



     A.        It doesn't say that, no.
1




2
     Q.        I'm asking you that question.         In your

3
     conversations with Ms. Martin, after you moved the

4
     stuff to the school, when you went over to her house

5
     and conversed with her --

6
     A.        I did not know -- I did not move drugs to the

7
     school.

8
     Q.        After you moved the things to the school, did

9
     you have a conversation with her at the house about the

10
     meetings that were going on?

1
     A.        Yes.

12
     Q.        Okay.   And she -- but she never told you that it

13
     was the ticket business you moved to the school.

14
     A.        She never told me.

15
     Q.        And you never asked her that question?

16
     A.        I never asked her that question.

17
     Q.        When she told you in one of the very last calls

18
     that we played that she had already been to the school

19
     when you wanted dresses, you didn't understand that she

20
     had already been there to give drugs to Ms. Dobie; is

21
     that correct?

2
     A.        That's correct.

23
     Q.        So you didn't know why she went to the school;

24
     is that correct?

25
     A.        That's correct.




                                                                 Page 191
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 192 of 314



     Q.      And you didn't ask her what did the school have
1




2
     to do with Ms. Dobie.

3
     A.      Why was that my business?          That was not my

4
     business.    I did not ask her that.

5
     Q.      That would be on Call B-7365 on Page 577.

6
     A.      I didn't hear the number.

7
     Q.      Call B-7365, on Page 577.          Do you have that call

8
     in front of you, or could you please get it in front of

9
     you?

10
             When she tells you that she's waiting on Becky

1
     to pick it up and that she's got to go past the school

12
     for something, you didn't ask her what she had to go

13
     past the school for.

14
     A.      No, I did not.

15
     Q.      You knew she had her drugs there; isn't that

16
     correct?

17
     A.      No, I did not know that.

18
     Q.      Or you didn't want to know.

19
     A.      I did not know that.

20
     Q.      You didn't want to -- okay.          Did you ask her why

21
     she had to go past the school?

2
     A.      No, I did not ask her.

23
     Q.      Because you didn't want to know why.

24
     A.      It wasn't my concern.

25
     Q.      It wasn't your concern why she went by the




                                                                 Page 192
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 193 of 314



     school -- why she had to go by the school with Becky.
1




2
               MR. MCKNETT:     Objection.     Asked and answered.

3
               THE COURT:     Overruled.

4
               BY MS. JOHNSTON:

5
     Q.        Is that correct?

6
     A.        That's correct.     I know.     What am I saying

7
     that's correct?      You keep repeating the same thing over

8
     again.    It was not my concern why she was going             to the

9
     school.

10
     Q.        Your only concern was to make sure that Ms.

1
     Martin had cocaine to continue to give you on a tab; is

12
     that right?

13
     A.        No, it's not right.

14
     Q.        Well, you did have a tab with her then; isn't

15
     that right?

16
     A.        Yes, I did have a tab.

17
     Q.        And you continued to get drugs from her until

18
     the time she was arrested; isn't that right?

19
     A.        That's correct.

20
     Q.        You would have continued to get drugs after that

21
     if she hadn't been arrested; isn't that right?

2
               MR. MCKNETT:     Objection, Your Honor.

23
               THE COURT:     Sustained.

24
               BY MS. JOHNSTON:

25
     Q.        You didn't take any dresses to the school when




                                                                 Page 193
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 194 of 314



     you took those bags down there, did you?
1




2
     A.        I don't know what was in the bags, Ms. Johnston.

3
     Q.        And you didn't ask what was in the bags;

4
     correct?

5
     A.        No, I did not.

6
     Q.        Well, then on Call B-8110 on May 29 on Page 612.

7
     When you told her you needed another dress, Ms. Martin

8
     told you she had already been to the school; isn't that

9
     right?

10
     A.        But you keep leaving it out.         It's another part

1
     to that.     "I need another dress, the one with the

12
     ties."     You keep saying that it made reference to I

13
     needed another dress:       Another sundress.        I needed

14
     another dress.

15
     Q.        Just so we're clear here, what it says is,

16
     "Okay.     Yeah.   So with the ties for --", and you didn't

17
     finish what the ties were for, did you?

18
     A.        The ties were -- they tied around.           The

19
     sundresses tied around the neck.

20
     Q.        What did that have to do with her being in the

21
     school?

2
     A.        I have no idea.     She said that.       She's telling

23
     me what her day was like.         People have conversations.

24
     You talk to people about what their day was like.                She

25
     says, I've been to the school already.            I didn't ask




                                                                  Page 194
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 195 of 314



     her if she had been to the school.
1




2
     Q.      She interrupted you.

3
     A.      Yes, she did.      She interrupted a lot of people

4
     on conversations when we weren't able to follow the

5
     conversation, because she interrupted and said

6
     something, not just this conversation.

7
     Q.      And you didn't continue with any further

8
     description; isn't that correct?

9
     A.      No, I did not.       After that, okay, yeah, so with

10
     the ties, and it was an interruption there.

1
     Q.      You can't explain to us why she would have to go

12
     to the school to get you a sundress with ties, can you?

13
             MR. MCKNETT:      Objection, Your Honor.

14
             THE COURT:     Sustained.

15
             BY MS. JOHNSTON:

16
     Q.      She wasn't storing dresses at the school, was

17
     she?

18
             MR. MCKNETT:      Objection, Your Honor.

19
             MR. MONTEMARANO:       Basis for knowledge.

20
             THE COURT:     If she knows.

21
             THE WITNESS:      I don't know.

2
             BY MS. JOHNSTON:

23
     Q.      You didn't carry any dresses to the school on

24
     May 16, did you?

25
             MR. MONTEMARANO:       Asked and answered.




                                                                 Page 195
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 196 of 314



             THE COURT:     Sustained.
1




2
             BY MS. JOHNSTON:

3
     Q.      Court's indulgence.

4
             You didn't have to go to the school on prior

5
     occasions when you bought the black dinner dress from

6
     Ms. Martin, did you?

7
     A.      I didn't buy a black dinner dress.

8
     Q.      You discussed with her --

9
     A.      I asked about that.        I didn't purchase it.

10
     Q.      You never had to go to the school whenever you

1
     purchased clothes from Ms. Martin; isn't that correct?

12
     A.      No, that's not correct.         You mean clothes on --

13
     were there clothes on display at the school?

14
     Q.      No.   My question to you is, I believe you

15
     testified this morning before the break that you went

16
     to the school once with her to take something there on

17
     May 16, and other than that you would get food at the

18
     carryout and bring it over there and eat it in the

19
     reception area.      Do you recall that testimony this

20
     morning?

21
     A.      Yes, I do.     There was a carryout next door to

2
     the school.

23
     Q.      Are you now telling us that in addition to

24
     taking food from the carryout and then eating it in the

25
     reception area, you also went to her school to pick up




                                                                 Page 196
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 197 of 314



     clothing?
1




2
     A.      No, I'm not telling you that.           No.

3
     Q.      Or to look at clothing?

4
     A.      I'm not telling you that, no.           I'm not telling

5
     you I looked at clothing at the school, no.

6
     Q.      So you never had to go to the school to buy

7
     clothing from her; isn't that right?

8
     A.      No.

9
     Q.      It was only after May 16 when she had moved her

10
     business down there -- her tickets down there that you

1
     ended up having to go there; isn't that right?

12
     A.      That's the only day that I recall being at that

13
     studio in the last two years or so -- a year or so.

14
     Q.      So you never had to go to the school before May

15
     16 to get clothes; is that correct?

16
             MR. MARTIN:      Objection.     Asked and answered.

17
     Asked and answered.

18
             THE COURT:     Sustained.

19
             BY MS. JOHNSTON:

20
     Q.      And you didn't ask her any questions when she

21
     told you about the sweet potato pie recipe; is that

2
     correct?

23
     A.      The sweet potato pie recipe in reference to?

24
     Q.      Mr. Echarte.

25
     A.      No, I did not.




                                                                 Page 197
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 198 of 314



     Q.      You didn't ask her any questions concerning Mr.
1




2
     Philpot's arrest; is that correct?

3
     A.      It was not my concern.         I wasn't concerned about

4
     Mr. Philpot and his arrest.

5
     Q.      You didn't ask her any questions when she asked

6
     you to hold that suitcase full of over $100,000 in

7
     cash; is that correct?

8
             MR. MONTEMARANO:       Objection, Your Honor.

9
     Assuming facts not evidence.         She had no knowledge of

10
     the money.

1
             THE COURT:     Sustained.

12
             BY MS. JOHNSTON:

13
     Q.      You didn't ask her any questions when she asked

14
     you to hold that suitcase; is that correct?

15
             MR. MONTEMARANO:       Objection, Your Honor.         You

16
     just sustained that question.

17
             MS. JOHNSTON:      I didn't ask what was inside.               I

18
     changed the question.

19
             THE COURT:     Overruled.

20
             THE WITNESS:      She asked my husband and if we

21
     would hold the suitcase, and we agreed.

2
             BY MS. JOHNSTON:

23
     Q.      You didn't ask her any questions about why she

24
     had had to keep coming back and going through that

25
     suitcase, did you?




                                                                 Page 198
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 199 of 314



     A.      She was moving back and forth.           She was
1




2
     unsettled, and she asked us to hold it until her house

3
     was built.

4
     Q.      And when she offered to put you on a tab for

5
     your cocaine sells, you didn't ask her any questions

6
     about that.

7
     A.      If she offered to put me on a tab?

8
     Q.      When she offered to run a tab for your cocaine

9
     purchases, you didn't ask her any questions about why

10
     she was doing that.

1
     A.      I don't recall asking her any questions.              Maybe

12
     I did in reference to, are you certain this is what you

13
     want to do, but I don't recall.

14
     Q.      You didn't ask any questions what about dealings

15
     she was having with Ms. Dobie; is that correct?

16
     A.      That's correct.

17
     Q.      You didn't ask her any questions about what her

18
     dealings were with Mr. Harris; is that correct?

19
     A.      That's correct.

20
     Q.      You didn't ask her what her dealings were with

21
     Mr. Walker; is that correct?

2
     A.      That's correct.

23
     Q.      Even though you assumed at he was getting drugs

24
     from her.

25
     A.      Yes.




                                                                 Page 199
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 200 of 314



     Q.        You didn't ask her any questions about Steven
1




2
     Brim's son, Nathan King, when he got arrested; is that

3
     correct?

4
     A.        That's correct.

5
     Q.        She did tell you he had been arrested, though;

6
     isn't that correct?

7
     A.        Yes.

8
     Q.        Okay.   So you knew Mr. King had gotten arrested,

9
     but you didn't ask any questions about why he had

10
     gotten arrested; is that correct?

1
     A.        That's correct.

12
     Q.        Because you didn't want to know; isn't that

13
     correct?

14
     A.        It was none of my business.

15
     Q.        Then when she asked you on May 16 to come

16
     without your husband and move bags of things down to

17
     the school, you don't ask her any questions about why,

18
     do you?

19
               MR. MONTEMARANO:     Objection.      Asked and

20
     answered.

21
               THE COURT:     Overruled.

2
               THE WITNESS:     No, I did not.      Being a friend, I

23
     didn't think I was doing anything wrong.             She asked me

24
     to take something, and that's what I did.

25
               BY MS. JOHNSTON:




                                                                 Page 200
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 201 of 314



     Q.      Even though at that time you were getting
1




2
     cocaine from her.

3
     A.      I did not know that there were drugs in that

4
     bag.   If that's what you're saying, no, I did not.

5
     Q.      My question to you is:         At that time, you were

6
     getting cocaine from her.

7
     A.      Say that again.

8
     Q.      You were getting cocaine from her at that time;

9
     is that correct?

10
     A.      Yes, I was.

1
     Q.      And you also ran a tab with her at that time; is

12
     that correct?

13
     A.      That's correct.

14
     Q.      And yet you didn't see fit to ask her any

15
     questions about what it was she had to move to the

16
     store and lie to Ms. Terrell about; is that correct?

17
             MR. MCKNETT:      Objection.      Asked and answered,

18
     Your Honor.

19
             MR. WARD:     At least five times, Your Honor.

20
             THE COURT:     Sustained.

21
             MS. JOHNSTON:      I have nothing further.

2
             THE COURT:     All right.      Ladies and gentlemen,

23
     we'll take a recess until 2:30.

24
             Counsel, please remain behind.

25
                     (Jury excused at 1:18 p.m.)




                                                                 Page 201
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 202 of 314



             THE COURT:     Counsel, please return here at 2:15,
1




2
     and we can discuss at that time any remaining questions

3
     on the instructions.       We'll be working on the verdict

4
     form and the instructions during the lunch break, and I

5
     want to be able to discuss them with you at that time.

6
                           (Off the record at 1:19 p.m.)

7
                           (On the record at 2:21 p.m.)

8
             THE COURT:     Counsel, let me review a couple of

9
     things with you that I've done during the lunch break.

10
     First of all, within a matter of half an hour or so at

1
     the most, I will hand out a revised verdict form.                 The

12
     verdict form has been revised to take into account the

13
     matters I discussed earlier with you so that we include

14
     the lesser included offense instruction on conspiracy

15
     as to the defendants Dobie and Ali only, and a lesser

16
     included offense instruction for the defendant Ali only

17
     on the possession with intent to distribute count.                 The

18
     changes are otherwise not remarkable.

19
             We are also working on a chart of the counts

20
     that we'll have available to you sometime.              I can't

21
     promise on that one.       I didn't work on that at lunch,

2
     but a copy of that will probably be given to me to look

23
     at this afternoon.      I'll give that to you, as well.

24
             With regard to the instructions.            I have -- if

25
     you've got your copy of the instructions in front of




                                                                 Page 202
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 203 of 314



     you.   Now, the copy that I handed out to you last
1




2
     Friday, I believe, for appellate review purposes, has

3
     been docketed as Paper 893.         For record purposes, what

4
     I'm talking about is the version of the instructions

5
     that are in the docket as proposed instructions at 893.

6
     If you will turn to Page 60, at the end of instruction

7
     45, and right before instruction 46, is appropriate

8
     placement, I believe, for the instruction requested by

9
     Ms. Dobie and which I have expanded to include Ms. Ali.

10
     I'll read it to you, but I'm going to give it to you in

1
     clean form before it's read.         Mr. Ward is following

12
     along on his copy and will be able to see the changes

13
     that I've made as I go.

14
             In some cases, the law a defendant is charged

15
     with breaking actually covers two separate crimes.                 One

16
     is more serious than the second, and the second is

17
     generally called a "lesser included offense."               As I

18
     have previously advised you, Count One charges the

19
     defendants Lavon Dobie and LaNora Ali with conspiracy

20
     to distribute and possess with intent to distribute

21
     controlled substances, and I have explained to you the

2
     elements which the government must prove beyond a

23
     reasonable doubt before you may convict either of them

24
     of that crime.

25
             If you find that the government has not




                                                                 Page 203
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 204 of 314



     satisfied its burden of proof on any of those elements,
1




2
     then you should render a verdict of not guilty.

3
     However, you must then proceed to determine whether Ms.

4
     Dobie or Ms. Ali has committed the lesser crime of

5
     conspiring to possess a controlled substance.               In order

6
     for Ms. Dobie or Ali to be found guilty of the lesser

7
     crime of conspiring to possess a controlled substance,

8
     the government must still prove, et cetera.              It's the

9
     same to the end that Mr. Ward submitted.

10
               With regard to the lesser included offense

1
     instruction on the charge of possession with intent to

12
     distribute, I believe that the appropriate place to put

13
     that would be on Page 71, at the end of instruction 53

14
     and before instruction 54.         The way that instruction

15
     would read as modified would be as follows:              As I

16
     mentioned earlier, in some cases the law a defendant is

17
     charged with breaking actually covers two separate

18
     crimes.    One is more serious than the second, and the

19
     second is generally called a "lesser included offense."

20
               Counts 45 and 56 of the indictment charges the

21
     defendant LaNora Ali with possessing with intent to

2
     distribute certain controlled -- controlled substances,

23
     and I have explained to you the elements which the

24
     government    must prove beyond a reasonable doubt before

25
     you may convict her of that crime.           If you find that




                                                                 Page 204
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 205 of 314



     the government has not satisfied its burden of proof on
1




2
     any of those elements, then you should render a verdict

3
     of not guilty.     However, you must then proceed to

4
     determine whether Miss Ali has committed the lesser

5
     crime of possessing a controlled substance.

6
             In order for Ms. Ali to be found guilty of the

7
     lesser crime of possessing a controlled substance, the

8
     government must still prove beyond a reasonable doubt,

9
     in accordance with my earlier instructions to you

10
     defining possession that she (1) possessed a controlled

1
     substance and (2) that she knew that she possessed a

12
     controlled substance.

13
             That would be how I would do the lesser included

14
     on Ms. Ali.

15
             MS. JOHNSTON:      Your Honor, I don't believe the

16
     lesser included offense instruction applies to Count

17
     56, which is a count that charges her with possession

18
     with intent to distribute the drugs which were moved on

19
     May 16 from the home to the school.            Ms. Ali has

20
     claimed no knowledge whatsoever of those drugs.               There

21
     is no evidence from which this jury could conclude

2
     simple possession.

23
             We don't have any objection to the instruction

24
     as it applies to the earlier possession with intent to

25
     distribute count, but in terms of Count 56, there




                                                                 Page 205
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 206 of 314



     simply is no evidence from which this jury could find
1




2
     that she simply possessed the drugs that were moved to

3
     the school.    They were packaged for distribution, there

4
     were scales included in those boxes, there was crack

5
     cocaine, cocaine and heroin, and Ms. Ali specifically

6
     has denied any knowledge of those drugs.

7
               So, it's not a question of there being evidence

8
     to support simple possession when it comes to Count 56,

9
     so we would ask the court not to confuse the jury by

10
     giving them an instruction of simple possession in

1
     terms of Count 56.       I think that it is appropriate with

12
     reference to the earlier count, because she has said

13
     she's merely possessed the drugs for use.             But as to

14
     that date, she makes no claim whatsoever.

15
               THE COURT:     Let me hear from Mr. McKnett.

16
               MR. MCKNETT:     Your Honor, could I have just a

17
     second?

18
               MR. WARD:    Excuse me.     I'm sorry, what page

19
     would that second instruction go?

20
               THE COURT:     The one that doesn't apply to your

21
     client?

2
               MR. WARD:    No, the one relating to the others,

23
     the possession of intent and possession.

24
               THE COURT:     That would go on Page -- it would go

25
     on Page 71, Mr. Ward, after 53 and before Count --




                                                                 Page 206
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 207 of 314



     instruction 53.
1




2
             MR. WARD:     Thank you.

3
             THE COURT:     Mr. McKnett.

4
             MR. MCKNETT:      Your Honor, with regard to the May

5
     16 count.

6
             THE COURT:     Count 56.

7
             MR. MCKNETT:      Count 56.     The problem I have

8
     there is that there was a specific quantity of drugs

9
     alleged in that count.        I'm having trouble thinking

10
     this through logically, but I think the lesser included

1
     instruction should apply there because there is no

12
     evidence as to how much drugs, if any, were in those

13
     two bags, whatever it was.

14
             THE COURT:     If you accept the government's

15
     theory, though, there was a lot.

16
             MS. JOHNSTON:      I believe the verdict form says,

17
     if you find her guilty of that count what is the

18
     quantity of crack cocaine.

19
             THE COURT:     Correct.     I know.     They have to find

20
     that based on the evidence and the inference from the

21
     evidence.    My question to you is, what is the position

2
     -- the government is saying that, granted, there may be

23
     a basis for a lesser included offense instruction on

24
     Count 45 in light of her testimony and her defense that

25
     she was a mere user and was not involved in and never




                                                                 Page 207
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 208 of 314



     intended to possess with intent to distribute, but they
1




2
     don't believe that that -- that the testimony that's

3
     been generated so far has been sufficient to raise a

4
     basis for me to give a lesser included offense on Count

5
     56.

6
             MR. MCKNETT:      Your Honor, I hadn't anticipated

7
     this argument.     I apologize for talking while I think;

8
     it's dangerous.

9
             THE COURT:     We all do that.

10
             MR. MCKNETT:      My concern is the allegation in

1
     Count 56 is a gram or more quantity of crack cocaine.

12
     I think the lesser offense with regard to Count 56

13
     would be powder cocaine.        To that extent, I think I

14
     have a valid basis for requesting that the lesser

15
     included offense instruction be given with regard to --

16
             THE COURT:     Let me do this.       I left my copy of

17
     the indictment downstairs, so I will have to take a

18
     look at it to see what the answer is.            I don't want to

19
     delay the jury at all.        I want to have them in here at

20
     2:30, because I want to get the testimony wrapped up,

21
     because we will have to take a break again at the end

2
     of testimony if I'm going to instruct today.

23
             Let me explain what the timetable is.             I am

24
     advised today, assuming I get off and running with my

25
     instructions, that the jury can stay as late as 5:30 to




                                                                 Page 208
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 209 of 314



     a quarter to six but not later, because one of the
1




2
     jurors has an appointment they have to be at.               I am

3
     advised the jury is capable of coming in as early as

4
     8:30 tomorrow and going until 6:00.

5
             I'm not going to make a decision today whether

6
     I'm going to instruct today or not.            I am prepared to

7
     instruct, and I will have another conference before I

8
     do so, but I'm not sure how much more examination there

9
     is going to above Ms. Ali, and I don't know how long

10
     the government's rebuttal witness is going to take, so

1
     I don't want to make a decision until the government

12
     says they rest their rebuttal case and see where we

13
     are.   I would very much like to instruct today.              If I

14
     can't, then I will be instructing at 8:30 in the

15
     morning.

16
             The other thing -- no, I think that covers

17
     everything.

18
             Any other preliminary matters before we bring in

19
     jury in?   I intend to give the jury orally an

20
     explanation of the verdict form, and if something has

21
     to be held over today and if I'm running late on the

2
     instructions, I'll do the explanation of the verdict

23
     form tomorrow.

24
             I also intend to tell them that it is not our

25
     practice or our capability to provide them with




                                                                 Page 209
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 210 of 314



     transcripts, that they should consider the testimony as
1




2
     a whole and not focus on any one particular witness, in

3
     any event, but they should not anticipate receiving

4
     transcripts.

5
             I will tell them that, because I think they were

6
     concerned about what happens if there's any questions

7
     that the questions would be answered by the              judge who

8
     is assisting in my absence and might involve input from

9
     me.   Still, any questions that happen while I'm here,

10
     I'll dispose of any questions.          If I'm not here, that

1
     will be done by a substitute judge in consultation with

12
     me.

13
             I also intend to have available for you to look

14
     at today the chart of the charges, and I would give

15
     that to them simply as an aid to understanding your

16
     closing argument.      I'll make certain you're all

17
     satisfied that it is accurate before I give it to them.

18
             Anything further?       We'll bring in the jury.

19
             MR. SUSSMAN:      Just housekeeping.        Do you have

20
     like a drop dead time where you wouldn't start

21
     instructions today?

2
             THE COURT:     No, because I don't want to

23
     encourage there being a drop dead time.             We're just

24
     going to move you all right along.

25
             Count 41 is still in the jury instructions.               I'm




                                                                 Page 210
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 211 of 314



     going to do a word search and delete "Count 41" and
1




2
     that will be deleted.       On Page 60 it's still in here,

3
     I'm told.

4
               I was told counsel was looking at an

5
     instruction.

6
               MS. GREENBERG:     I gave that to Mr. Mitchell, and

7
     I was told he was going to look at it today.

8
               MR. MITCHELL:     I am looking at it right this

9
     minute.     At the break --

10
               THE COURT:    Be prepared to tell me what you want

1
     to do when we take the next break.

12
                     (Witness resumes the stand.)

13
                     (Jury returns at 2:37 p.m.)

14
               THE COURT:    Ladies and gentlemen, while you're

15
     getting seated, I wanted to tell you that I am going to

16
     try to give you my instructions today.            It depends on

17
     the pace of the testimony, but win, lose or draw I

18
     would like to take you up on your ability to be here

19
     from 8:30 to 6:00 tomorrow so we can get everything

20
     before you, hopefully, by the close of business

21
     tomorrow.

2
               All right.    You may proceed, Mr. McKnett.

23
                            REDIRECT EXAMINATION

24
               BY MR. MCKNETT:

25
     Q.        Thank you, Your Honor.




                                                                 Page 211
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 212 of 314



             Good afternoons, Ms. Ali.
1




2
     A.      Good afternoon.

3
     Q.      Ms. Ali, Ms. Johnston asked you questions about

4
     people on this chart, CH-1.         Let me ask you questions

5
     about them as well.       The people you -- did you tell           us

6
     you knew Juan Encarnacion?

7
     A.      I met him at Ms. Martin's house during the

8
     holidays.

9
     Q.      How many times did you see him?

10
     A.      Once.

1
     Q.      Did you ever associate with him other than that

12
     one time you saw him at Ms. Martin's house?

13
     A.      It might have been once or twice, but I think

14
     it's once.    No, I haven't.

15
     Q.      What about Luis Mangual, Jr.?           Did you ever

16
     associate with him?

17
     A.      No.

18
     Q.      Pernell Philpot?

19
     A.      He was at Ms. Martin's house a couple of times

20
     at Bexhill Court, and we sat down and talked and ate.

21
     Q.      Did you ever socialize or associate with him

2
     outside of those occasions at Ms. Martin's house?

23
     A.      No.

24
     Q.      Steve Brim?

25
     A.      Mr. Brim I saw going out - he was coming in and




                                                                 Page 212
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 213 of 314



     I was going out and I was introduced to him at Bexhill
1




2
     Court.

3
     Q.       Did you ever associate with him other than that

4
     one occasion?

5
     A.       No.

6
     Q.       How about Moises Uriarte?

7
     A.       No.

8
     Q.       William Turner?

9
     A.       No.

10
     Q.       Gwen Levi?

1
     A.       Yes.   I met her at Ms. Martin's when Ms. Martin

12
     lived on Haywood.

13
     Q.       How many times did you associate or see Ms.

14
     Levi?

15
     A.       A couple of times.       Maybe two to three times.

16
     Maybe two or three times at Ms. Martin's house, if that

17
     many, but I went to a fashion show.            She was at Harvey

18
     Star Washington's fashion show, and we were at a talent

19
     show at the Hard Rock Cafe.

20
     Q.       Other than those occasions, did you ever

21
     associate with Ms. Levi?

2
     A.       No.

23
     Q.       How about Nathan King?

24
     A.       No.

25
     Q.       Tiffany Vessels?




                                                                 Page 213
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 214 of 314



     A.       No.
1




2
     Q.       Michael Thurman?

3
     A.       No.

4
     Q.       Xavier Moore?

5
     A.       No.

6
     Q.       You've mentioned John Irby; you said you think

7
     you saw him once at Carter Barron.           Did you ever see

8
     him or associate with him other than that one occasion?

9
     A.       If he's Goody's friend, I might have met him at

10
     the diner for his birthday, if that's his friend.                I

1
     can't tell by the picture or the name.

12
     Q.       What about Alton McKenzie?

13
     A.       No.

14
     Q.       Claude Arnold?

15
     A.       I know a Skip, but I don't know if that's him or

16
     not.

17
     Q.       Derrick Bynum?

18
     A.       Yes.

19
     Q.       How many times did you associate with Mr.

20
     Bynum?

21
     A.       The last time I saw Mr. Bynum was on Bexhill

2
     Court.   He used to be by there often with his daughter

23
     or eating, and during the holidays.

24
     Q.       Other than when you saw him at Bexhill Court and

25
     other places with Ms. Martin, did you associate with




                                                                 Page 214
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 215 of 314



     Mr. Bynum?
1




2
     A.       No.

3
     Q.       How about Eugene Byrd?

4
     A.       Yes, I associated with -- I knew him, I think,

5
     back in the '80s -- 1985 -- and I would socialize with

6
     him and his wife.

7
     Q.       LaVon Dobie?

8
     A.       I met her at Ms. Martin's in 2003, and we

9
     socialized at Ms. Martin's house at Haywood.

10
     Q.       How many times, if you recall?

1
     A.       It could have been more than two or three.              It

12
     might not have been.       You know, we used to meet up on

13
     Friday evenings sometimes, and I don't know how often

14
     that was.

15
     Q.       Other than those occasions at Ms. Martin's

16
     house, did you associate with Ms. Dobie?

17
     A.       No.

18
     Q.       Ruby Harden?

19
     A.       I've never met Ruby Harden before until the

20
     court.

21
     Q.       George Harris?

2
     A.       I've seen him at Ms. Martin's house on Bexhill.

23
     Q.       What were the circumstances under which you saw

24
     him at Ms. Martin's house on Bexhill?

25
     A.       I don't remember if I was coming in there or




                                                                 Page 215
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 216 of 314



     leaving; I just saw him there.
1




2
     Q.       Just social events?

3
     A.       No, he just was there.        It wasn't a social

4
     event.     I was sitting in the kitchen.

5
     Q.       Larry Lane?

6
     A.       I met him at Mr. Goodwin's birthday party.

7
     Q.       Other than that, did you associate with Mr.

8
     Lane?

9
     A.       No.

10
     Q.       John Martin?

1
     A.       We would go out to dinner sometimes with Mr.

12
     Martin, and I've seen him at the house on Bexhill --

13
     very little at the house on Bexhill, but also at

14
     Haywood.

15
     Q.       Did you ever see John Martin at times other than

16
     when he was with Ms. Martin?

17
     A.       No.

18
     Q.       Larry Nunn?

19
     A.       No.

20
     Q.       Milburn Walker?      You described your relationship

21
     with Mr. Walker.

2
     A.       Yes.

23
     Q.       Reece Whiting.

24
     A.       The last time I saw Mr. Whiting was at Ms.

25
     Martin's house on Bexhill Court.




                                                                 Page 216
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 217 of 314



     Q.      Did you ever associate with Mr. Whiting outside
1




2
     of Ms. Martin's house?

3
     A.      At my wedding.

4
     Q.      At your wedding?

5
     A.      Yes.

6
     Q.      He came to your wedding?

7
     A.      Yes.

8
     Q.      And Mr. Goodwin?

9
     A.      For dinner, fashion shows, concerts.

10
     Q.      And, of course, Ms. Martin.

1
     A.      Yes.

12
     Q.      You described your relationship with her.               Thank

13
     you.

14
             Ms. Ali, you mentioned something called "Dutch

15
     Pot."   What is that?

16
     A.      A Caribbean restaurant that was located next to

17
     South Dakota -- Paula's School of Performing Arts.

18
     Q.      Is that the place where you would go get dinner

19
     and then take it into the front part of the studio and

20
     eat dinner?

21
     A.      Yes, jerk chicken.

2
     Q.      In response to one of Ms. Johnston's questions,

23
     you mentioned that cocaine was your company and it was

24
     embarrassing.     Do you remember that?

25
     A.      Yes.




                                                                 Page 217
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 218 of 314



     Q.      Did you make efforts to stop using cocaine?
1




2
     A.      Yes, I did.

3
     Q.      When did you do that?

4
     A.      Several times.       I've never gone into a program

5
     on my own, but when I got arrested I went into a

6
     program and completed it.

7
     Q.      Ms. Johnston showed you that suitcase, that blue

8
     suitcase, and even held it up in front of you.               Do you

9
     remember that?

10
     A.      Yes.

1
     Q.      Were you present when the suitcase was seized at

12
     your apartment?

13
     A.      No, I wasn't.

14
     Q.      Where were you at the time the suitcase was

15
     being seized?

16
     A.      Here being detained at the federal court

17
     building in Greenbelt.

18
     Q.      Ms. Johnston asked you questions about a plastic

19
     surgery magazine.      Do you remember those questions?

20
     A.      Yes.

21
     Q.      Is there such a thing as a plastic surgery

2
     magazine?

23
     A.      Not that I know of.        I know Ms. Martin had

24
     magazines with articles in reference to plastic

25
     surgery.




                                                                 Page 218
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 219 of 314



     Q.      Are those the magazines you were referring to?
1




2
     A.      Yes.

3
     Q.      There was a call, B-2436, when you were talking

4
     about one magazine.       Are the magazines with the

5
     articles about plastic surgery amongst the magazines

6
     you were referring to?

7
     A.      Yes.

8
             MS. JOHNSTON:      Objection.      It wasn't a reference

9
     to magazines in the plural.         It was single.       It

10
     misstates the evidence.

1
             THE COURT:     Sustained.      Rephrase the question.

12
             BY MR. MCKNETT:

13
     Q.      I'll skip past that right now, Ms. Ali, and I'll

14
     come back to it.

15
             Ms. Johnston asked you if you were helping Paula

16
     Martin move things from her house to her studio because

17
     you had a drug debt with her.          Do you remember that?

18
     A.      Yes, I do.

19
     Q.      Let me show you Haywood 7.          Now, you moved the

20
     items on May 16; correct?

21
     A.      That's correct.

2
     Q.      And this is the ledger, Haywood 7; correct?

23
     A.      Correct.

24
     Q.      Do you see an entry down here that looks like

25
     5-14?




                                                                   Page 219
         Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 220 of 314



     A.         That's correct.
1




2
     Q.         What does -- it shows that the balance you owed

3
     Ms. Martin for drugs on the 14th of May, two days

4
     before the move, was $150; correct?

5
     A          That's correct.

6
     Q.         It also shows, if I can find it, on the 14th of

7
     May, in the clothing column ledger, that you owed Ms.

8
     Martin $1,233; correct?

9
     A.         That's correct.

10
     Q.         Were you knowingly and willfully helping Ms.

1
     Martin move drugs on the 16th of May because you owed

12
     her $125?

13
     A.         No, that is not correct.

14
     Q.         If I may turn your attention to the transcript

15
     books.      If you would look at the government's book,

16
     Page -- I'll tell you what.            Let's skip that and we'll

17
     come to that in a second.            Let's start with Page 138

18
     in the government book.           Do you have it there?

19
     A.         Yes, I do.

20
     Q.         Ms. Johnston asked you a series of questions

21
     about the transcripts in which she asked you whether

2
     Sergeant Sakala was correct in his interpretation of

23
     the conversations.         Remember that?

24
     A.         Yes.

25
     Q.         And you agreed with her on many of those




                                                                    Page 220
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 221 of 314



     occasions; correct?
1




2
     A.       Yes.

3
     Q.       I want to ask you some questions about where

4
     Sergeant Sakala was wrong about his interpretation.

5
              MS. JOHNSTON:     Objection.      Beyond the scope of

6
     cross.

7
              THE COURT:    Overruled.

8
              BY MR. MCKNETT:

9
     Q.       Page 138.    It's call A-367, on the 20th of

10
     March, '04.     Sergeant Sakala opined that you were

1
     telling Ms. Martin that you were going to come by when

12
     you said you were going to come by because, you know

13
     what I want, that you were telling her you were coming

14
     by to get drugs.      Is he right or wrong?

15
     A.       He's incorrect.

16
     Q.       He opined that later in that conversation when

17
     you said, "So if you ain't there, is it all right if I

18
     get some?", that you were asking Ms. Martin if you

19
     could go into her private supply of drugs and help

20
     yourself.     Was he right or wrong?

21
     A.       That's incorrect.      He was wrong.

2
     Q.       On Page 140 in the government's book, Sergeant

23
     Sakala opined that when Ms. Martin said -- this is Call

24
     B-1233, on the 21st of March, when Ms. Martin said, "I

25
     fixed your thing.      I have it with me, so you just call




                                                                 Page 221
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 222 of 314



     me."   It was his opinion that Ms. Martin was telling
1




2
     you that she had fixed your package of drugs.               Is that

3
     right or wrong?

4
     A.        That's wrong.

5
     Q.        What had she fixed for you?

6
     A.        The dinner.     The leftover dinner.

7
     Q.        Call A-394, on Page 158.        Do you see that?

8
     A.        Excuse me.    The call -- I didn't hear the

9
     number.

10
     Q.        It's on Page 158, Call A-394.

1
     A.        Yes, I have it.

12
     Q.        Sergeant Sakala opined that when Ms. Martin

13
     said, "It's in the trunk of my car.            Just call me, I'll

14
     come outside and hand you the bag out of the trunk,"

15
     that Ms. Martin was saying that she had placed the

16
     package of drugs that she had fixed for you in the

17
     trunk of her car and that you should come downstairs or

18
     she'll come outside and give it to you out of her trunk

19
     when you came to her house.         Was he right or wrong?

20
     A.        That was wrong.     He was wrong.

21
     Q.        What was Ms. Martin saying to you?

2
     A.        What I got out of Ms. Martin's trunk was a bag

23
     with some food, and another bag with a sundress in it,

24
     a red, white and black and pink sundress.

25
     Q.        Please turn to Page 265 in the government's




                                                                 Page 222
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 223 of 314



     book.   This is call B-2436, it's on April 1st of '04.
1




2
     The government prepared an excerpt of it.             In the

3
     defendants' book at Page 130 is a transcript of the

4
     full conversation.      In that conversation Ms. Martin

5
     says, "So just the one magazine?"           Sergeant Sakala

6
     opined that you were -- Ms. Martin was referring to a

7
     quantity of drugs.      Was he right or wrong?

8
     A.      That's wrong.

9
     Q.      You then say, "That's what I got to make sure."

10
     The sergeant opined that you were telling Ms. Martin

1
     that you had to check with your customers to see how

12
     much you should buy.       Is that right or wrong?

13
     A.      That's wrong.

14
     Q.      Did you ever have any drug customers?

15
     A.      I've never had any drug customers.

16
     Q.      Would you turn to Page 348, please, in the

17
     government's book?      It's call A-1224, on the 21st of

18
     April 2004.     When Ms. Martin -- the sergeant opined

19
     that when Ms. Martin says, "You just wanted one

20
     ticket?", she was asking you if you wanted a quantity

21
     of drugs.     Was he right or wrong?

2
     A.      It could have been that I wanted some drugs that

23
     day.

24
     Q.      The sergeant opined that when you responded,

25
     "That's -- I'm gonna make a phone call," that you were




                                                                 Page 223
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 224 of 314



     telling Ms. Martin again that you had to check with
1




2
     your customers to see how much he should get.               Is that

3
     right or wrong?

4
     A.      No, that's wrong.       If you would turn the Page

5
     378 in the government's book, please.            You say -- this

6
     is call B-4330 on April 24, '04.           You say, "I think we

7
     might go get some crabs.        You want some?"       Martin says,

8
     "I'm waiting for my brother to take care of some

9
     business."     The sergeant opined that the business Ms.

10
     Martin's brother was going to take care of was drug

1
     business.     Is that right or wrong?

12
     A.      I have no idea.

13
     Q.      On Page 525 of the government's book -- this is

14
     the May 16 call, it's Call A-1670 -- Ms. Martin says,

15
     "I need you to leave your husband home and come take me

16
     to the school.     I need to go take something there." You

17
     say, "Uh-huh."     Ms. Martin says, "I got to work on

18
     something."     Did you know what it was -- the sergeant

19
     opined that Ms. Martin was telling you that she was

20
     taking her drugs to the school and wanted you to help

21
     her.   Is that right or wrong?

2
     A.      That is incorrect, Mr. McKnett.            That is

23
     incorrect.

24
     Q.      Did you know what it was that Ms. Martin was

25
     going to take to the school?




                                                                  Page 224
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 225 of 314



     A.      No, I did not know what she was taking to the
1




2
     school or what she was going to take to the school, no.

3
     Q.      When she said something she used the words, "I

4
     got to take something" -- the word "something."               Did

5
     you know what she was referring to when she said

6
     "something?"

7
     A.      No, I did not.

8
     Q.      If the officer opined that you knew that meant

9
     drugs, would he be right or wrong?

10
     A.      He's wrong.

1
     Q.      Then Ms. Martin says, "Then I'm going past your

12
     house and take something."         The sergeant opined that

13
     that was Ms. Martin telling you that she was going to

14
     bring something to your house.          Was he right or wrong?

15
     A.      I have no idea.       I didn't see Ms. Martin bring

16
     anything to my house.

17
     Q.      So she did not bring anything to your house?

18
     A.      No, she did not.

19
     Q.      Did    Ms. Martin come to your house?

20
     A.      Yes, she did.

21
     Q.      Did she have access -- make access to her

2
     suitcase?

23
     A.      Yes, she did.

24
     Q.      Did she take something out of the suitcase?

25
     A.      I have no idea.




                                                                 Page 225
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 226 of 314



     Q.       If she had taken something out of the suitcase
1




2
     and put it in her pocket or her bag, would you have

3
     seen that?

4
     A.       I was not in the same room with Ms. Martin.

5
     Q.       Page 599, please, in the government's book.

6
     It's call B-7815.      It was on May 26, '04.         You asked,

7
     "Good.   Good.    Were you able to get --", and Ms. Martin

8
     simultaneously says, "Yeah, I have it (unintelligible),

9
     yeah, I have it."      The sergeant opined that Ms.- -- you

10
     were asking Ms. Martin if she had any drugs and Ms.

1
     Martin was telling you, yeah, she had drugs.              Was he

12
     right or wrong?

13
     A.       That was wrong.

14
     Q.       What were you talking about?

15
     A.       I was talking about the IRS papers that Ms.

16
     Martin picked up from the post office.

17
     Q.       Would that be the IRS papers that were

18
     referenced in Call B-7733, on Page 387 of the

19
     defendants' transcript book?

20
     A.       Oh, 378?

21
     Q.       Page 387.

2
     A.       I don't have 387 in this book, but it is the

23
     call -- I see 388.      Yes, it's the same call.

24
     Q.       It's the call?

25
     A.       Yes.    Oh, I have it.     Yes, I'm sorry.       It's the




                                                                 Page 226
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 227 of 314



     same call.
1




2
     Q.       So in Call B-7815 you are referring to the IRS

3
     letter that you describe in Call B-7733 the previous

4
     evening.

5
     A.       That's correct.

6
     Q.       You were not referring to drugs.

7
     A.       That's correct.

8
     Q.       Ms. Martin was not telling you that she had just

9
     gotten drugs.

10
     A.       That's correct.

1
     Q.       Toward the bottom of Page 599, Ms. Martin says,

12
     "Okay.     Now, look, I may not be here but I'm going to

13
     leave it.     If I leave out before you-all get here, I'll

14
     leave it with Jackie."        The sergeant opined that Ms.

15
     Martin was telling you that she would leave a quantity

16
     of drugs for you to pick up with Jackie Terrell.               Is he

17
     right or wrong?

18
     A.       He was wrong.     I was picking up the certified

19
     IRS letter from Ms. Terrell.         Ms. Martin was going to

20
     leave it with her.

21
     Q.       And on Call B-8110, on Page 612.           In the

2
     government's book at the top of Page 613, you say to

23
     Ms. Martin, "But, um, I need to another dress."               She

24
     says, "Okay."     You say, "Okay.       Yeah.    So, with the

25
     ties for --", and then Ms. Martin interrupts you and




                                                                  Page 227
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 228 of 314



     starts talking about having been to school.              The
1




2
     sergeant opined that you were telling Ms. Martin, and

3
     when you said "another dress" that you were referring

4
     to more drugs.     Was he right or wrong?

5
     A.      That's incorrect.       He's wrong.

6
     Q.      The sergeant opined that when you said, "with

7
     the ties for", it was his opinion that you were again

8
     referring to drugs.       Was he right or wrong?

9
     A.      That's wrong.

10
     Q.      What were you referring to?

1
     A.      Ms. Martin had given me a pre-birthday gift.                   It

12
     was the sundress, and I wanted another dress, the one

13
     with the ties.

14
             MR. MCKNETT:      Thank you, Ms. Ali.

15
             THE COURT:     Any recross?

16
             MR. MONTEMARANO:       No, Your Honor, thank you.

17
             MR. HALL:     I have one question, Your Honor.

18
                           RECROSS EXAMINATION

19
             BY MR. HALL

20
     Q.      Ms. Ali, you indicated that you had seen Mr.

21
     Whiting at Ms. Martin's house.          Was that the house on

2
     Bexhill, or was it the house on Haywood?

23
     A.      I've only seen him at the house on Bexhill.

24
             MR. HALL:     Okay, thank you.

25
             MR. MITCHELL:      Just a couple of questions, Your




                                                                 Page 228
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 229 of 314



     Honor.
1




2
                            RECROSS EXAMINATION

3
               BY MR. MITCHELL:

4
     Q.        Ms. Ali, you were asked a question on direct,

5
     and then also on recross -- I mean redirect -- direct,

6
     redirect, and also cross about Mr. Bynum.             You said you

7
     had seen him a couple of times at the Bexhill Court

8
     address; is that correct?

9
     A.        That's correct.

10
     Q.        You haven't seen him after that.

1
     A.        I haven't seen him after that, no.

12
     Q.        At the time when you did see him, did you see

13
     him involved in any drug activity at the Bexhill Court

14
     address?

15
     A.        No, I have not seen him involved in any drug

16
     activity.

17
               MR. MITCHELL:     I have no further questions.

18
               THE COURT:   Anyone else?       Government?

19
               MS. JOHNSTON:     Just a couple of questions.

20
                            RECROSS EXAMINATION

21
               BY MS. JOHNSTON:

2
     Q.        How did you pay for that sundress that you

23
     bought?

24
     A.        It was a gift.     You mean the second one?

25
     Q.        The second one.     How did you pay for that?




                                                                 Page 229
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 230 of 314



     A.      I don't even know if I got that other dress.                   I
1




2
     don't know if it fit or not.         I don't even recall

3
     getting another dress.

4
     Q.      Okay.    So this was a call about the dress then

5
     --

6
             MR. MCKNETT:      I'm sorry, I can't hear Ms.

7
     Johnston.

8
             BY MS. JOHNSTON:

9
     Q.      This was a call allegedly about a dress that you

10
     never got, then; is that correct?

1
     A.      If I went over there and tried the dress on and

12
     it didn't fit, I did not get the dress.

13
     Q.      I'm not asking you if you went and tried it on.

14
     A.      I did not get another dress - another sundress.

15
     Q.      Did you go try it on?

16
     A.      Yes, I did.

17
     Q.      Where was that?       At the school or at her house?

18
     A.      At her house.

19
     Q.      So there would be no reason for her to reference

20
     the school when you asked her about a dress, is there?

21
     A.      She made reference to the school.

2
     Q.      She interrupted you to tell you?

23
     A.      She always interrupts people.           She was telling

24
     me where she had gone, Ms. Johnston.

25
     Q.      She had already told you that she had been to




                                                                 Page 230
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 231 of 314



     the school that day; isn't that correct?
1




2
     A.      Yes, she did.

3
     Q.      Okay.    Now, during this time period, Ms. Ali,

4
     Ms. Martin, from -- I think you said 1998 up until your

5
     arrest on June 1st of 2004, Ms. Martin was your only

6
     source of cocaine; is that correct?

7
     A.      That's correct.

8
     Q.      Counsel asked you about Call A-367, on Page 138,

9
     where you told her that you had to tell -- you told Ms.

10
     Terrell that you were there for the pigs feet, because

1
     you had to make something up; is that correct?

12
     A.      It wasn't a reference.         I had to make a lie up,

13
     and it was just that I couldn't think of anything else

14
     to tell her except what I was coming there for, and

15
     that was the pigs feet.

16
     Q.      Let's turn to Page 138 and look at what you said

17
     in the call.     "Oh, but wait a minute.         I told her I was

18
     coming by to get some pigs feet, because that's all

19
     could think of."

20
     A.      Page 138 in the defendants' book?

21
     Q.      No, in the government's book.           Volume I.

2
     A.      Well, you didn't say that.          Thank you.

23
     Q.      I apologize if I didn't tell you that.              You

24
     said, "But wait a minute.         I told her I was coming by

25
     to get some pigs feet, because that's all I could think




                                                                 Page 231
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 232 of 314



     of."
1




2
     A.       Yes, that's all I can think of.           That's what I

3
     was coming by for.      That's all I can think of.

4
     Q.       So you didn't -- you felt you had to tell her

5
     pigs feet because you couldn't tell her you were coming

6
     up to pick up any leftovers, could you?

7
     A.       That's what was for dinner.         I was coming by to

8
     pick up some pigs feet.

9
     Q.       Where in the transcripts were you discussing the

10
     dinner, the turkey wings?         We heard Ms. Martin's call

1
     with Clarice.     She discussed the turkey wings and the

12
     sweet potato pie.      Where in that conversation was there

13
     any reference to pigs feet?

14
     A.       Ms. Terrell cooked the pigs feet.           Ms. Martin

15
     didn't cook the pigs feet.         Ms. Terrell cooked the pigs

16
     feet.

17
     Q.       So you could have told Ms. Terrell, then, that

18
     you were -- you did pick up some of Ms. Terrell's pigs

19
     feet, didn't you?

20
     A.       Picked up pigs feet -- I picked up a little bit

21
     of everything.

2
     Q.       "So if you ain't there, is it all right if I get

23
     some."   "Some" what?

24
     A.       Excuse me?

25
     Q.       I'm sorry.    Apparently someone's telephone is




                                                                 Page 232
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 233 of 314



     going off in the courtroom.
1




2
               So, you left her with, "Can I get some," without

3
     explaining what you wanted some of; is that correct?

4
     A.        I'm not certain.     I'm not certain where you are

5
     right now.

6
     Q.        On Page 138.

7
     A.        I know that, but I don't know the line, Ms.

8
     Johnston.

9
     Q.        Let me get there with you, okay?          On Page 138 --

10
     I want to make sure you have the right page -- you say,

1
     "So if you ain't there, is it all right if I get

12
     some?".

13
     A.        Yes.

14
     Q.        You didn't tell her some of what you wanted, did

15
     you?

16
     A.        She knew what I wanted.       It was the dinner.

17
     Q.        In that regard, if we go to Page 265 and Call

18
     B-2436, Page 265, which I think is in the second book.

19
     Do you have that in front of you?

20
               MR. MCKNETT:    What page, please?

21
               MS. JOHNSTON:    Page 265.

2
               BY MS. JOHNSTON:

23
     Q.        Ms. Martin asked you in a call where she was

24
     talking to Nationwide -- do you remember that this

25
     morning? -- and the call beeped over to you, and she




                                                                 Page 233
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 234 of 314



     said, "So, just the one magazine?"           And you said,
1




2
     "That's what I got to make sure;" is that correct?

3
     A.      That's correct.

4
     Q.      What one magazine was she referring to?

5
     A.      It could have been a number of magazines.               It

6
     could have been the ones with the articles for the

7
     plastic surgery; it could have been the catalog

8
     magazines with reference to the mens shoes that she was

9
     selling; it could have been a number of magazines.

10
     Q.      But she says, "just the one magazine."              What one

1
     magazine did you -- was she referring to?

12
     A.      It could have been either one of the magazines.

13
     Q.      Did you ask her which magazine?

14
     A.      No, I did not.

15
     Q.      Then if I'm correct, Ms. Martin was your only

16
     source of cocaine; is that correct?

17
     A.      That's correct.

18
     Q.      And when Ms. Martin asked you -- Ms. Martin

19
     being a drug dealer, there's no doubt about that in

20
     your mind; isn't that correct?

21
     A.      She sold me drugs, yes.

2
     Q.      She was selling drugs; is that correct?

23
     A.      She sold me drugs, yes.

24
     Q.      You believe she sold drugs to Mr. Walker; is

25
     that correct.




                                                                 Page 234
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 235 of 314



     A.      I guess -- I assumed that.
1




2
     Q.      You knew she had friends, Mr. Philpot, who was

3
     arrested?

4
     A.      I didn't know what Mr. Philpot did.

5
     Q.      Because you didn't ask.

6
     A.      I did not ask.

7
     Q.      And Mr. Echarte had been arrested, and you

8
     didn't ask what he was involved in.

9
     A.      No, I did not.

10
     Q.      You didn't ask her what sweet potato pie recipe

1
     was illegal, did you?

12
     A.      Did I ask her was it illegal?           I had no reason

13
     to assume that it was illegal.

14
     Q.      In the call where she discussed Ms. Levi getting

15
     arrested, you didn't ask her what Ms. Levi was arrested

16
     for, did you?

17
     A.      No, I did not.

18
     Q.      When she told you in that call that Levi gave

19
     Mr. Echarte the recipe for sweet potato pie, you didn't

20
     ask her what was illegal about the sweet potato pie.

21
     A.      Once again, it was none of my business.              I did

2
     not ask her anything about that.

23
     Q.      And when this drug dealer then brought you --

24
     had you and your husband pick up suitcases to store in

25
     your house, you didn't ask her what was in the




                                                                 Page 235
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 236 of 314



     suitcases, did you?
1




2
     A.      Who was the drug dealer?          Who are you referring

3
     to?

4
     Q.      Ms. Martin, who sold drugs during the time

5
     period she gave you the suitcase.

6
     A.      Did I ask her what?        Did my husband and I ask

7
     her what?

8
     Q.      Let me back up for a minute.           Ms. Martin was

9
     selling you cocaine during the time that she asked you

10
     and your husband to store this suitcase or suitcases in

1
     your apartment; is that correct?

12
     A.      That's correct.

13
     Q.      And at that time, did you ask Ms. Martin, the

14
     drug dealer, what was in the suitcases?

15
     A.      I didn't think I need to.          I didn't think Ms.

16
     Martin would give me any drugs to store in my home.

17
     Q.      So you're running a tab with her for drugs, and

18
     you didn't think she would give you anything to store

19
     -- drugs to store at your house?

20
     A.      Friendship.      People have friendships, and that

21
     was part of our friendship.         That is something that she

2
     allowed me to do, and I paid.          I paid for what I

23
     purchased from her when it came to my clothing.

24
     Q.      You purchased by cash and by check with her --

25
     A.      Yes.




                                                                 Page 236
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 237 of 314



     Q.      -- in addition to being fronted drugs by her on
1




2
     the tab.

3
     A.      Yes.

4
     Q.      My question to you is this.          When Ms. Martin,

5
     the person -- the only person whom you knew at the time

6
     who was dealing drugs gave you a suitcase to take to

7
     your apartment and store, you didn't think it was

8
     necessary or important to ask her what was in the

9
     suitcase.

10
     A.      Not when my husband was involved and I was

1
     involved.    I didn't think Ms. Martin would give me

12
     drugs to put in a suitcase.

13
     Q.      And you didn't know where the money or whatever

14
     else came from in that suitcase?

15
     A.      Excuse me, could you repeat that last part?

16
     Q.      You didn't think to ask her if there was money

17
     or any other valuables in the suitcase?

18
     A.      No, I did not.

19
     Q.      You didn't think it was necessary.

20
     A.      I didn't think it was necessary.

21
     Q.      Likewise, when your friend Ms. Martin, from whom

2
     you were getting drugs as recent as May 11 -- do you

23
     see this date down here, 5-11, where you got a 125 and

24
     it adds up to 350?      Do you see that?

25
     A.      I see that.




                                                                 Page 237
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 238 of 314



     Q.        When she, five days later, asked you to help her
1




2
     move some things to the school, you didn't ask her what

3
     was in those bags.

4
     A.        No, I did not.

5
     Q.        You didn't think it was important to find out

6
     what your friend Ms. Martin, the drug dealer, was

7
     moving to the school.

8
     A.        No.   I didn't think Ms. Martin would have drugs

9
     in a bag to give me to take to a school or any place

10
     else.

1
     Q.        You knew she was worried about the police coming

12
     into her house; isn't that correct?

13
     A.        That's correct.

14
     Q.        You didn't think to ask her, because you didn't

15
     want to know; isn't that correct?

16
     A.        I didn't think Ms. Martin would give me drugs to

17
     take to a school or any place else.

18
     Q.        After you moved the drugs to the school, you

19
     continued to receive drugs from her as recent as May

20
     23, when you got another 125 from her; isn't that

21
     correct?

2
     A.        I did not move any drugs to the school but, yes,

23
     I did purchase something from her and it was not at the

24
     school.

25
     Q.        So you didn't ask her what was in the bags you




                                                                 Page 238
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 239 of 314



     moved to the school.
1




2
     A.      No, I did not.

3
     Q.      Because it wasn't important enough for you to

4
     find out what she was moving to the school.

5
     A.      It was not important.         Ms. Martin did not tell

6
     me, and I -- didn't tell me there was drugs in the bags

7
     and I did not ask her.

8
     Q.      All you were concerned about was making sure Ms.

9
     Martin continued to have cocaine to sell to you; isn't

10
     that right?

1
             MR. MCKNETT:      Objection.      Argumentative.

12
             THE COURT:     Overruled.

13
             THE WITNESS:      That's not correct.

14
             BY MS. JOHNSTON:

15
     Q.      You were concerned about that, weren't you?

16
     A.      No, I wasn't.

17
             MS. JOHNSTON:      I have nothing further.

18
             THE COURT:     All right.      You may step down.

19
             Mr.   McKnett.

20
             MR. MCKNETT:      Ms. Ali has no further witnesses,

21
     Your Honor.

2
             THE COURT:     All right.      That concludes the last

23
     defense case.     Is the government ready for the

24
     rebuttal?

25
             MS. JOHNSTON:      Yes, Your Honor.        The first




                                                                 Page 239
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 240 of 314



     witness we would call would be Harvey Star Washington.
1




2
             MR. WARD:     Your Honor, I think all counsel wish

3
     to make certain motions.        Your Honor, should they be

4
     heard now or after rebuttal?

5
             THE COURT:     Do it after rebuttal.

6
     Thereupon,

7
                         HARVEY STAR WASHINGTON ,

8
     having been called as a witness on behalf of the

9
     Plaintiff, and having been first duly sworn by the

10
     Courtroom Deputy, was examined and testified as

1
     follows:

12
                            DIRECT EXAMINATION

13
             BY MS. JOHNSTON:

14
     Q.      Mr. Washington, please state your full name for

15
     the record.

16
     A.      My name is Harvey Washington.           My stage name is

17
     "Harvey Star Washington."

18
     Q.      How old are you, Mr. Washington?

19
     A.      I'm 42.     Yeah, 42.

20
     Q.      Approximately 42?

21
     A.      Yes.

2
     Q.      And where do you -- what area do you live in?

23
     A.      Washington, D. C.

24
     Q.      Were you born and raised in this area?

25
     A.      Yes, I was.




                                                                 Page 240
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 241 of 314



     Q.       Who do you reside with at this time?
1




2
     A.       I'm sorry?

3
     Q.       Who do you reside with at this time?

4
     A.       My mom.

5
     Q.       And her name?

6
     A.       Estelle Washington.

7
     Q.       If you could, tell us what you do for a living.

8
     A.       I'm a fashion producer, and I'm now on

9
     television with Monique.        I'm the Image Producer and

10
     Costume Designer for Monique's Fat Chance on Oxygen.

1
     Q.       When did you start doing that?

12
     A.       About two years ago.

13
     Q.       That would have been about 2004?

14
     A.       Yes.

15
     Q.       The latter part of 2004?

16
     A.       Yes.

17
     Q.       Could you describe for us what you mean by

18
     "fashion producer?"

19
     A.       Well, I do fashion shows and I specialize in

20
     plus-size women, where I take women and I make them

21
     over and make them beautiful.          A lot of women sometimes

2
     suffer from self-esteem problems, and I take them and I

23
     make them over, and it's a makeover kind of show.

24
     Q.       And you did that locally with your fashion

25
     shows?




                                                                 Page 241
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 242 of 314



     A.        Yes.   Locally and around the United States, as
1




2
     well.

3
     Q.        In terms of those shows, did the people who

4
     participated in them pay to be in the shows?

5
     A.        Well, what they do is they pay a registration

6
     fee.    Then, after they pay a registration fee, because

7
     it's a show with full exposure and experience, they are

8
     then required to sell tickets for the fashion show as a

9
     participant.

10
     Q.        Do you know the defendant, Paulette Martin, in

1
     this case?

12
     A.        Yes.

13
     Q.        Do you see her in court?

14
     A.        Yes.

15
     Q.        Would you identify where she's sitting to my

16
     left?

17
     A.        Right there, the second.        (Witness indicating.)

18
               MS. JOHNSTON:    We would ask the record reflect

19
     he's identified Paulette Martin.

20
               THE COURT:   The record will so indicate.

21
               BY MS. JOHNSTON:

2
     Q.        Do you know approximately when you first met Ms.

23
     Martin?

24
     A.        I met Paula back in the late '80s, because her

25
     granddaughter, Melanie, was in my fashion show.




                                                                 Page 242
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 243 of 314



     Q.        You said the late '80s.       Did you lose contact
1




2
     with her for a while?

3
     A.        Yes.

4
     Q.        Do you know where she was during that time

5
     period?

6
     A.        Not really.

7
     Q.        When did you meet her again after that?

8
     A.        I met her back -- she came back in '93, because

9
     I was having a fashion show and we were rehearsing at

10
     the Fourth District Police Department, and she walked

1
     in and surprised me.

12
     Q.        Okay.   Were you having a model call there?

13
     A.        I was having a model call.

14
     Q.        What's a "model call?"

15
     A.        A model call is where the women come out for the

16
     first time to audition to actually be in the fashion

17
     show.

18
     Q.        Between 1993 and 2004, was Ms. Martin involved

19
     in any fashion show?

20
     A.        Yes, she was.

21
     Q.        How many fashions did she model?

2
     A.        She did -- she modelled in three fashion shows,

23
     but she helped me sell tickets for about, maybe six of

24
     them.

25
     Q.        When was the last fashion show that she assisted




                                                                 Page 243
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 244 of 314



     you with anything, either modelling or selling tickets?
1




2
     A.      In 2003.     That was the fashion show, "The

3
     Evolution of Fashion Silhouettes of Glamour."

4
     Q.      Do you know approximately what day that show

5
     was?

6
     A.      It was November of 2003.

7
     Q.      For that show in November 2003, had Ms. Martin

8
     sold tickets for you?

9
     A.      No.

10
     Q.      For the November 23, 2003 show, did she sell

1
     tickets to that show?

12
     A.      Yes, she did.

13
     Q.      What was her role in the show in November of

14
     2003?

15
     A.      In the 2003 show, she sold tickets.             That was

16
     the fashion show that we actually honored her for.

17
     Q.      Why did you honor Ms. Martin?

18
     A.      I honored her because I always thought that she

19
     was a woman of courage.        She was always nice to me, and

20
     she always wanted to help me with my fashion shows.

21
     Q.      Was your honoring her in that fashion show in

2
     November 2003 at all related to the number of tickets

23
     she was able to sell for you?

24
     A.      Well, she told me -- she said if I honored her

25
     for that particular show, she would get a lot of people




                                                                 Page 244
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 245 of 314



     to come.    I needed a lot of tickets sold, so I was
1




2
     like, girl, I'm gonna honor you.

3
     Q.      As a result of that, was there a contract that

4
     she signed for you?

5
     A.      Well, all the models and the people that take

6
     tickets from me sign an agreement, so if they lose them

7
     or if the tickets are stolen or anything, they're held

8
     responsible for them.

9
     Q.      And you make your income based on the number of

10
     tickets that the models sell or the honorees sell on

1
     behalf of your show?

12
     A.      Yeah, that's how I make my money.

13
     Q.      Was that show held on or about November 23,

14
     2003?

15
     A.      I'm sorry?

16
     Q.      Was that show held on or about Sunday, November

17
     23, 2003?

18
     A.      Yes, it was.

19
     Q.      After that show on November 23 of 2003, what if

20
     any involvement did Ms. Martin have in selling tickets

21
     for any of your fashion shows?

2
     A.      I didn't have any other shows that she sold

23
     tickets for after that.

24
     Q.      Did you have any shows after that that she gave

25
     away tickets for?




                                                                 Page 245
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 246 of 314



     A.      No.
1




2
     Q.      Was that the end of your contact with Ms. Martin

3
     as it relates to your fashion shows and selling

4
     tickets?

5
     A.      Yes, in terms of the fashion show.

6
             MS. JOHNSTON:      Court's indulgence.

7
             I have nothing further of this witness.

8
             THE COURT:     Mr. Montemarano.

9
             MR. MONTEMARANO:       Thank you, Your Honor.

10
             Can I have the Dobie exhibits please, Ms. Merez?

1
                            CROSS-EXAMINATION

12
             BY MR. MONTEMARANO:

13
     Q.      Good afternoon, Mr. Washington, how are you?

14
     A.      Fine.

15
     Q.      I'm going to show you what's been marked as

16
     Dobie Exhibit 12.      Does that look familiar to you?

17
     A.      Yes.

18
     Q.      That would be a Xeroxed copy of the program from

19
     the November 23, 2004 show; correct, sir?

20
     A.      Yes, it is.

21
     Q.      That would be your picture inside?

2
     A.      Yes.

23
     Q.      And Ms. Martin's picture?

24
     A.      Yes.

25
     Q.      In addition, there's advertising in there that




                                                                 Page 246
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 247 of 314



     was sold; correct, sir?
1




2
     A.      Yes, it was.

3
     Q.      Various businesses in the District?

4
     A.      Yes.

5
     Q.      In the surrounding suburbs, as well?

6
     A.      I'm sorry?

7
     Q.      And businesses from the surrounding suburbs, as

8
     well?

9
     A.      Yes.

10
     Q.      Was the show a success?

1
     A.      It was very successful.

12
     Q.      Good.    I'd like to ask some other questions

13
     relating to your relationship with Ms. Martin.

14
     A.      Okay.

15
     Q.      Are you aware of her involvement in the sale of

16
     clothing?

17
     A.      I can't hear you.

18
     Q.      I'm sorry.     Are you aware of Ms. Martin being

19
     involved in the sale of clothing?

20
             MS. JOHNSTON:      Objection.      May we have a time

21
     frame, please?

2
             THE COURT:     Ask about a time frame.

23
             MR. MONTEMARANO:       During the time you knew her

24
     --

25
             MS. JOHNSTON:      Objection.      Is that the '80s or




                                                                 Page 247
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 248 of 314



     '90s?
1




2
             THE COURT:     Sustained.

3
             BY MR. MONTEMARANO:

4
     Q.      Since 1997 --

5
     A.      Yes.

6
     Q.      -- you have been aware of Ms. Martin being

7
     involve in the sale of clothing.           What kind of

8
     clothing?

9
     A.      She specialized in children's clothes.

10
     Q.      Did she sell any other kind of clothing?

1
     A.      I have purchased, like, a couple of suits from

12
     her, because she told me that she was a buyer.

13
     Q.      Suits for your mom?

14
     A.      Yes.

15
     Q.      Did your mom like the suits?

16
             MS. JOHNSTON:      Objection.

17
             THE COURT:     Sustained.

18
             BY MR. MONTEMARANO:

19
     Q.      Court's indulgence for a moment, please.

20
             Did you ever visit Ms. Martin's home at any

21
     time?

2
     A.      Yes.

23
     Q.      Did you ever see clothing for sale in her home?

24
     A.      I did.

25
             MS. JOHNSTON:      Objection.      If we can have a time




                                                                 Page 248
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 249 of 314



     frame?
1




2
              BY MR. MONTEMARANO:

3
     Q.       During the same time frame, Mr. Washington?

4
     A.       I'm sorry?

5
     Q.       During the same time frame, 1997, did you ever

6
     visit Ms. Martin's home?

7
     A.       Yes, I did.

8
     Q.       During that time when you visited her home, did

9
     you ever see clothing for sale by Ms. Martin that was

10
     being kept in her home?

1
     A.       Yes, I did.

12
     Q.       Just children's clothing, or adult clothing as

13
     well?

14
     A.       Basically, it was children's clothes; and she

15
     did have some other items, some other clothing as well.

16
     Q.       Did you ever see any furs there?

17
     A.       I did see furs that had belonged to her

18
     godmother, Mary Payne, because Mary Payne was a

19
     furrier.

20
     Q.       Did you know Ms. Payne?

21
     A.       Yes.

2
     Q.       What was Ms. Payne's relationship to Ms. Martin,

23
     if you know?

24
     A.       Marry Payne was kind of like Paula's backbone.

25
     Mary was very fashionable, and we kind of looked up to




                                                                 Page 249
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 250 of 314



     Mary, because she was like the Diva.
1




2
     Q.      Did there come a time when Ms. Martin received

3
     some clothing and other items from Ms. Payne?

4
     A.      Yes.

5
             MS. JOHNSTON:      Objection.      Basis -- I'll

6
     withdraw it.

7
             THE COURT:     All right.

8
             MR. MONTEMARANO:       Court's indulgence, please.

9
             I think that's about it, Your Honor.

10
             THE COURT:     All right.

1
             MR. MONTEMARANO:       Thank you.

12
             THE COURT:     Any further cross of this witness?

13
             MR. MARTIN:      Yes, just a few questions.

14
                            CROSS-EXAMINATION

15
             BY MR. MARTIN:

16
     Q.      Good afternoon, Mr. Washington, how are you?

17
     A.      Hello, how are you?

18
     Q.      I'm doing fine, thank you, sir.

19
             You said the last contact you had with Ms.

20
     Martin was in November of 2003; right?

21
     A.      The last contact that I had with Ms. Martin in

2
     terms of selling tickets for my fashion show was 2003,

23
     but I kept in contact with her until she was arrested.

24
     Q.      Very good, sir.       And with respect to you and

25
     your particular profession.




                                                                 Page 250
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 251 of 314



     A.        Yes.
1




2
     Q.        How is it that you learned that?

3
     A.        I learned it because I was talented.           Most of it

4
     was from God, and once you are born with talent, you

5
     can create and you can do what you do because you are

6
     talented and you're good at what you do, and I'm very

7
     good at making women fabulous and teaching them how to

8
     walk and teaching them about glamour.

9
     Q.        No doubt.     And with respect to the talent that

10
     you have, sir, do you have any competition in that

1
     regard?

12
               MS. JOHNSTON:     Objection, Your Honor.

13
     Relevance.

14
               THE COURT:     Sustained.

15
               MR. MARTIN:     Your Honor, if I might approach

16
     very quickly.     If counsel would give me some leeway, I

17
     would haven't to approach.

18
                       (At the bar of the Court.)

19
               MR. MARTIN:     I'll tell you why.       The question is

20
     whether or not there were any tickets sold after

21
     November 23, 2003 and if he has competition.              If Ms.

2
     Martin has engaged in selling tickets promoting tickets

23
     for competitors, then that would be something that the

24
     jury could consider.       We don't know that because

25
     nobody's explored that, and I think it's fair -- you




                                                                 Page 251
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 252 of 314



     know, it's fair grounds for cross-examination.
1




2
              MS. JOHNSTON:     He does haven't a good faith

3
     basis for arguing that there was some competitor that

4
     Ms. Martin dealt with.        This is purely speculation on

5
     his part.

6
              THE COURT:    It's speculation, and I don't think

7
     it's within the scope anyway.

8
              MR. MARTIN:     Your Honor, it is within the scope,

9
     because I think what the government has to              show here

10
     is that after November 23, 2003, no more tickets were

1
     sold by Paulette Marin, and she didn't have anymore

12
     tickets to give to anybody else, and it goes to the

13
     heart of this whole business of coded language and

14
     whether or not Paula Martin had tickets to other shows.

15
     So, I ask the court to reconsider its decision to let

16
     me go into this.

17
              THE COURT:    You can ask him if he has any

18
     personal knowledge of her selling tickets for other

19
     shows.

20
              MR. MARTIN:     Can I ask --

21
              THE COURT:    If the answer is no, then you stop.

2
                     (Back in open court.)

23
              BY MR. MARTIN:

24
     Q.       Mr. Washington, with respect to other fashion

25
     shows that may have been held after November 23, 2003




                                                                 Page 252
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 253 of 314



     -- not by you, but by other people -- do you know
1




2
     whether Ms. Martin was engaged in promoting or selling

3
     tickets for other shows?

4
     A.      Repeat that again please.

5
     Q.      Do you know whether Ms. Martin was selling

6
     tickets for other shows after November 23, 2003, and

7
     not necessarily yours?

8
     A.      The only thing I remember Ms. Martin telling me

9
     is that --

10
             THE COURT:     Wait, wait.      Wait a minute.       Of his

1
     personal knowledge.       Please limit it to that.

12
             BY MR. MARTIN:

13
     Q.      Only tell the ladies and gentlemen of the jury

14
     what you know.     Don't tell us what she said.

15
     A.      Oh, okay.     Okay.    Okay, so repeat it again.

16
     Q.      So the question is, do you know whether Ms.

17
     Martin was selling tickets for any other fashion shows

18
     after November 23, 2003?

19
     A.      I don't know.

20
     Q.      You don't know.       Thank you, Mr. Washington.

21
     A.      You're welcome.

2
             MR. HALL:     I have no questions, Your Honor.

23
             THE COURT:     Anything further?        All right.

24
             MR. MCKNETT:      Your Honor, if I may very briefly,

25
     I hope --




                                                                 Page 253
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 254 of 314



             THE COURT:     Briefly.
1




2
                            CROSS-EXAMINATION

3
             BY MR. MCKNETT:

4
     Q.      Good afternoon, Mr. Washington.

5
     A.      Hello, how are you?

6
     Q.      Well, thank you.       Mr. Washington, you looked

7
     around and you saw -- you recognized Ms. Martin in                the

8
     courtroom.     Do you recognize anybody else in the

9
     courtroom?

10
     A.      Yes.

1
     Q.      Who might that be?

12
     A.      My uncle, Goody, and her brother who I know she

13
     told me was her attorney.

14
     Q.      Do you see anybody in the back row you might

15
     recognize?

16
     A.      Yeah, my schoolteacher.

17
     Q.      Who is that?

18
     A.      Ms. Ali.

19
     Q.      What grade were you in?

20
     A.      I was in the third or the fourth grade?              Yes.

21
     Q.      Did you ever meet Ms. Ali at Ms. Martin's house?

2
     A.      Yes.

23
     Q.      What were the circumstances?

24
     A.      Basically, she was just over there because her

25
     and Paula were good friends.




                                                                 Page 254
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 255 of 314



     Q.       Did you ever see Ms. Ali at any of your fashion
1




2
     shows?

3
     A.       Yes.   She would always patronize my fashion

4
     shows.     All of them would.

5
     Q.       Thank, Mr. Washington.        I appreciate it.

6
     A.       You're welcome.

7
              THE COURT:     Any redirect?

8
                           REDIRECT EXAMINATION

9
              BY MS. JOHNSTON:

10
     Q.       Just one question.       Those fashion shows they

1
     patronized, the last one was November of 2003; is that

12
     correct?

13
     A.       Yes, it was.

14
              MS. JOHNSTON:     I have nothing further.

15
              THE COURT:     You may step down.       Thank you, Mr.

16
     Washington.

17
              THE WITNESS:     Thank you.

18
                           (Witness excused at 3:26 p.m.)

19
              MS. JOHNSTON:     Your Honor, I would like to very

20
     briefly recall Detective Thomas Eveler.

21
                     (Witness Eveler resumes the stand.)

2
              THE CLERK:     He's still under oath.

23
              Would you just state your name again for the

24
     record, please?

25
              THE WITNESS:     Thomas Eveler, E V E L E R.




                                                                 Page 255
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 256 of 314



                     REBUTTAL - DIRECT EXAMINATION
1




2
             BY MS. JOHNSTON:

3
     Q.      Detective Eveler, you heard testimony here that

4
     Ms. Dobie, who has testified she was a drug user, used

5
     Mannitol to cut her heroin before she used it.               Do you

6
     recall that testimony?

7
     A.      I recall her testifying that she used a cut.                   I

8
     don't remember on which type of drug.

9
     Q.      Based upon your training and experience, do drug

10
     users cut the drugs before they ingest them?

1
     A.      Not that I've --

12
             MR. WARD:     Objection, Your Honor.

13
             THE COURT:     Pardon me?

14
             MR. WARD:     Under what circumstances are we

15
     talking about?     It seems to me a little broad.

16
             THE COURT:     Overruled.

17
             MR. WARD:     It's about, like, saying if I put

18
     sugar in my tea every time I drink it.

19
             THE COURT:     Overruled.

20
             BY MS. JOHNSTON:

21
     Q.      Can you explain the basis of your opinion?

2
     A.      In my experience, I have never heard of anyone

23
     weakening the narcotics that they are taking.               The only

24
     time I would have heard of that is -- I've never heard

25
     of a heroin addict buying the high grade heroin and




                                                                 Page 256
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 257 of 314



     then weakening it.      They usually buy on the level of
1




2
     their ingestion, whether it's for snorting or

3
     injecting.      I've never heard of anyone buying drugs and

4
     then weakening the narcotic.

5
     Q.       Based on your training and experience, would

6
     there be any reason for someone who was using heroin or

7
     cocaine to have cut in their house?

8
     A.       To add it to the narcotics for resell to expand

9
     their profit.

10
     Q.       In terms of just using it, would there be any

1
     purpose for having Mannitol in your residence if you

12
     were purely using the drugs?

13
     A.       I have no experience in that.          I have never

14
     heard of that.      I have never seen it.        I have no

15
     experience involving that.

16
     Q.       In terms of drug users or drug addicts.             They

17
     want to get -- would it be fair to say they're

18
     interested in getting the most they can out of their

19
     drugs?

20
     A.       Yes.

21
     Q.       Getting as high as they can get; is that

2
     correct?

23
     A.       That's correct.

24
     Q.       In terms of crack.       You heard Ms. Ali describe

25
     converting a half a gram of crack using a microwave or




                                                                 Page 257
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 258 of 314



     using boiling water.       Based --
1




2
             MR. WARD:     Excuse me, Your Honor.

3
             MS. JOHNSTON:      Based on your training and

4
     experience, are there any difficulties with the process

5
     as she described it?

6
             THE COURT:     There's an objection.

7
             MR. WARD:     Your Honor, I know it's been a long

8
     trial and maybe I've forgotten, but was this witness

9
     qualified as an expert?

10
             MS. JOHNSTON:      Absolutely.      Your Honor, we went

1
     through that.

12
             THE COURT:     He has been.

13
             MR. WARD:     He has been.      It has been a long

14
     trial and I have forgotten, so I will sit down and shut

15
     up.

16
             THE COURT:     You don't have to shut up; just sit

17
     down.

18
             BY MS. JOHNSTON:

19
     Q.      Based upon your training and experience, would

20
     there be any difficulties in cooking up half a gram of

21
     cocaine or converting it from cocaine powder to crack

2
     cocaine or cocaine base?

23
     A.      Yes.

24
     Q.      Could you describe for us what those

25
     difficulties would be, based upon the way Ms. Ali




                                                                 Page 258
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 259 of 314



     describes she did it?
1




2
     A.      There's a very small amount to convert in the

3
     method that Ms. Ali described.          The surface area, if

4
     you think about it, is adding a small amount of powder

5
     to water and adding baking soda to it and then cooking

6
     it.   And how that would -- how you get a -- it's not

7
     really a precipitate in the true chemical definition,

8
     but you would end up with a thin layer that you would

9
     then have to scrape, and you would lose some of that

10
     with sticking to the container.          You wouldn't get a --

1
     you would lose some of the product doing it that way.

12
     Q.      When you say sticking to the container, are you

13
     familiar with spice jars generally?

14
     A.      Yes.

15
     Q.      In terms of cooking up half a gram of crack,

16
     where would that end up, or taking half a gram of

17
     cocaine and converting it to crack or cocaine base,

18
     where would it end up in terms of that bottle?

19
     A.      All over the bottom of the bottle, and you would

20
     have to somehow scrape that base off of the jar or off

21
     the bottle.

2
     Q.      During the course of this trial, did we see how

23
     some of that is left on in the Pyrex bowls that we saw

24
     from another search location?

25
     A.      Yes.    The residue is maintained and is difficult




                                                                 Page 259
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 260 of 314



     to -- you could wash it out and scrape it out, but you
1




2
     don't want to -- that would defeat the purpose of

3
     cooking it.

4
     Q.      If you washed it out because it was stuck on the

5
     sides or the bottom of it, what would happen to the

6
     cocaine base?

7
     A.      It would go down the drain.          It wouldn't serve

8
     the purpose of ingesting it.

9
     Q.      Based upon your training and experience, are you

10
     familiar with the prices for both cocaine and cocaine

1
     base or crack during the 2000 to 2004 time period of

12
     this investigation?

13
     A.      Yes.

14
     Q.      What was the price of an eight ball of cocaine

15
     or cocaine base?

16
     A.      Anywhere from $125 to $150, depending on your

17
     relationship with your supplier.

18
     Q.      What do you mean "your relationship?"

19
     A.      It's like if you know a car dealer, you're going

20
     to get a better deal from the car dealer if you know

21
     him than if you just walk in off the street.

2
     Q.      In terms of those prices, would $125 be a good

23
     price for an eight ball?

24
     A.      Yes.

25
     Q.      Would $150 be approaching the higher end?




                                                                 Page 260
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 261 of 314



     A.      Yes.
1




2
     Q.      And an eight ball, again, is how much?

3
     A.      3.5 grams.

4
     Q.      Is there a difference between the price for --

5
     was there, based on your training and experience during

6
     this time period, a difference between the price for

7
     cocaine powder and cocaine base?

8
     A.      Not at that level.

9
     Q.      What do you mean by that?

10
     A.      Not at the eighth of an ounce level, the 3.5

1
     grams, eight ball.

12
     Q.      Where would you see a difference between the

13
     price -- what quantities would you see a difference

14
     between cocaine powder and cocaine base?

15
     A.      Once the weight starts to increase, you'd see a

16
     price difference.

17
     Q.      At what approximate level would you see a

18
     difference in the price?

19
     A.      Usually somewhere around 62 grams, the 62 level

20
     and up to a kilo.

21
     Q.      Why do you see a difference there?

2
     A.      Because if it is cooked and it's a true cook and

23
     the guy is not ripping you off, the crack is a better

24
     construct product.      It doesn't have the cut in it if

25
     it's cooked properly.




                                                                 Page 261
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 262 of 314



     Q.      So if I -- based on your training and experience
1




2
     then, at an eight ball or $125, could you get the same

3
     amount of crack as you would coke -- cocaine powder?

4
     A.      You'd get the same amount in weight.             You

5
     wouldn't get the same amount in product.

6
     Q.      Okay.    Explain what you mean.

7
     A.      The powder would generally be a cut product

8
     because powder is usually snorted, and the cocaine base

9
     is smoked.    So the cocaine base, when it's cooked

10
     properly, will be a purer, better product.

1
     Q.      For a user, you would get more for your money in

12
     terms of the high you would get off of the cocaine --

13
             MR. MCKNETT:      Objection to the leading question,

14
     Your Honor.

15
             THE COURT:     Overruled.

16
             THE WITNESS:      That you would get off of the

17
     cocaine base, as opposed to the powder cocaine part of

18
     that is based on the way the cocaine is ingested.                The

19
     cocaine base, when you ingest it, is carried directly

20
     from your lungs to the brain, rather than being diluted

21
     in your bloodstream so the --

2
             MR. MARTIN:      Objection, Your Honor.

23
             MR. MCKNETT:      Objection.

24
             MR. MARTIN:      This is beyond the scope of his

25
     expertise.




                                                                 Page 262
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 263 of 314



             THE COURT:     Overruled.
1




2
             THE WITNESS:      Based on basic physiology, knowing

3
     that the oxygenated blood or the blood is oxygenated by

4
     the lungs, and that's how the smoke --

5
             MR. MCKNETT:      Objection, Your Honor, he's

6
     talking about body chemistry.          I don't believe he's        an

7
     expert --

8
             THE COURT:     Overruled.

9
             BY MS. JOHNSTON:

10
     Q.      Continue.

1
     A.      Based on my knowledge of the human body, that is

12
     my understanding, and the cocaine powder would -- is

13
     usually a weaker product when you're comparing the two.

14
     Q.      Based on your training and experience, an eight

15
     ball would be in the same price range whether it was

16
     cocaine powder or cocaine base, $125 to $150?

17
     A.      Yes.

18
     Q.      When you convert, especially half gram

19
     quantities, do you have an opinion as to whether or not

20
     you would lose some of it in the conversion process as

21
     Ms. Ali described she did?

2
     A.      If it is a cut -- if the powder had been cut,

23
     you would lose some weight.

24
     Q.      That's in addition to losing some inside the

25
     container that she described she would use?




                                                                 Page 263
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 264 of 314



     A.      Yes.
1




2
             MS. JOHNSTON:      Court's indulgence.

3
             I have nothing further.

4
             THE COURT:     Cross-examination.

5
                            CROSS-EXAMINATION

6
             BY MR. MONTEMARANO:

7
     Q.      Is your statement you have no knowledge of

8
     addicts ever cutting their drugs prior to using them?

9
     Is that a fair statement, sir?          Is that what you just

10
     said?   Right?

1
     A.      Yes.

12
     Q.      You're an expert; right, sir?

13
     A.      Yes.

14
     Q.      What's Fentanyl?

15
     A.      It is a synthetic -- it's a --

16
     Q.      Synthetic opiate; right?

17
     A.      Yes.

18
     Q.      About ten times as strong as heroin; right?

19
     A.      Yes.

20
     Q.      Remember a case called "China White?"             Ever hear

21
     the name?

2
             MS. JOHNSTON:      Objection, Your Honor.

23
             MR. MONTEMARANO:       He's an expert, Your Honor.

24
     We're going to probe that.         I think it's appropriate.

25
             MS. JOHNSTON:      Objection.      Beyond the scope of




                                                                 Page 264
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 265 of 314



     the government's limited direct.
1




2
               THE COURT:     What does this have to do with his

3
     direct?

4
               MR. MONTEMARANO:     A little bit of latitude, Your

5
     Honor, and I can explain.

6
               THE COURT:     Very little.

7
               THE WITNESS:     I'm familiar with a street name

8
     "China White."     I'm unfamiliar with a case "China

9
     White."

10
               BY MR. MONTEMARANO:

1
     Q.        You've been a narcotics officer since 1991;

12
     correct, sir?

13
     A.        Yes.

14
     Q.        So you would have been a narcotics officer in

15
     1992; correct, sir?

16
               MS. JOHNSTON:     Objection.     Relevance.

17
               THE COURT:     We've already gone through when he

18
     was a narcotics officer.        Sustained.

19
               MR. MONTEMARANO:     Fine.     Thank you, Your Honor.

20
               BY MR. MONTEMARANO:

21
     Q.        So you have no recollection or familiarity

2
     within the construct of your expertise, Detective

23
     Eveler, about a situation in the city of Baltimore --

24
               MS. JOHNSTON:     Objection.     Relevance.

25
               THE COURT:     Well, finish the question.




                                                                 Page 265
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 266 of 314



             MR. MONTEMARANO:       Where Fentanyl was being sold
1




2
     under the street name "China White" and 28 addicts died

3
     from overdoses because of the strength of what they

4
     were buying on the street; correct, sir?

5
             MS. JOHNSTON:      Objection.      Relevance.

6
             THE COURT:     Sustained.

7
             MR. MONTEMARANO:       Can we approach, Your Honor?

8
             THE COURT:     Yes.

9
                       (At the bar of the Court.)

10
             MR. MONTEMARANO:       The broad brush notion that

1
     addicts never cut drugs is nonsense.            There is no other

12
     word for it, Your Honor.

13
             THE COURT:     Cross-examine him all you want that

14
     that's nonsense.      What does that have to do with

15
     somebody dying of a completely different substance,

16
     when his only examination on direct was concerning

17
     cocaine?

18
             MR. MONTEMARANO:       He said drugs, he didn't say

19
     cocaine.   The question about Dobie was about heroin,

20
     which is why I went to Fentanyl, because it's a --

21
             MS. JOHNSTON:      Fentanyl is not heroin, it's an

2
     artificial drug.      Two, that case had nothing to do with

23
     whether or not they cut their drugs.            Three, he's

24
     denied any knowledge of that case, so any further

25
     cross-examination about it is inappropriate.




                                                                 Page 266
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 267 of 314



             THE COURT:     I don't think this is proper
1




2
     cross-examination.      I think it's improper, so I'll

3
     sustain the objection.

4
                           (Back in open court.)

5
             BY MR. MONTEMARANO:

6
     Q.      Let me offer a hypothetical.           Addict buys drugs,

7
     addict ingests drugs, the drugs being sold are stronger

8
     than what the addict is used to.           What would happen to

9
     the addict?

10
     A.      The addict would have an overdose if it's beyond

1
     their capacity to handle that narcotic.

12
     Q.      Okay.    And what are the possible results of an

13
     overdose?

14
             MS. JOHNSTON:      Objection.

15
             THE COURT:     Overruled.

16
             THE WITNESS:      There's a scope of them, leading

17
     up to death.

18
             BY MR. MONTEMARANO:

19
     Q.      Through and including death.           Unconsciousness,

20
     heart racing, the whole nine yards through and

21
     including death?

2
     A.      It depends on if it's a stimulant or depressant.

23
     Q.      Absolutely.      So using heroin for an example.               If

24
     you overdose on heroin, it will possibly kill you;

25
     correct, sir?




                                                                 Page 267
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 268 of 314



     A.       Possibly.
1




2
              MR. MONTEMARANO:      No further questions Your

3
     Honor.

4
              THE COURT:     All right.     Any additional cross?

5
              MR. HALL:    Actually, I had one or two questions,

6
     Your Honor.

7
              THE COURT:     All right.

8
                             CROSS-EXAMINATION

9
              BY MR. HALL:

10
     Q.       Detective, you indicated that for an eighth of

1
     an ounce or an eight ball, which is what it is commonly

12
     referred to, there is a price range of $125 to maybe

13
     $150; right?

14
     A.       Yes.

15
     Q.       I think your example was it depends on how well

16
     you know the person you're buying from.

17
     A.       That's one of the factors.

18
     Q.       Another factor may be the availability of the

19
     drug at that time; correct?

20
     A.       Correct.

21
     Q.       And it's possible for people to also buy an

2
     amount smaller than an eight ball, for example half of

23
     that, a sixteenth.

24
     A.       Is it possible for people to buy less than an

25
     eight ball?     That's correct, people can buy less.




                                                                 Page 268
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 269 of 314



     Q.      You can buy a sixteenth; you can buy a single
1




2
     gram; correct?

3
     A.      Yes.

4
     Q.      They would also have price ranges; correct?

5
     A.      Yes.

6
     Q.      Therefore, $125 could very well be a sixteenth,

7
     rather than an eighth, couldn't it?

8
     A.      A 125 would be a sixteenth?          You could also pay

9
     half a million dollars for a Chevy, but most people

10
     wouldn't.

1
     Q.      You could get a bad deal; right?

12
     A.      You could get a very bad deal, yes.

13
     Q.      But it is possible; right?

14
     A.      Many things are possible, yes.

15
             MR. HALL:     Thank you.

16
                            CROSS-EXAMINATION

17
             BY MR. MITCHELL:

18
     Q.      Agent Eveler, a couple of questions about your

19
     testimony about cut or things you add to drugs.               As I

20
     understand your testimony, someone who is in the

21
     business of selling drugs would add this before they

2
     resell it to others.       If they already had a quantity of

23
     drugs, they would add cut, increase the amount, and

24
     then sell it; right?

25
     A.      It depends on what they're selling.




                                                                 Page 269
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 270 of 314



     Q.      Let's talk about cocaine.
1




2
     A.      Cocaine they can.       You don't have to.        It's just

3
     a way to increase your profit.          It's not a necessity to

4
     redistribute by adding cut.

5
     Q.      All right.

6
     A.      If you're selling crack, you'd have to convert

7
     it.   You'd have to break it down to add cut to it.

8
     Again, it's in a hard form.         You can't just readily rub

9
     cut on the outside of a hard substance like crack.

10
     Q.      So typically, someone with cocaine could

1
     increase it to crack or cocaine base by adding cut.

12
     A.      I'm sorry?

13
     Q.      They could increase the amount by adding cut.

14
     A.      Yes.    You increase the volume there by

15
     increasing your profit.

16
     Q.      And someone -- you said if they possessed 62

17
     grams or more that would be more likely of an amount to

18
     use cut in order to expand the profit.            Did I

19
     understand your testimony?

20
     A.      No, that's not my testimony.           I believe Ms.

21
     Johnston asked me what -- I'm trying to remember the

2
     exact phrasing of the question.          At what point would

23
     you start to see a variance in the price of between

24
     crack and powder, I believe was her question.

25
     Q.      And that would be 62 grams and up; correct?




                                                                 Page 270
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 271 of 314



     A.      That's where I started to see a disparity.
1




2
     Q.      And that's where they would -- at that point, at

3
     that level they would start to cook it up.              Do I

4
     understand your testimony correctly?

5
     A.      No.    That's when you would start to see a price

6
     -- the price difference would become more apparent at

7
     that level.

8
     Q.      And at that level, you would expect to find cut,

9
     if you were to do a search warrant, for example, you

10
     would expect to find at least some cut somewhere in the

1
     house, wouldn't that be your experience?

12
     A.      No.    There is many times -- as a matter of fact,

13
     in the previous -- the investigation that led to Mr.

14
     Encarnacion's arrest, many of the traffickers in that

15
     case didn't cut the drugs at all.           They took a kilo and

16
     they added a couple of grand to it and they passed it

17
     on and they never even opened the kilo wrappers.               They

18
     just passed it on untouched.

19
     Q.      I see.    But if someone were actually increasing

20
     the amount for profit -- for resell for profit, you

21
     would expect to find some residue somewhere in the

2
     location where they were doing that, wouldn't you

23
     agree, in your training and experience?

24
     A.      Some residue of what?

25
     Q.      Cut.




                                                                 Page 271
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 272 of 314



     A.      No.   It depends on how much money they are
1




2
     trying to make.      It depends on how much profit they are

3
     trying to make.

4
     Q.      So then it's your training and experience you

5
     wouldn't find cut in a location where this is being

6
     increased for profit?

7
     A.      I wouldn't find cut in a place where they --

8
     Q.      Let's say you did a search warrant in your.

9
     Training and experience in serving search warrants on

10
     individuals who are increasing the amount of drugs with

1
     this substance you're referring to as cut, is it your

12
     training and experience that you would find residue or

13
     residual amounts of cut in someone's house?

14
     A.      You may find anything -- if they are using cut

15
     to increase the volume, yes, generally you will find

16
     some sort of either residue, or in the case of

17
     Gwendolyn Levi's residence you will find huge

18
     quantities of cut.

19
             MR. MITCHELL:        No further questions.

20
             THE COURT:     Any other cross?

21
             MR. WARD:     Yes.

2
                            CROSS-EXAMINATION

23
             BY MR. WARD:

24
     Q.      Good afternoon, Corporal Eveler.

25
     A.      Good afternoon.




                                                                 Page 272
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 273 of 314



     Q.      Drawing on your vast experience in the field,
1




2
     what type of cut is used with heroin?

3
     A.      You can use Quinine, you can use Mannitol --

4
     those are the two probably most popular.             You can use

5
     any white powdery substance that you could mix into it.

6
     People use brick dust if they can, just anything that

7
     can add --

8
     Q.      Brick dust?      How about baby talcum powder?

9
     A.      You can use anything you can.           You're selling

10
     it.   You can use toxic chemicals, anything that's a

1
     powder that adds volume if you're selling it.               It

12
     wouldn't have to be any of those two objects.               You

13
     could use Strychnine.

14
     Q.      Typically, in the case of heroin, you said

15
     Quinine and Mannitol?

16
     A.      Those are two, I think, which would be most

17
     popular.

18
     Q.      What about cocaine?        What would be the typical

19
     cutting agents, again drawing on your long experience?

20
     A.      Usually Inositol or Mannitol.

21
     Q.      So, Mannitol could be used on both heroin and

2
     coke; is that correct, sir?

23
     A.      You can pretty much use any white powdery

24
     substance.

25
     Q.      Brick dust or -- right?         As you said, brick




                                                                 Page 273
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 274 of 314



     dust?
1




2
     A.      Yeah.    I know of instances where people took a

3
     razor blade and scraped the side of a brick wall into a

4
     bag of heroin to cut it to increase the volume.                It

5
     may not go through a needle very well, but you can

6
     increase the volume.

7
     Q.      Yes, I'm sure you can.

8
             Again, drawing on your long experience, what

9
     effect does one standing use or snorting of cocaine

10
     have on the tissues in the nose?

1
     A.      I understand it's destructive to the tissues on

12
     the inside of the nose.

13
     Q.      It eats away at the tissues; is that correct,

14
     sir?

15
     A.      That's my understanding.

16
     Q.      You've dealt with addicts who are always

17
     sniffing like that because their nose is running from

18
     damage to their noses; is that right, sir?

19
     A.      I've seen it on very rare occasions.             The

20
     majority of people I run into are crack users but, yes,

21
     I have seen people with sinus problems.

2
     Q.      So the majority of people you run into are crack

23
     users, which is a different situation as they don't

24
     snort crack up their nose; is that right, sir?

25
     A.      That's correct.




                                                                 Page 274
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 275 of 314



     Q.      All right.     As I understood it, you did not know
1




2
     what the product was that was found in the house where

3
     Ms. Dobie lived.

4
     A.      Can we be more specific?

5
     Q.      The cut.     I thought you said you didn't know

6
     what was found there.

7
     A.      When did I say this?

8
     Q.      Well, you said it during your direct

9
     examination.     You were asked about using Inositol to

10
     cut heroin, and you said something about -- I don't

1
     recall what kind, or at least that's what I wrote down.

12
     Maybe I misunderstood you.

13
             MS. JOHNSTON:      Objection, Your Honor, that

14
     misstates the question.        The question had to do with

15
     what Ms. Dobie's testified to.

16
             THE COURT:     Sustained.

17
             BY MR. WARD:

18
     Q.      Well, instead of having the government testify,

19
     let me ask the witness, please, to explain the cut that

20
     was found in the house.        Do you know what it was?

21
     A.      I believe it was Inositol.

2
     Q.      You believe it was Inositol?

23
     A.      Yes.

24
     Q.      Okay.    And that can be used to cut cocaine; is

25
     that correct, sir?




                                                                 Page 275
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 276 of 314



     A.      That's correct.
1




2
     Q.      All right.     You said that you had never heard of

3
     addicts cutting -- I know you said heroin, is that

4
     right, unless they were going to resell it?

5
     A.      That's correct.

6
     Q.      Is that just that you've never heard of it or

7
     that you can't say that that's not sometimes a fact

8
     that people will cut it without wanting to sell it.

9
     A.      I cannot testify, based on my training and

10
     experience, that anyone I've ever interviewed -- that's

1
     not something in my experience that somebody has done.

12
     Q.      It's not something in your experience.

13
             MS. JOHNSTON:      Objection, Your Honor, the

14
     witness wasn't finished with the answer.

15
             THE COURT:     Please let him finish the answer.

16
             BY MR. WARD:

17
     Q.      Go ahead, sir, and please finish your answer.

18
     A.      That pretty much sums it up.

19
     Q.      That's what I thought.         But you cannot say, sir,

20
     can you, that an addict cutting heroin not for resell

21
     is something that never happens or doesn't -- cannot

2
     possibly happen.

23
     A.      No, I cannot say it's not possible.

24
     Q.      Simply that it's outside your experience.

25
     A.      Yes, it is outside my experience.




                                                                 Page 276
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 277 of 314



     Q.      All right.     What about people -- an addict
1




2
     cutting cocaine powder for use not for resell?               Is that

3
     something that you've never heard of?

4
     A.      That's correct.

5
     Q.      Is that something that's outside your

6
     experience?

7
     A.      That's correct.

8
     Q.      Is that something that you've said you can say

9
     positively does not happen?

10
     A.      I have done many cases involving cocaine powder

1
     and people who are using and distributing that powder,

12
     and I have never heard of anyone cutting the powder

13
     prior to their use.

14
     Q.      All right.     What about someone who has a great

15
     deal of destruction of the nasal tissues?             I think you

16
     were in the court when Ms. Dobie testified to that,

17
     that that is her problem.

18
     A.      I don't know if I was or was not.            I do not

19
     recall that testimony.

20
     Q.      All right.     Sir, would you say that it was

21
     outside the realm of possibility that someone who had a

2
     substantial amount of destruction of the nasal tissues

23
     might cut the heroin before using it in order to lessen

24
     whatever further damage it might do to their nasal

25
     tissues?




                                                                 Page 277
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 278 of 314



     A.      Is it possible?
1




2
     Q.      Yes.

3
     A.      Yes.     Many things are possible, yes.

4
     Q.      What about someone -- an addict who was short of

5
     drugs and wanted to stretch what they have out as long

6
     as possible?     I see you smiling, sir.         I think you know

7
     what's coming.     Would you say that that's not a

8
     possibility?

9
     A.      I don't find it to be very likely at all.

10
     Q.      No?     But you're not saying that it's not

1
     possible.

12
     A.      Some people believe in UFOs.

13
     Q.      I beg your pardon?

14
     A.      Some people believe in UFOs.

15
     Q.      UFOs?     Well, I don't believe in UFOs, sir, and

16
     I'm not asking you to speculate or to believe in UFOs

17
     or the Tooth Fairy or anything else.            All I'm asking

18
     you, sir, is, drawing on your vast experience that

19
     you've testified to and told this jury about, are you

20
     saying that that's not possible that an addict might do

21
     that?

2
     A.      I believe it's highly unlikely.

23
     Q.      But not impossible.

24
     A.      Not impossible.

25
     Q.      All right.     Now, do you -- were you here when




                                                                 Page 278
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 279 of 314



     the testimony was ongoing about the search of Ms.
1




2
     Dobie's house?

3
     A.        Yes.

4
     Q.        Do you recall, sir, the testimony that the

5
     bottle of what you call "cutting agent", whatever it

6
     was, was in fact empty?

7
     A.        I really can't recall.

8
     Q.        I'm sure the jury will be able to draw on their

9
     collective recollections in that regard.

10
               Do you recall, sir, that the bottle -- the empty

1
     bottle, if it was empty, the bottle of cut was found in

12
     a box that contained an envelope addressed to Goldie

13
     Julian Dobie, Jr., my client's husband?

14
               MS. JOHNSTON:    Objection.      Beyond the scope of

15
     direct examination.

16
               THE COURT:    Sustained.

17
               MR. WARD:    May I approach the bench, Your Honor?

18
               THE COURT:    Yes.

19
                       (At the bar of the Court.)

20
               MR. WARD:    Your Honor, the government has sought

21
     to show that my client had this bottle of Inositol or

2
     whatever it was and was using it for cutting whatever

23
     substances she had and that the only purpose she would

24
     do this, of course, would be to make it weaker for

25
     resell.    It seems to me that anything that is within




                                                                 Page 279
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 280 of 314



     the general scope of that question to show that, well,
1




2
     is fair game.     Whether or not she did use it simply for

3
     resell, which I've asked about, or whether or not it

4
     could have belonged to somebody else, which I'm about

5
     to ask him about.

6
               I mean, she's going to get up and argue to this

7
     jury that the only reason she had that Inositol in the

8
     house or that it was there is she was using it to cut

9
     the drugs she got from Ms. Martin to sell to other

10
     people.

1
               MS. JOHNSTON:    Your Honor, I think this goes

12
     beyond the scope of direct.         We brought him in for a

13
     very specific purpose in our rebuttal case, which was

14
     to contradict Ms. Dobie's testimony that she used the

15
     cut to weaken the drugs she was taking because of

16
     damage to her nose.       That is the extent of it.          We

17
     didn't ask him whose drugs it was.           Ms. Dobie admitted

18
     that's what the cut was there for.           So, the notion of

19
     now of trying to cross-examine him about whose drugs

20
     goes beyond the scope of the very limited area we

21
     called him for on rebuttal.

2
               THE COURT:    I sustain the objection.

23
                            (Back in open court.)

24
               MR. WARD:    Corporal, I don't think I have any

25
     questions for you about dope or UFOs or tooth fairies.




                                                                 Page 280
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 281 of 314



     Thank you.
1




2
             THE COURT:     Any further cross?

3
             MR. SUSSMAN:      Just briefly, judge.

4
                            CROSS-EXAMINATION

5
             BY MR. SUSSMAN:

6
     Q.      Corporal, I take it from your answer that you've

7
     never been the subject of an alien abduction or

8
     anything like that?

9
     A.      Not that I recall.

10
     Q.      But you are familiar with the concepts of

1
     wholesale and retail; right?

12
     A.      Yes.

13
     Q.      They apply to the drug trade just as they apply

14
     to any business; is that correct?

15
     A.      It depends on who you're dealing with.

16
     Q.      Right.

17
     Q.      Would it be fair to say that people who are

18
     buying for resell are trying to buy wholesale, trying

19
     to buy it at a lower price?

20
     A.      You would hope.

21
     Q.      And they are more concerned about their profit

2
     margin; isn't that right?         What they can mark it up for

23
     and what they are reselling it for?

24
     A.      That's a goal, yes.

25
     Q.      And people buying retail may not be concerned




                                                                 Page 281
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 282 of 314



     about price if they're, say, an ultimate user?
1




2
     A.      I don't believe that for a second.

3
     Q.      Let me ask you this.        You likened it to the car

4
     business; isn't that right?

5
     A.      Sure.

6
     Q.      And it's fair to say if you're a smart buyer you

7
     do your homework, you do -- as the dealer, you

8
     understand pricing, and you might get a good deal?

9
     A.      Yes.

10
     Q.      If you walk in off the street and you've never

1
     bought a car before or don't have much experience, you

12
     might just get the shaft; right?

13
     A.      That's correct.

14
             MR. SUSSMAN:      Thank you.

15
                            CROSS-EXAMINATION

16
             BY MR. MCKNETT:       Good afternoon, corporal.

17
     A.      Good afternoon.

18
     Q.      Corporal, you mentioned -- you talked about

19
     125s, $125 as a relatively standard price for a

20
     quantity of drugs; right?

21
     A.      Yes.

2
     Q.      And you said it was the same price for a

23
     quantity of -- for an eight ball; right?

24
     A.      That's a standard price for an eight ball.

25
     Q.      Standard price for an eight ball.            And the eight




                                                                 Page 282
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 283 of 314



     ball could be either powder or crack -- powder or
1




2
     crack; right?

3
     A.      Yes.    I have most commonly heard that term with

4
     crack, but --

5
     Q.      But it could also be powder; right?

6
     A.      It could be.      It applies to a weight.

7
     Q.      So if somebody says, I want to buy a 125, you

8
     can't tell whether they're talking about powder or

9
     crack, can you?

10
     A.      Not based solely on those words, no.

1
     Q.      Did you ever use cocaine?

12
     A.      No.

13
     Q.      Wouldn't you agree that a drug user, someone who

14
     used cocaine, would be the best expert on drug usage?

15
     A.      I have been coached by some pretty good drug

16
     experts over the years.        As a matter of fact, they told

17
     me how to buy drugs.       I have interviewed many drug

18
     dealers, and they told me what mistakes I can make when

19
     buying drugs, what happens and what doesn't happen; and

20
     I've been to training.        So, I've had many conversations

21
     with many drug users and they have explained how the

2
     world works.

23
             I have had dealings where I've been standing

24
     there watching people buy drugs, standing in line

25
     buying drugs, watching people cut drugs, watching




                                                                 Page 283
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 284 of 314



     people package drugs; so I have, without using drugs --
1




2
     you can gain a lot of experience without having used

3
     the drugs yourself.

4
     Q.       That's all very interesting.          Wouldn't you agree

5
     that a drug user would be the best exert on drug usage?

6
     A.       It depends on their experience.           If they're only

7
     buying from one person, they may not have a, you know,

8
     as much information as they would buying from three,

9
     four different people.

10
     Q.       Again, that's interesting, but wouldn't you

1
     agree that a drug user would be the best expert on drug

12
     usage?

13
              MS. JOHNSTON:     Objection.

14
              THE COURT:     Sustained.

15
              MR. MCKNETT:     I haven't gotten an answer yet,

16
     Your Honor.     It's a "yes" or "no" question.

17
              THE WITNESS:     I don't agree it's a yes or no.

18
              MS. JOHNSTON:     Objection.

19
              THE COURT:     Sustained.

20
              BY MR. MCKNETT:

21
     Q.       Did you ever cook crack?

2
     A.       Yes.

23
     Q.       How many times?

24
     A.       I did it a couple of times in the lab, a handful

25
     of times.




                                                                 Page 284
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 285 of 314



     Q.      When was that?
1




2
     A.      Sometime in the '90s.

3
     Q.      Wouldn't you agree that a person who cooked

4
     powder cocaine into crack cocaine on a regular basis

5
     would be the best expert on how to cook powder cocaine

6
     into crack cocaine?

7
     A.      How many times -- it depends how many times they

8
     cooked it.

9
     Q.      More than you.

10
             MS. JOHNSTON:      Objection.

1
             THE COURT:     Sustained.      I think you're just

12
     arguing with the witness, Mr. McKnett, so I'm not going

13
     to permit that.

14
             BY MR. MCKNETT:

15
     Q.      Were you present when Ms. Ali used drugs?

16
     A.      No.

17
             MS. JOHNSTON:      Objection.

18
             MR. MCKNETT:      Were you present --

19
             THE COURT:     Overruled.

20
             BY MR. MCKNETT:

21
     Q.      Were you present when Ms. Ali testified about

2
     using drugs?

23
     A.      Yes.

24
     Q.      You're not saying are you that Ms. Ali couldn't

25
     have cooked powder the way she described, are you?




                                                                 Page 285
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 286 of 314



     A.        I found it to be not very believable.
1




2
     Q.        Corporal, if the question calls for a "yes" or

3
     "no", could you tell us "yes" or "no", please?

4
               MS. JOHNSTON:     Objection.     He's answered the

5
     question.

6
               THE COURT:     Sustained.

7
               MR. MCKNETT:     Actually, he hasn't, Your Honor.

8
               THE COURT:     He answered the question.

9
               BY MR. MCKNETT:

10
     Q.        You found it what?

1
     A.        Unbelievable.

12
     Q.        In your expert opinion.

13
     A.        Yes.

14
     Q.        And you find it unbelievable, because it would

15
     be too difficult to cook it that way?

16
     A.        I've seen it cooked in smaller amounts, and it

17
     does not coincide with what Ms. Ali testified to --

18
     Q.        In what?

19
     A.        -- generally it is used.

20
     Q.        I'm sorry, I didn't mean to interrupt.

21
               MS. JOHNSTON:     Objection.

2
               THE COURT:     Sustained.    Let him finish his

23
     answer.

24
               BY MR. MCKNETT:

25
     Q.        Please finish.




                                                                 Page 286
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 287 of 314



     A.      If someone is cooking a small amount, which
1




2
     happens on rare occasions, it is usually done by using

3
     some very narrow item like a test tube, not a spice can

4
     or spice container as described by Ms. Ali.

5
     Q.      But Ms. Ali said she used a spice jar, if I

6
     remember correctly.

7
     A.      Yes, that's correct.

8
     Q.      Haven't you ever seen spice jars that sit in

9
     spice racks that are about this tall and maybe an inch,

10
     inch and a quarter in diameter?

1
     A.      I see a great deal of difference in the diameter

12
     of a test tube and the diameter of a spice jar.

13
     Q.      I didn't ask you that question.            I asked you if

14
     you have ever seen spice jars that are maybe this tall

15
     and about an inch to an inch and a half in diameter.

16
     Have you ever seen them?

17
     A.      Yes.

18
     Q.      Wouldn't the degree of difficulty in cooking

19
     powder into crack depend, at least in part, on the

20
     purity of the powder?

21
     A.      Degree of difficulty?         No.

2
     Q.      Well, you said that when -- if I remember

23
     correctly, you said that someone who tried to cook a

24
     half a gram would wind up only with a thin layer in the

25
     bottom of the container, because it would -- because of




                                                                 Page 287
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 288 of 314



     the process the cooking process; correct?
1




2
     A.      Yes, that's what I said.          But I disagree with --

3
     I think that was a compound, but I disagree.              Go ahead.

4
     Go ahead.

5
     Q.      Are you saying that the quality -- the purity of

6
     the powder cocaine has no affect on the end result of

7
     cooking the powder?

8
     A.      It affects how much cocaine base you will have

9
     left as your finished product.

10
     Q.      So if you have had a half a gram of relatively

1
     high purity, you could actually have crack cocaine in a

12
     usable form at the end of the process; right?

13
     A.      Yes.    I don't think I said it wouldn't be a

14
     usable form.     I think what I was referring to is

15
     logistically it would be difficult to function with

16
     that equipment.

17
     Q.      So when you cooked even a half a gram of powder,

18
     you could wind up with a usable quantity of crack;

19
     correct?

20
     A.      Yes, you could, but you would be wasting a

21
     portion of it using that equipment.

2
     Q.      But that would be your opinion that you're

23
     wasting it; correct?

24
     A.      Sure.

25
     Q.      And if you had a reason to run the risk of




                                                                 Page 288
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 289 of 314



     wasting it such as not wanting to suffer the nasal
1




2
     passage problems that Mr. Ward talked about, you might

3
     just do it; right?

4
     A.        I'm sure it's possible.

5
     Q.        And you did hear Ms. Ali testify, did you not,

6
     that she wasn't very good at cooking crack?

7
     A.        My recollection was she wasn't very good at

8
     cooking it with the microwave, that it splattered

9
     around.    That's my recollection.

10
     Q.        She said when she tried to cook it in the

1
     microwave it didn't go very well for her; right?

12
     A.        Yes, but I didn't recall her saying she had

13
     difficulty with the other method.

14
     Q.        But you cannot say, can you, that she didn't

15
     cook powder into crack, can you?

16
     A.        I'm sorry, could repeat that?

17
     Q.        I think I did repeat it.        You can't say that Ms.

18
     Ali never cooked powder into crack, can you?

19
     A.        That's correct.     I cannot say she never did it.

20
     Q.        And the process she described is a valid process

21
     for cooking powder into crack, isn't it?

2
     A.        I thought she was a little vague on the details

23
     but, generally, yes.

24
     Q.        She seemed to know what she was talking about,

25
     didn't she?




                                                                 Page 289
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 290 of 314



     A.      I had a problem with some of her description.
1




2
     In general she had it right, but she could have --

3
     Q.      I'm not sure I got your answer.            Your answer was

4
     that she seemed to know what she was talking about,

5
     even though you would quibble a bit on some of the

6
     details; correct?

7
     A.      I have a few questions I would like to ask her

8
     about that, but generally she was in the ballpark.

9
     Q.      And those questions weren't asked by Ms.

10
     Johnston, were they?

1
     A.      That's correct.

12
             MR. MCKNETT:      Thank you.

13
             MR. MARTIN:      Your Honor, I didn't ask him any

14
     questions.

15
             THE COURT:     No, you've already had your

16
     opportunity, Mr. Martin.

17
             MR. MARTIN:      Oh, my opportunity has passed?

18
     Okay, sir.

19
             THE COURT:     You've already had your opportunity.

20
             Counsel, we're going to take a ten minute recess

21
     and then -- do you have any redirect, Ms. Johnston?

2
             MS. JOHNSTON:      Your Honor, maybe two questions.

23
             THE COURT:     Well, take your two then.

24
             MS. JOHNSTON:      Thank you, Your Honor.

25
             THE COURT:     Go for it.




                                                                 Page 290
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 291 of 314



                            REDIRECT EXAMINATION
1




2
               BY MS. JOHNSTON:

3
     Q.        Based upon your -- Mr.       Ward asked you a lot of

4
     questions about what is possible.           Is it correct that

5
     you indicated UFOs are possible?           Is that the standard

6
     you have used in terms of saying whether something is

7
     possible?

8
               MR. MONTEMARANO:     Objection.      Leading.

9
               THE COURT:    Overruled.

10
               BY MS. JOHNSTON:

1
     Q.        Maybe three questions.

12
               Is that your understanding of possibilities?

13
     A.        Yes.   That's why I said many things are

14
     possible.

15
     Q.        Based upon your training and experience, do

16
     cocaine or heroin users use cut to dilute drugs they're

17
     using?

18
     A.        No.

19
     Q.        Do you -- based on your training and experience,

20
     do you have to cut cocaine or heroin to sell it for a

21
     profit?

2
     A.        No.

23
     Q.        And the third question, Your Honor, could you

24
     explain to the ladies and gentlemen of the jury why you

25
     found it -- why you found Ms. Ali's description of




                                                                 Page 291
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 292 of 314



     cooking half a gram of cocaine powder in a spice jar
1




2
     unbelievable?

3
     A.      If you think about how small a half a gram of

4
     powder is mixed with a half a gram of baking soda,

5
     mixed with fluid, and then when you cook it -- when

6
     it's completed you will only have half a gram of --

7
             MR. MCKNETT:      Objection.      Your Honor, that is

8
     not my client's testimony.

9
             THE COURT:     Let him finish his answer.           I

10
     haven't heard his answer.

1
             THE WITNESS:      The end result is if you have high

12
     quality powder, there would be approximately half a

13
     gram of cocaine base left in the bottom of that jar

14
     which you would then have to extract from the jar to

15
     smoke it.

16
             MS. JOHNSTON:      What form does that --

17
             MR. MCKNETT:      Your Honor, I object because the

18
     answer assumes facts that are not in evidence through

19
     my client's testimony.

20
             THE COURT:     Overruled.

21
             BY MS. JOHNSTON:

2
     Q.      In what form is it in the spice jar?

23
     A.      It would be -- when it's completed, it would be

24
     cocaine base on the bottom of the jar.

25
     Q.      Hard or soft?




                                                                 Page 292
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 293 of 314



     A.      Hard.
1




2
     Q.      Sticking to any part of the jar?

3
     A.      It would be sticking to the bottom of the jar.

4
             MS. JOHNSTON:        I have nothing further.

5
             THE COURT:     Okay.

6
             MS. JOHNSTON:        Thank you, Your Honor, for the

7
     court's indulgence.       It was more than three questions.

8
             THE COURT:     Pardon me?

9
             MS. JOHNSTON:        I went more than three questions.

10
             THE COURT:     We will take a recess until 4:17.

1
                           (Off the record at 4:09 p.m.)

12
                           (Jury excused at 4:09 p.m.)

13
                           (On the record at 4:19 p.m.)

14
             THE COURT:     All right.      Are we ready for the

15
     jury?

16
             MR. MONTEMARANO:         No, Your Honor.

17
             MR. MCKNETT:      Your Honor, I have a preliminary

18
     motion and objection to one of these exhibits.               It's

19
     Government's Exhibit Chart 17.

20
             THE COURT:     17?      Wait a minute.

21
             MR. MCKNETT:      17.     It's a two-page chart --

2
             THE COURT:     I have it.

23
             MR. MCKNETT:      -- reflecting checks of my client.

24
     I have no idea what this is intended to rebut, and I

25
     would like a proffer before the government refers to




                                                                 Page 293
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 294 of 314



     it.
1




2
              THE COURT:     Ms. Johnston.

3
              MS. JOHNSTON:     Your Honor, it's intended to show

4
     the full picture of Ms. Ali's dealings with Ms. Martin.

5
     She indicated she agreed with what was in the Haywood

6
     book, but this shows additional checks that she had

7
     written in addition to a running tab, and it gives a

8
     full scope of the extent of her transactions with Ms.

9
     Martin, and for those reasons we think it's proper

10
     rebuttal.

1
              MR. MCKNETT:     Your Honor, that doesn't rebut

12
     anything.    My client never tried to minimize her

13
     relationship with Ms. Martin.          There is 96 checks

14
     itemized on here, and if the government introduces this

15
     I will have to go through each check and question the

16
     proffer about the purpose of the check and the basis of

17
     knowledge.    My client never -- in fact, my client, in

18
     answer to a question of Ms. Johnston, said she paid Ms.

19
     Martin for drugs --

20
              THE COURT:     Are these banking records in

21
     evidence that serve as the basis for this exhibit?

2
              MR. MONTEMARANO:      No.

23
              THE COURT:     The answer is no.

24
              MR. MCKNETT:     I don't believe they are, Your

25
     Honor.




                                                                 Page 294
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 295 of 314



              THE COURT:     The banking records have been
1




2
     provided to defense counsel prior to trial; correct?

3
              MS. JOHNSTON:     Absolutely, Your Honor.

4
              THE COURT:     This is an exhibit that is intended

5
     to summarize the voluminous records.

6
              MR. MCKNETT:     This isn't rebuttal, Your Honor.

7
              THE COURT:     I want to make sure I understand

8
     what this exhibit is.

9
              Ms. Johnston, why is this not an exhibit that

10
     should have been offered in the government's case in

1
     chief?

12
              MS. JOHNSTON:     Your Honor, it wasn't relative in

13
     the government's case in chief because Ms. Ali hadn't

14
     testified concerning her relationship with Ms. Martin.

15
     This gives a fuller picture of her relationship with

16
     Ms. Martin.

17
              MR. MCKNETT:     Your Honor, it could have been

18
     used in cross-examination of Ms. Ali, at which point I

19
     would have had a chance to respond to it.

20
              THE COURT:     All right.     What are the concerns as

21
     to the other exhibits?

2
              MR. MCKNETT:     The other two don't relate to my

23
     client, Your Honor.

24
              THE COURT:     All right.

25
              MR. MONTEMARANO:      They relate to mine.




                                                                 Page 295
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 296 of 314



              THE COURT:    Okay.    Mr. Montemarano.
1




2
              MR. MONTEMARANO:      We received, before the break,

3
     approximately 30 or 40 pages of bank records which

4
     purport to summarize cash deposits by year, deposits

5
     from January '99 through 2004.          They are identical but

6
     different.     One is by time, and the other is by account

7
     showing subtotals by month and by year and by account,

8
     depending on which of the documents -- these are 16 and

9
     16A, Chart CH-16 and 16A.         I have not had an

10
     opportunity to go through these to vet them, to insure

1
     they their accuracy.

12
              When I brought this matter to the court's

13
     attention earlier today, Ms. Johnston kept referring to

14
     the bank records.      Just so the court is clear, this is

15
     some but not all of the bank records that we're talking

16
     about.     I have an 18" stack sitting in front of me.

17
              THE COURT:    Let me ask you the same question I

18
     asked Mr. McKnett.      If I understand correctly, these

19
     two exhibits are based upon an analysis that's been

20
     made by the next witness of the bank account records

21
     that defense counsel has had prior to trial; is that

2
     correct?

23
              MR. MONTEMARANO:      That is correct.

24
              THE COURT:    This is intended to be a summary of

25
     voluminous records offered by the government in its




                                                                 Page 296
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 297 of 314



     case in rebuttal.      My question, Ms. Johnston, is why is
1




2
     this not evidence that could or should have been

3
     offered in the government's case in chief?

4
             MS. JOHNSTON:      Because evidence shows cash

5
     deposits into the account.         Mr. Montemarano called Mr.

6
     Shannon to testify about how she got money from

7
     different estates.      He put in evidence the Martha Jean

8
     West calls to say she was making money selling clothes.

9
     He questioned Ms. Ali about those transactions as well.

10
             This shows her the scope of her business that is

1
     not accounted for by the testimony of Mr. Shannon and

12
     by the testimony or the calls related to Martha Jean

13
     West.   It is absolutely rebuttal of his case that she

14
     had legitimate sources of income, be it the concert

15
     business, be it the clothing business, or be it getting

16
     inheritances from old women who passed away.              So, this

17
     directly refutes that.        It shows cash deposits going

18
     into her accounts.

19
             MR. MONTEMARANO:       Your Honor, that evidence was

20
     a direct rebuttal to Detective Sakala's statement

21
     beyond a moral certainty that there were no legitimate

2
     businesses.     Now the government is going to say well,

23
     you know we meant legitimate because it was drug money

24
     involved.     Anybody sitting in this courtroom knew what

25
     Detective Sakala intended -- Sergeant Sakala intended




                                                                 Page 297
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 298 of 314



     by that statement and that there is nothing legitimate
1




2
     involved in anything Ms. Martin's doing, which is

3
     simply not true.      That's what he intended for the jury

4
     to believe, and for that reason I undertook to put on

5
     this evidence.     This could have been part of the

6
     government's case in chief and quite frankly might have

7
     persuaded me not to put on that evidence because of the

8
     difference in quantity.

9
             The simple fact is, Your Honor, at this point

10
     being provided these documents on the 8th of August as

1
     opposed to the 5th of June, there is no way I can get a

12
     forensic accountant to go through and verify that the

13
     numbers are accurate.       I have pounds of bank records

14
     that these would need to be checked against.

15
             MS. JOHNSTON:      Your Honor, Agent Sakala

16
     testified in his direct examination and in response to

17
     cross-examination that it wasn't legitimate money

18
     because it was drug proceeds, and that was the extent

19
     of that.   We didn't go down the road of how she got her

20
     income, counsel did.       We are certainly entitled to show

21
     this jury that in addition to those moneys that she got

2
     from the inheritances, she had a lot of cash going

23
     through her account, and that directly rebuts the

24
     defense that's been put on in this case.             It is

25
     absolutely rebuttal.




                                                                  Page 298
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 299 of 314



               In terms of the charts.       Your Honor, I would
1




2
     just call the court's attention to the fact that Chart

3
     16A should actually be Chart 18, because 16A is pages 1

4
     through 24 which shows the bank account number and the

5
     date the cash deposit was made and the amount of the

6
     cash deposit, in addition to the cover sheet that

7
     summarizes the cash deposits by account.             Similarly, in

8
     the other set, which is the same summary Page 1 which

9
     shows the total amount, it just brakes it down by year.

10
     Again, each deposit is listed individually, each by

1
     cash deposit from those records.

12
               It is absolutely appropriate for the government

13
     to show that in spite of the defendants' argument and

14
     their presentation of a defense that she had legitimate

15
     sources of income to show that she had these cash

16
     deposits going through her account.            The government

17
     would not have gone here if we hadn't had that defense

18
     put on.    It wasn't necessary for the government's case

19
     in chief to put this on.        We could have, albeit if we

20
     wanted to continue the case ad infinitum, but we chose

21
     not to do that and we waited to see what defense Mr.

2
     Montemarano has put on, and he has gone down this road.

23
               THE COURT:   Didn't Mr. Montemarano, in his

24
     opening statement, indicate that she had legitimate

25
     sources of income?




                                                                 Page 299
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 300 of 314



             MR. MONTEMARANO:       Yes, Your Honor.
1




2
             THE COURT:     Didn't he place that before the jury

3
     in his opening statement?

4
             MS. JOHNSTON:      He may have placed it before, but

5
     there's no evidence of it until he puts on his case,

6
     Your Honor, and now we're rushed and --

7
             THE COURT:     You did call the expert to the stand

8
     to indicate that he found no legitimate business.                That

9
     was part of your case chief, was it not?

10
             MS. JOHNSTON:      Your Honor, no.       On

1
     cross-examination, counsel asked him whether or not it

12
     was a legitimate business, and he said it was not

13
     legitimate because it was drug proceeds.              This shows

14
     the source of the money.        Counsel argued the source of

15
     the money was these inheritances she received and the

16
     clothing she received.        This shows cash going into her

17
     accounts separate and apart from any wire transfers,

18
     separate and apart from the money she got from the

19
     estates in terms of those checks that we listened to

20
     here.   If those checks hadn't been introduced and if we

21
     hadn't heard the testimony about her supposedly

2
     legitimate clothing business and her legitimate concert

23
     business through the calls with Ulysses Gardner and his

24
     testimony, we wouldn't be here at this point in time,

25
     but we are here because they introduced that evidence




                                                                 Page 300
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 301 of 314



     trying to say she was a legitimate businesswoman.
1




2
               THE COURT:     Anything further?

3
               MS. JOHNSTON:     No, sir.

4
               MR. MCKNETT:     Your Honor, if I may respond to

5
     Ms. Johnston's response to my request for a proffer as

6
     to what this chart is supposed to rebut.

7
               Ms. Johnston didn't point out anything that it

8
     is supposed to rebut.       She said it's supposed to show

9
     the full picture of the relationship between my client

10
     and Ms. Martin.      Well, that's what the government was

1
     supposed to do in its case in chief.            My client did not

12
     minimize, deny, or in any other way refute the

13
     government's theory that my client was related with Ms.

14
     Martin.    This is stuff that should have come in, if not

15
     in their case in chief at least certainly through

16
     cross-examination of Ms. Ali.          The government shouldn't

17
     be allowed to just sit back and sandbag us, which is

18
     exactly what this is.

19
               MS. JOHNSTON:     Your Honor, counsel has had these

20
     records, and I think Mr.        McKnett's objection as to

21
     CH-17, which summarizes his client's checks, is the --

2
               MR. MCKNETT:     I cannot hear Ms. Johnston.

23
               THE COURT:     There is nothing terribly remarkable

24
     about Chart 17.      The jury has already heard that there

25
     was a large number of payments made, and they've seen




                                                                 Page 301
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 302 of 314



     legers, they've seen there were payments made for both
1




2
     clothing and drugs.       They have already seen this.

3
               MR. MCKNETT:     They've seen Haywood 7 at least a

4
     dozen times during this trial in which there is a leger

5
     that lays out a portion of the relationship between my

6
     client and Ms. Martin, and I specifically asked Ms. Ali

7
     if that ledger accurately reflects the nature of their

8
     relationship and she said yes.

9
               THE COURT:     All right.    I'm going to sustain the

10
     defense objection.       I do not think these are proper

1
     rebuttal, and I will not permit them to be used.

12
               MS. JOHNSTON:     Your Honor, we would ask

13
     permission to use the charts concerning Ms. Martin.

14
     It's a different objection than the objection with Ms.

15
     Ali.

16
               THE COURT:     The charts what?

17
               MS. JOHNSTON:     The charts concerning Ms. Martin.

18
     That certainly refutes her argument that she had a

19
     legitimate source of income.

20
               MR. MONTEMARANO:     Your Honor, what it does not

21
     refute is the suggestion she had a legitimate source of

2
     income.    There are many kinds of income where people

23
     traffic in cash.

24
               THE COURT:     My problem is, number one, I don't

25
     think this is proper rebuttal; and number two, if we're




                                                                 Page 302
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 303 of 314



     going to get into this, then we're going to              have to go
1




2
     into what are the possible sources of these cash

3
     deposits other than drugs, and then I can see the

4
     defense asking to have a parade of students come in and

5
     claim that they paid her cash for lessons and we're

6
     going to go on and on and on into satellite matters in

7
     rebuttal, and that's not where we should be doing this.

8
             The jury, I think, has got plenty of evidence

9
     before it from which it can reach the conclusions it

10
     needs to reach to conclude this case.            I just think

1
     this is not proper rebuttal and could and should have

12
     been brought in the government's case in chief.               So,

13
     that's my ruling.

14
             MR. MONTEMARANO:       With regard to that, Your

15
     Honor, the government intended to put this material on

16
     through an IRS agent.       Will the court be excluding the

17
     testimony of the IRS agent?

18
             THE COURT:     If the IRS agent is going to simply

19
     get up and be the sponsor of these exhibits, then the

20
     IRS agent is not going to have much to say.

21
             MR. MONTEMARANO:       It seems to me if he said,

2
     these are the numbers I added up and came up with, in

23
     essence he is oralizing --

24
             THE COURT:     I don't think that would be proper.

25
             MR. MONTEMARANO:       Thank you.




                                                                 Page 303
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 304 of 314



             THE COURT:     Are you going to call a witness or
1




2
     --

3
             MS. JOHNSTON:      Your Honor, I will need a few

4
     minutes to see whether or not we're going to call him,

5
     in light of the court's ruling.

6
             THE COURT:     Okay.    While Ms. Johnston is

7
     conferring with her colleague, there is a question

8
     still left open, Mr. McKnett, on whether there was a

9
     basis for a lesser included offense instruction on the

10
     second of the two counts.         Did you have a chance to

1
     reflect on that more?

12
             MR. MCKNETT:      Not very much, Your Honor.          I've

13
     been kind of busy this afternoon.           I still think the

14
     lesser included offense would be with regard to the

15
     quantities if not the substance of the charge itself.

16
             THE COURT:     Let me tell you what I intend to do,

17
     depending on what happens now with this potential

18
     additional witness.       If there are no additional

19
     witnesses, I intend to take every last minute I can

20
     with this jury today and start these instructions.                I

21
     don't think I'm going to get to that one because, as I

2
     indicated, one juror has to be out of here between 5:30

23
     and a quarter of six.       So, it would be very pleasant

24
     for me to break the instructions, unlike breaking up

25
     closing arguments, which I don't like to break up.                I




                                                                 Page 304
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 305 of 314



     don't mind breaking me up, and I can stop at a suitable
1




2
     breaking point in these instructions between 5:30 and a

3
     quarter of six and then finish up tomorrow morning at

4
     8:30.

5
              So what I need to do is to have resolved the

6
     question of this -- of whether it's a one count or two

7
     count lesser included offense instructions appropriate,

8
     and I'll need to hear more from the government and from

9
     you about that to the extent that we don't get it done

10
     today.   I can do it today after the jury leaves, or I

1
     can do it tomorrow morning early, but what I would

12
     propose to do is to go through these instructions to

13
     about a halfway point or maybe a little beyond,

14
     depending on what the government does now.

15
              MR. MCKNETT:     Your Honor, I would prefer if the

16
     court would allow me to be able to think that through

17
     more fully after we finish today.

18
              THE COURT:     All right.     Well, let me see what

19
     the government is going to do.

20
              MS. GREENBERG:      Your Honor, the government's

21
     position remains the same, that count 56 there is no

2
     basis for lesser included instruction, both in terms of

23
     the quantities that were transported and in terms of

24
     Ms. Ali's defense in this case, and --

25
              THE COURT:     I'll think it over night, too.




                                                                 Page 305
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 306 of 314



               MS. GREENBERG:     If I may finish, Your Honor,
1




2
     just before I forget to tell you this.            There's lots of

3
     typos with cutting and pasting, and at the top of Page

4
     23, Ms. Dobie and Ms.- --

5
               THE COURT:    Page 23 of what?

6
               MS. GREENBERG:     It says, if you find -- what

7
     page and what?

8
               THE COURT:    Of what document?

9
               MS. GREENBERG:     If you find the defendant,

10
     LaNora Ali, guilty of Count 56, please skip to Question

1
     31.     If you find the defendant, LaVon Dobie, not guilty

12
     of Count 56 --

13
               THE COURT:    I wasn't talking about the verdict

14
     sheet yet.     My intention with regard to the verdict

15
     sheet is to try to get that -- you need to get all your

16
     comments that you can to each other and to me or my law

17
     clerk.     I'm not going to give it to them today.            What

18
     I'd like to do is to give it to them at the end of my

19
     instructions.     So, what you all should do is to look at

20
     these carefully.       We can convene tomorrow morning early

21
     and make sure there's no additional corrections to

2
     make.     We can get the corrections made while I'm

23
     finishing my instructions and distribute it at that

24
     time.

25
               MS. GREENBERG:     Your Honor, if you have a few




                                                                 Page 306
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 307 of 314



     minutes after the jury is excused, Mr. Mitchell and I
1




2
     wanted to discuss the restoration of civil rights

3
     issues with the court.

4
             MR. MITCHELL:      I can do it now, Your Honor.

5
             THE COURT:     No, we've got a jury waiting.            What

6
     I'm going to do is after the jury leaves today or

7
     tomorrow morning at 8 o'clock.          I don't want to keep

8
     them waiting any longer.

9
             MS. JOHNSTON:      Your Honor, the government is

10
     going to rest.     We can't call the accountant to

1
     testify.

12
             THE COURT:     The government now rests its

13
     rebuttal case.

14
             Do I here a motion?

15
             MR. MARTIN:      Mr. Goodwin renews his motion of

16
     for judgment of acquittal that was made earlier under

17
     Rule 29.   I am not going to chase my tail any further.

18
             THE COURT:     Does anybody have any new arguments

19
     that were not previously made at the end of the

20
     government's case in chief?

21
             MR. MONTEMARANO:       Very briefly.       I would submit

2
     that while the standard the court applies, and

23
     rightfully so, at the end of the government's case is

24
     that of any rational finder of fact, I believe the

25
     standard of the court should and is obligated to apply




                                                                 Page 307
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 308 of 314



     at this point is a more stringent one and it must not
1




2
     be so forgiving of the government's case or the

3
     deficiencies thereof if my client -- and I assume the

4
     codefendants -- are to receive due process, and for

5
     that reason I submit that the court must apply a more

6
     careful and more stringent standard other than they do

7
     adopt the same factual arguments.           It took me about ten

8
     minutes to go through all 55 of my counts.

9
             THE COURT:     I remember it well.

10
             MR. MONTEMARANO:       Thank you, Your Honor.

1
             THE COURT:     Anyone else?

12
             MR. HALL:     Your Honor, adopting Mr.

13
     Montemarano's argument concerning the standard at this

14
     point, I would suggest to the court that in reviewing

15
     the evidence against Mr. Whiting that there still has

16
     been no showing of the government -- by the government

17
     of an agreement between Mr. Whiting and Ms. Martin

18
     relative to the sale or possession with intent to

19
     distribute drugs, and I'm renewing my motion for all

20
     the reasons I may have made before.

21
             THE COURT:     By all means.

2
             MR. MITCHELL:      Your Honor, I obviously come into

23
     the process of adopting and adopting and adopting, but

24
     the one argument I do wish to make in addition on -- I

25
     believe it's Count 56 -- court's indulgence.              The gun




                                                                 Page 308
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 309 of 314



     charge, I believe, is Count 60.          The government has not
1




2
     proven that Mr. Bynum's civil rights to possess a

3
     firearm were not restored, and other than that I adopt

4
     all the other arguments made before by and co-counsel.

5
              THE COURT:     Mr.   Ward.

6
              MR. WARD:    I will adopt the arguments I made

7
     previously and the additional arguments made by other

8
     counsel here today, Your Honor, on the part of Ms.

9
     Dobie.

10
              THE COURT:     Mr. Sussman.

1
              MR. SUSSMAN:     I move for judgment of acquittal

12
     on all counts and submit.         I still want to point out we

13
     still haven't got to that communications thing.               We can

14
     do that -- the telephone thing.          We can do that after.

15
              THE COURT:     That's probably going to be

16
     tomorrow.    That's pretty far into the instructions.

17
              MR. SUSSMAN:     We can do that.

18
              THE COURT:     I'm going to be able to get through

19
     the general instructions and maybe the conspiracy

20
     instruction and quit for today.

21
              MR. SUSSMAN:     Okay.    That's fine.

2
              THE COURT:     Mr. McKnett.

23
              MR. MCKNETT:     Your Honor, I will renew any

24
     previously made motion and adopt the argument of

25
     co-counsel, and I want to focus specifically on Count




                                                                 Page 309
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 310 of 314



     1, the conspiracy count, and Count 56, which is the
1




2
     distribution -- possession with intent to distribute on

3
     May 16, '04.     Excuse me, Count 45.        I take it back,

4
     count 56.     I was right the first time.         Insofar as

5
     those two counts were lined to heroin, there is simply

6
     no evidence at all that my client was involved in

7
     heroin.     While they are not stated specifically as

8
     separate counts, I believe that the fact that the

9
     verdict sheet contains those words should justify

10
     granting the motion insofar as it relates to heroin.

1
               THE COURT:   All right.      Ms. Johnston.      Ms.

12
     Greenberg.

13
               MS. JOHNSTON:    Your Honor, in terms of Mr.

14
     McKnett's last argument.        Certainly the court's got a

15
     willful blindness instruction.          She transported bags

16
     that contained heroin, cocaine and cocaine base, all of

17
     which were quantities and with packaging that indicated

18
     an intent to distribute.        We would submit on the

19
     others, unless the court has a particular concern.

20
               THE COURT:   All right.      I've considered the

21
     motions, and I will deny them for the grounds I

2
     previously stated.      I am not sure that there is a

23
     difference between now and the end of the government's

24
     case, but to the extent that there is, I don't think in

25
     this case that the government's case is sufficiently




                                                                 Page 310
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 311 of 314



     wanting so as to take it away from the jury.              I believe
1




2
     there is evidence upon which the jury could find a

3
     verdict in favor of the government and therefore deny

4
     the motion.

5
             All right.     Counsel, are we ready?          I'm going to

6
     bring the jury in, and I'm going to tell them what I'm

7
     going to do, which is to read about half of these

8
     instructions, resuming with the other half tomorrow

9
     morning at 8:30.      I would ask that all counsel and the

10
     parties be present at 8:00 tomorrow so we can deal with

1
     any remaining issues and the balance of the

12
     instructions and the verdict sheet.

13
             I've also handed out to you a verdict form index

14
     which I invite your comments on, but not now..

15
             MR. MONTEMARANO:       I've got a couple of minor

16
     problems.

17
             THE COURT:     What I would ask you to do, because

18
     you will be bored silly listening to my instructions

19
     for the next hour, is to take a look at the verdict

20
     sheet, and when I discharge the jury between 5:30 and a

21
     quarter of six, please let me know what errors or

2
     corrections you would like the court to make.               I want

23
     to make sure this is something that everybody is

24
     reasonably happy with.

25
             Anything further?       I'll bring the jury in and




                                                                 Page 311
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 312 of 314



     begin the instructions.
1




2
               MR. MITCHELL:    Your Honor, one last issue we're

3
     still resolving.       The recorded phone calls the defense

4
     played.    I'm in the process of sorting that out with

5
     the government to make sure all of those calls are in.

6
     We have not submitted the CD actually or identified it.

7
     So, if we could have, Your Honor, until tomorrow

8
     morning to sort that out --

9
               MS. JOHNSTON:    We indicated to Mr. Mitchell -- I

10
     believe we gave him a list of calls.            Some calls are

1
     not on the CD that were played, and some transcripts

12
     are included that --

13
               MR. MITCHELL:    As I said, we're working that

14
     out.   I'm not disputing -- so in other words --

15
               THE COURT:    Work harder so we can get this

16
     resolved by tomorrow morning.

17
               MR. MITCHELL:    While you're doing these

18
     instructions --

19
               THE COURT:    I intend to take the next,

20
     approximately, one hour to instruct or less, and then

21
     for my sanity I will enjoy the break.

2
               All right, bring the jury in.

23
               Counsel, you should be taking a look at your

24
     calendars and figuring out how you can divide up one

25
     day.




                                                                 Page 312
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 313 of 314



              MS. JOHNSTON:     Your Honor, the government will
1




2
     need an hour for closing and 30 minutes for rebuttal.

3
              THE COURT:    Counsel for defense, that should

4
     leave you plenty of time.         I will talk about it with

5
     you when the jury leaves today.

6
              MR. MONTEMARANO:      Fifty-five counts, Judge.

7
              THE COURT:    I know.

8
              MR. MONTEMARANO:      I didn't indict it.

9
              MS. GREENBERG:      Your Honor, it's the same on our

10
     end.    I'm wondering how I'm going to get done in an

1
     hour.

12
              THE COURT:    We're all under the same disability.

13
     I'll talk to you about it when the jury is discharged,

14
     but it seems to me some of the defense arguments would

15
     be probably less than others.          I would prefer to let

16
     you all work that out amongst yourselves and give me a

17
     budget, but I can give you my visceral reaction when

18
     the jury is back in -- when the jury is gone.

19
                     (Jury returns at 4:45 p.m.)

20
                     (Jury instructions read to the jury.)

21
                     (Off the record at 6:02 p.m.)

2




23




24




25




                                                                 Page 313
      Case 8:04-cr-00235-DKC Document 1232 Filed 09/02/08 Page 314 of 314



                                CERTIFICATE
1




2




3
             I, Tracy Rae Dunlap, RPR, CRR, an Official Court

4
     Reporter for the United States District Court of

5
     Maryland, do hereby certify that I reported, by machine

6
     shorthand, in my official capacity, the proceedings had

7
     and testimony adduced upon the Jury Trial Proceedings

8
     in the case of UNITED STATES OF AMERICA versus PAULETTE

9
     MARTIN, et al, Criminal Action Number RWT-04-0235 on

10
     August 8, 2006.

1




12
             I further certify that the foregoing 313 pages

13
     constitute the official transcript of said proceedings,

14
     as taken from my machine shorthand notes, of said

15
     proceedings.

16




17
             In witness whereof, I have hereto subscribed my

18
     name, this 2nd day of September 2008.

19




20




21
                                 __________________________
                                 TRACY RAE DUNLAP, RPR, CRR
2
                                 OFFICIAL COURT REPORTER

23




24




25




                                                                 Page 314
